Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 1 of 213 PageID #: 11536
                                                                           1


     1                    IN THE UNITED STATES DISTRICT COURT

     2                    IN AND FOR THE DISTRICT OF DELAWARE

     3                                       - - -

     4
            F'REAL FOODS, LLC and RICH          :    CIVIL ACTION
     5      PRODUCTS CORPORATION,               :
                                                :
     6                         Plaintiffs,      :
                                                :
     7            vs.                           :
                                                :
     8      HAMILTON BEACH BRANDS,              :
            INC., HERSHEY CREAMERY              :
     9      COMPANY and PAUL MILLS              :
            d/b/a MILLS BROTHERS                :
    10      MARKETS,                            :
                                                :    NO. 16-41 (CFC)
    11                         Defendants.      :    CONSOLIDATED

    12
                                             - - -
    13
                                             Wilmington, Delaware
    14                                       Thursday, April 11, 2018
                                             1:06 o'clock, p.m.
    15
                                             - - -
    16
           BEFORE:   HONORABLE COLM F. CONNOLLY, U.S.D.C.J.
    17
                                             - - -
    18
           APPEARANCES:
    19

    20                    MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                          BY: RODGER D, SMITH II, ESQ. and
    21                         MICHAEL J. FLYNN, ESQ.

    22
                                     -and-
    23

    24
                                                       Valerie J. Gunning
    25                                                 Official Court Reporter
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 2 of 213 PageID #: 11537
                                                                           2


     1     APPEARANCES (Continued):

     2
                         SIDEMAN & BANCROFT LLP
     3                   BY: GUY W. CHAMBERS, ESQ.
                              (San Francisco, California)
     4

     5                         Counsel for Plaintiffs
                               f'real Foods, LLC and Rich Products
     6                         Corporation

     7

     8                   DRINKER BIDDLE & REATH LLP
                         BY: FRANCIS DiGIOVANNI, ESQ. and
     9                        THATCHER A. RAHMEIER, ESQ.

    10
                                     -and-
    11

    12                   DRINKER BIDDLE & REATH LLP
                         BY: WILLIAM S. FOSTER, JR., ESQ.
    13                        BRIANNA L. SILVERSTEIN, ESQ.
                              (Washington, D.C.)
    14

    15                         Counsel for Defendants

    16
                                     -   -   -
    17

    18

    19

    20

    21

    22

    23

    24

    25
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 3 of 213 PageID #: 11538
                                                                           3


     1                         P R O C E E D I N G S

     2

     3                   (Proceedings commenced in the courtroom at 1:06

     4     p.m.)

     5

     6                   THE COURT:    All right.    Good afternoon.     Please

     7     be seated.

     8                   Mr. Smith or Mr. Flynn.      Sorry.

     9                   MR. FLYNN:    Good afternoon, Your Honor.       Michael

    10     Flynn from Morris Nichols.      With me, my partner, Rodger

    11     Smith, and Guy Chambers from Sideman & Bancroft in San

    12     Francisco.

    13                   THE COURT:    All right.    Thank you.

    14                   Mr. DiGiovanni?

    15                   MR. DiGIOVANNI:     Good afternoon, Your Honor.

    16     It's Frank DiGiovanni from Drinker Biddle & Reath.

    17                   With me today is Bill Foster, also from Drinker,

    18     Biddle & Reath in our D.C. office, Thatcher Rahmeier, he's

    19     from our Wilmington office and Brianna Silverstein from the

    20     D.C.    office.

    21                   THE COURT:    All right.    Thank you.

    22                   All right.    A couple housekeeping things I will

    23     just inform you.     I am going to put willfulness back into

    24     the case-in-chief.     There was a misunderstanding.       I wasn't

    25     going to bifurcate.     I mean, to the extent I used that word,
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 4 of 213 PageID #: 11539
                                                                           4


     1     what I meant was, I was going to try infringement and then

     2     after the verdict go right into willfulness if there had

     3     been a finding of infringement.       But I've decided, and

     4     frankly, it has to do with now I'm much more familiar with

     5     the case, to the issue of copying, and I felt it would be --

     6     I'm probably informed by some of the tactics I've seen in

     7     the litigation, but, in any event, I'm going to put

     8     infringement -- we're going to just try it all together.            It

     9     seems to me it would be more efficient.         And obviously

    10     that's just a fact-finding issue because the question of

    11     enhanced damages is left to the Court, and I will make the

    12     ultimate decision if there were finding of liability as to

    13     whether to award damages under 284.

    14                   But under the Third Circuit case law as I

    15     understand it, willfulness has to go to the jury, so that's

    16     fact-finding, and so I've decided all in all, and this is

    17     something left completely to the Court's discretion, I think

    18     we should go ahead and do the willfulness before we have a

    19     verdict.   All right?

    20                   MR. DiGIOVANNI:     Your Honor, may I just say --

    21     we will ask to file an amendment to the pretrial order

    22     because we did not put all of our willfulness witnesses on

    23     there.

    24                   We had understood it was not part of the --

    25                   THE COURT:    Well, that was going to happen
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 5 of 213 PageID #: 11540
                                                                           5


     1     anyway.   But I was startled to see, and I can't remember

     2     the exact wording, I was -- in my mind, it was pretty clear

     3     what we were going to do, which is we were going to try the

     4     case, and then if there was a finding of infringement, we

     5     were going right to willfulness.       What was your

     6     understanding?

     7                   MR. SMITH:    Your Honor, I didn't have an

     8     understanding as to the timing.

     9                   THE COURT:    All right.

    10                   MR. SMITH:    I understood it was separated to be

    11     determined.

    12                   THE COURT:    Well, so that's just unfortunate,

    13     but I wasn't going to bring a jury back.         It never was in my

    14     mind that we would have a break and then bring a jury back

    15     in at some later date.      So I guess we can address that.        I

    16     mean, we'll have to -- but I think both sides it sounds like

    17     did not have a definitive view, or maybe you had a

    18     definitive view, but it was clear to me as soon as I read

    19     the papers that I was going to have to address this.

    20                   MR. SMITH:    I agree with Mr. DiGiovanni.       I

    21     think we will have to take a look at the existing pretrial

    22     order to make sure that any wilfulness specific witnesses,

    23     and we should be able to do that in pretty short order, Your

    24     Honor.

    25                   THE COURT:    Well, that's the thing.      It
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 6 of 213 PageID #: 11541
                                                                           6


     1     shouldn't be that long the way I see it.         But I think I used

     2     the word bifurcate, which, you know, although I thought then

     3     in the followup order -- in any event, that's just the way

     4     it is.

     5                   I thought there was some misunderstanding when I

     6     saw the pretrial order and the way you both identified it as

     7     an issue to be dealt with and when we were going to do it.

     8     When I issued it initially, the idea was, as I say, to do it

     9     in two stages, but in light of I decided everything else

    10     I've read, I actually think we should just do it in one

    11     stage in this case.     And I'm not going to do that in every

    12     case, but I think this case is the right case to not

    13     separate it out.

    14                   MR. DiGIOVANNI:     In terms of, we're scheduled

    15     for a five-day trial.      Does that change at all?

    16                   THE COURT:    I was going to give you 10 hours, so

    17     you all asked for 14, and I don't think you should get 14.

    18     And so, and I talked to my judges, colleagues, and they tell

    19     me a five-day trial is typically 10 to 12, and my sense of

    20     the technology and the facts and partly informed by the

    21     redundancy of a lot of briefing, you guys can do it quicker

    22     than if you had a time limitation, and I think ten hours

    23     would be appropriate.      I think I will add an eleventh hour

    24     for wilfulness.     You can have 11 hours.

    25                   MR. SMITH:    Your Honor, I apologize.      I'm not
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 7 of 213 PageID #: 11542
                                                                           7


     1     familiar with whether you count the openings and closings in

     2     that time frame.

     3                   THE COURT:    I do.   I count everything except for

     4     the initial selection of the jury, except I will count

     5     peremptory selection.      Your clock will start ticking when we

     6     get to peremptories.

     7                   MR. SMITH:    Thank you, Your Honor.

     8                   THE COURT:    And so no voir dire, you know,

     9     nothing like that, but your clock will start ticking when we

    10     get to peremptories, which I've had four trials since

    11     January.   It's amazing how fast peremptories move when

    12     people are on the clock, so that doesn't take much time.            It

    13     will include openings, closings.       It will include arguments

    14     during the trial, and it will not include the jury charge

    15     conference.    I will separate that out.      And so it will be

    16     11 hours each.

    17                   MR. SMITH:    Sorry, Your Honor.     Your expectation

    18     would       be the jury would get the case Thursday or Friday

    19     then?

    20                   THE COURT:    Yes.    So I just had a trial that I

    21     saw Mr. DiGiovanni in the audience.        That case I gave 11,

    22     and I thought at the time, I thought I should have reduced

    23     it.   I regretted I didn't.     Now, one side expanded it, but

    24     unnecessarily, and took almost all 11.        The other side was

    25     three-and-a-half hours short and yet that was the side that
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 8 of 213 PageID #: 11543
                                                                           8


     1     said they needed the 11 in that case.        We tried it, started

     2     Monday morning and we had it in the jury's hands Thursday

     3     afternoon.

     4                   MR. SMITH:    Thank you, Your Honor.

     5                   THE COURT:    And I think this -- I mean, that

     6     case was a very complicated drug case.        You know, this is

     7     pretty easy technology it seems to me.

     8                   MR. SMITH:    Thank you.

     9                   MR. DiGIOVANNI:     I would say, Your Honor,

    10     obviously, we have four patents here and each patent has its

    11     own issues as you know.

    12                   We did put in our pretrial order under "other"

    13     an issue of perhaps further limiting the number of claims

    14     that are asserted, and I think in view of your Honor's

    15     ruling regarding time, that becomes even more important in

    16     our view.

    17                   THE COURT:    And I mean, I think the plaintiffs

    18     would be insane to try -- if they didn't narrow their case.

    19     And I kind of thought I should just leave it to you all, you

    20     know.

    21                   I think what I could do, what I would be happy

    22     to do is put a time limitation.       They've got to tell you on

    23     a date certain what it is, and if they aren't going to

    24     narrow it and think they are going to try it, I mean, I'm

    25     going to hold them to the time.       And I mean good luck if
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 9 of 213 PageID #: 11544
                                                                           9


     1     you try to try that not having a directed verdict on some

     2     stuff.    I can't envision they would want to do that.         I

     3     mean, how do you want to proceed?

     4                   I would rather not tell them they have X number

     5     and you have X number.      I would rather, you know, you guys

     6     all figure it out knowing the time constraints.

     7                   MR. DiGIOVANNI:     I would say this.     We have

     8     asked them.    We've had a discussions about further limiting

     9     it, and in our view, especially in view of the time

    10     limitation now, we think it is imperative that they reduce

    11     the number of claims, and we think it does impact us

    12     perhaps.

    13                   THE COURT:    Sure.   I know it does, but I mean,

    14     you're really going to try all of these patents, all of

    15     these asserted claims?

    16                   MR. CHAMBERS:    Your Honor, we have summary

    17     judgment motions today, so perhaps after we get that sorted

    18     out, we'll definitely take another look in view of Your

    19     Honor's comments.     And, yes, we will take those to heart and

    20     to look at reducing again.

    21                   THE COURT:    I mean, have you tried patent cases

    22     before?

    23                   MR. CHAMBERS:    Yes.

    24                   THE COURT:    And you're going to try this many

    25     claims?    Let's say I deny all the summary judgment.         You are
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 10 of 213 PageID #: 11545
                                                                           10


     1     going to put in front of a jury all of these claims and

     2     limitations?

     3                    MR. CHAMBERS:    I think it could be done, Your

     4     Honor.    I've done a two-day, full two-day patent trial.

     5     Things can be done in two days, but let me work with

     6     co-counsel, and in view of Your Honor's express points, and

     7     we have reduced it before and we're open to looking at

     8     reducing it again.

     9                    THE COURT:   Okay.    So why don't we wait and see

    10     again where we are on that.

    11                    MR. DiGIOVANNI:     Okay.   Your Honor, one point of

    12     clarification.     I think you already said this and I

    13     apologize.    Will the verdict form have willfulness, the

    14     single verdict form have willfulness, or are we going to

    15     have an original verdict without willfulness and then bring

    16     the jury back?

    17                    THE COURT:   No.    We're going to go ahead and

    18     just put it in front of them.       I mean, you know, we've got

    19     copying allegations.      Right?    I mean, to me, and I read the

    20     stuff and I thought, this is not -- I mean, I had thought

    21     initially this is the way to do it.

    22                    As you know, I'm just getting started.        And I

    23     mean, it was an open court.        In the case I tried that I saw

    24     you, I actually debated whether to even send willfulness to

    25     the jury and made a number of comments.         Now, it turns out
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 11 of 213 PageID #: 11546
                                                                           11


     1     there was a finding of noninfringement, so it became a moot

     2     point.

     3                    But my sense of this case is that it will

     4     inevitably spill into some of the willfulness evidence.            It

     5     would be very hard to really, to definitively segregate it,

     6     and so then we're going to have to retry it and I can see

     7     the overlap.     And I know this overlap argument was made on

     8     the phone when I originally ruled and, you know, I know it

     9     can always be made, and I was skeptical about it and I said

    10     I think we can work it out.       I don't think we really can in

    11     this case in a really helpful way.        So I just think we ought

    12     to go ahead and put it in front of the jury.

    13                    MR. DiGIOVANNI:    One thing I will say.      The

    14     pretrial order, because it didn't include willfulness, it

    15     didn't include things like opinions of counsel and other

    16     items that are going to now have to be part of this first

    17     trial.

    18                    THE COURT:   Well, and I mean, I recognize that.

    19     I mean, look.     I was surprised when I read your papers that

    20     it was clear to me you were at least contemplating we were

    21     going to have a different -- I don't think it was going to

    22     be a different jury, are we going to bring them back a month

    23     later.    That was never intended by my comments when I said

    24     we would separate or bifurcate or do it.

    25                    And I thought -- does somebody have my order?            I
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 12 of 213 PageID #: 11547
                                                                           12


     1     think I used the word separate intentionally because at

     2     least it was not this case, or another case, where somebody

     3     said to me bifurcate in their mind meant two complete -- not

     4     only separate proceedings, but that it would be in discovery

     5     bifurcated and that was not my intent.

     6                   And I guess we can discuss, if you can't be

     7     ready for trial on April 26th because of this, but it seems

     8     to me it's not that much -- I mean, more work for me.

     9                   MR. DiGIOVANNI:     Because we have additional

    10     witnesses who we have not lined up to appear, you know,

    11     that's one wild card.      I expect there are others, too, that

    12     we have not thought about just standing here.

    13                   MR. CHAMBERS:     Your Honor, they've designated

    14     one witness as their opinion of counsel witness.

    15                   THE COURT:    And how is that helpful?

    16                   MR. CHAMBERS:     I think the trial can still go

    17     ahead as scheduled on the 29th.        There's not that much more

    18     that needs to be done.

    19                   THE COURT:    So do you know who their willfulness

    20     witness is going to be?

    21                   MR. CHAMBERS:     Yes.   I'm trying to remember the

    22     name of the attorney.      Was that Raring?     I think his name

    23     was Alex Raring.     That's the only witness that I'm aware of

    24     that they would have on advice of counsel.

    25                   THE COURT:    Well, I'm not sure how helpful that
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 13 of 213 PageID #: 11548
                                                                           13


     1     comment was.     I think Mr. DiGiovanni just was making the

     2     point there might be other witnesses that he would need to

     3     consult with in terms of scheduling, and that seems to me to

     4     be a fair point, especially when it looks like your side as

     5     it turns out didn't have the understanding I had either.            So

     6     reasonable minds can have different interpretations of what

     7     my words meant.

     8                    I thought it was pretty clear.       It wasn't.

     9     Reasonable people at counsel table, they had a different

    10     view.    So I think we would all be better off to try to just

    11     have helpful comments for the remainder of the day.

    12                    All right.   That's where we are on willfulness.

    13     We'll have to revisit the scheduling thing when we get to

    14     the end of the day.

    15                    You all saw that I issued opinions on, very

    16     short on the motion in limine that could affect a summary

    17     judgment argument or I guess some of the other arguments

    18     today.    Did you both --

    19                    MR. SMITH:   We saw the estoppel opinion

    20     yesterday and this morning I think it was a Daubert order we

    21     saw.

    22                    THE COURT:   Correct.    All right.    Let me just

    23     make a comment to everybody.       I mean, you may not even know

    24     this because I don't know how you guys do the briefing and

    25     how it gets to us, but it's really hard to get through, you
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 14 of 213 PageID #: 11549
                                                                           14


     1     know, a document this thick without tabs, so I'm going to

     2     revise my order, my form order, hopefully tomorrow if not

     3     next week.    But I guess it's a good adage just to think

     4     about if you want -- I mean, the page numbers are not even

     5     chronological because we're talking multiple exhibits, and

     6     so when we have 32 exhibits, I think it would be a good idea

     7     to have tabs so I can get to them, but anyway I'm going to

     8     make that rule now.

     9                   I'm going to end up with a scheduling order

    10     25 pages long because of all the little rules I thought were

    11     pretty obvious.     I know lawyers don't necessarily know what

    12     paralegals are doing to get the documents in front of us.

    13     So keep that in mind as you go through oral argument today.

    14     It's hard to just flip to a document and try to find

    15     something.

    16                   MR. SMITH:    Your Honor, if there's any

    17     replacement copies you would like, I would be happy to.            I

    18     know it's after the fact.

    19                   THE COURT:    Yes.   I think at this point, it's

    20     probably --

    21                   MR. SMITH:    Understood.

    22                   THE COURT:    Yes.   I'm amending my order, but

    23     just in case this order doesn't go out until next week and

    24     you all have another case in front of me, it can be just

    25     used as.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 15 of 213 PageID #: 11550
                                                                           15


     1                   All right.    Now, let's go through what would be

     2     beneficial.    Do you all agree that some of the motion in

     3     limines could affect the summary judgment arguments?

     4                   MR. DiGIOVANNI:      Certainly, Your Honor.

     5                   THE COURT:    Yes.   I mean, so maybe we should do

     6     those first and then hit the summary judgment.

     7                   MR. DiGIOVANNI:      Sure, Your Honor, we can do

     8     that.

     9                   MR. CHAMBERS:     Actually, Your Honor, I'm trying

    10     to be helpful, but I thought that it would actually be the

    11     opposite, that if the issues get narrowed down on summary

    12     judgment, I think there's one the motions in limine that, or

    13     some of the motions in limine could become moot if we narrow

    14     the case down on summary judgment.

    15                   THE COURT:    I thought there was some -- well,

    16     let's take, like, Sato.

    17                   MR. CHAMBERS:     Yes.

    18                   THE COURT:    It wouldn't be good to deal with

    19     that in the motion in limine first?

    20                   MR. CHAMBERS:     Fine, Your Honor.

    21                   THE COURT:    I don't know.     I'm just asking and

    22     thinking out loud here.

    23                   Why don't we go through this.        I want to go

    24     through the motion in limines first actually.          I just think

    25     it's going to be beneficial, so let's do that.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 16 of 213 PageID #: 11551
                                                                           16


     1                   All right.    So let's start with, and let's just

     2     do them in order.     So let's start with plaintiffs' motion in

     3     limine one to preclude Japanese Utility Model Publication

     4     No. 1992-136787 as prior art, and this is, of course, the

     5     Sato prior art reference.       All right?

     6                   Mr. Flynn, are you arguing this?

     7                   MR. FLYNN:    Good afternoon, Your Honor.

     8                   THE COURT:    All right.

     9                   MR. FLYNN:    Michael Flynn, to address our motion

    10     in limine.    It was Exhibit 13 of the pretrial order.

    11                   Your Honor, I think in light of your order

    12     yesterday on the motion in limine on IPR estoppel, the Court

    13     recognizes that the defendants have explicitly,

    14     unequivocally told the Court that a skilled searcher doing a

    15     diligent search could not find Sato and they couldn't do it

    16     in 2014 and 2015 using the very best databases, the most

    17     skilled researchers, and using the very same databases that

    18     the Patent and Trademark Office uses that the Patent Office

    19     says contain every foreign patent that has been publicly

    20     disseminated.

    21                   The declarations they filed in opposition to the

    22     prior motion in limine make it very clear that even with the

    23     Sato reference number, a skilled searcher couldn't find the

    24     Sato reference.

    25                   Now, defendants have the burden of proof of
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 17 of 213 PageID #: 11552
                                                                           17


     1     coming forward with evidence --

     2                    THE COURT:   Can I just ask you, though.       This is

     3     what I find happens all the time in patent cases.           I think

     4     you guys are -- you seem to have no problem taking both

     5     sides of the same issue.       Didn't you take the flip side in

     6     the collateral estoppel argument?

     7                    MR. FLYNN:   Your Honor, we did.      We said that in

     8     2017, or 2016, their searchers said they couldn't find it.

     9     Right.    Their burden is to show that at the relevant time

    10     period in 2002, 2003, prior to the filing of the '150

    11     patent, it was publicly accessible.        Those are two different

    12     issues.

    13                    Now, the fact that their searcher did find it in

    14     2017 in Japan and their searchers searching all the English

    15     language databases, everything the PTO has couldn't find it,

    16     may mean that in 2017, it was available in Japan.           But their

    17     burden is to show that it was publicly accessible to a

    18     person of ordinary skill in the art doing a reasonable

    19     search in 2002 and 2003, before the priority date of the

    20     '150 patent.

    21                    They have not shown that at all.       The only

    22     evidence they've put in is the MPET procedures, which are

    23     the recent MPET procedures, which say that all foreign

    24     patent applications that have been publicly disseminated are

    25     in the PTO databases that their searchers said they did an
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 18 of 213 PageID #: 11553
                                                                           18


     1     exhaustive search on.

     2                   They put in the 2006 version of the Japan

     3     Utility Act, but that's irrelevant because, first, Exhibit B

     4     to their opposition, I couldn't find anything in there that

     5     discusses publication requirements.        But it's irrelevant

     6     because it's from 2006 and not the version when -- not even

     7     the version from 2003, but it would have been, the relevant

     8     version of that would be in 1992, when Sato would have been

     9     published if it had been published in a patent gazette in

    10     Japan.

    11                   Their own searchers say there was no way to find

    12     this, and the Federal Circuit case law is pretty clear that

    13     the -- I mean, I think the SRI case says that the touchstone

    14     of whether it's printed publication is public accessibility,

    15     and it's public accessibility to someone of ordinary skill

    16     in the art doing a reasonably diligent search who is

    17     interested in the art.

    18                   THE COURT:    Let me ask you:     What's the burden

    19     of proof?

    20                   MR. FLYNN:    The burden of proof on them is to

    21     demonstrate by clear and convincing evidence that it is a

    22     printed publication under Section 102.

    23                   THE COURT:    And what do you cite?      So I looked

    24     at your -- you cite Federal Rule of Evidence 803, 901 and

    25     902 in support of that proposition.        Where in those rules
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 19 of 213 PageID #: 11554
                                                                           19


     1     does it say that -- and actually, I will read the sentence

     2     from your pretrial order section.        "Defendants have the

     3     burden under the Federal Rules of Evidence to show by clear

     4     and convincing evidence that the documents they intend to

     5     assert as prior art are authentic, admissible, and/or

     6     publicly available before the relevant date to qualify as

     7     prior art under 35 U.S.C., Section 102," and then your cited

     8     support is Federal Rule of Evidence 803, 901 and 102.

     9                   Where in those rules is there support for that

    10     proposition that there's a clear and convincing standard of

    11     proof?

    12                   MR. FLYNN:    Your Honor, in those rules, there's

    13     not.   Those are the authentic rules.

    14                   THE COURT:    And, in fact, those rules are lower.

    15     Right?    901, it's not even a preponderance.

    16                   MR. FLYNN:    Right.

    17                   THE COURT:    So that's just a mistake on your

    18     part citing --

    19                   MR. FLYNN:    For the authenticity of the

    20     document.

    21                   THE COURT:    Wait.    Can you point me to any

    22     authority that says to show authenticity, you need to have a

    23     clear and convincing showing?

    24                   MR. FLYNN:    Your Honor, that's not what I'm

    25     saying.    To demonstrate authenticity, the burden is lower.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 20 of 213 PageID #: 11555
                                                                           20


     1     To demonstrate that it is a printed publication under

     2     Section 802, the burden is clear and convincing evidence.

     3     In our reply brief, we cite the Federal Circuit -- I'm

     4     sorry, the Supreme Court case Microsoft versus i4i Limited

     5     Partnership, the concurring opinion by Justices Breyer,

     6     Scalia and Alito, where they say that the accused infringer

     7     has a burden of clear and convincing evidence.

     8                   THE COURT:    Can I ask you about that?       So you've

     9     got three justices that are in that opinion, Scalia, Alito

    10     and Breyer.    You've got four justices that didn't sign onto

    11     that opinion who concurred in the judgment and signed onto

    12     the lead opinion.

    13                   Doesn't that tell me that the majority of the

    14     Court, the plurality of the Supreme Court doesn't agree with

    15     you?

    16                   MR. FLYNN:    Your Honor, I'm not sure there's a

    17     dispute about whether they have to demonstrate by clear and

    18     convincing evidence that something is prior art.

    19                   THE COURT:    Okay.

    20                   MR. FLYNN:    I mean, their burden is to prove by

    21     clear and convincing evidence that a printed publication is

    22     prior art to the patents-in-suit.        I'm not sure that's even

    23     an issue.    What they are arguing is that by, you know,

    24     purely by the rule that somehow a publication that they've

    25     said wasn't publicly accessible somehow becomes a printed
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 21 of 213 PageID #: 11556
                                                                           21


     1     publication when the standard set by the Federal Circuit

     2     says that's not the case.       I mean, you know, we're not the

     3     ones who said it couldn't have been found.          They said it,

     4     not with one but two declarations, that using the best

     5     databases, the same ones the PTO uses --

     6                   THE COURT:    You said it could have been found.

     7                   MR. FLYNN:    We said it could have been found

     8     with respect to filing the IPR in 2016.

     9                   THE COURT:    So why could it be found in 2016 --

    10     wait.   Just so we're all clear, what's the relevant date

    11     that they have to show public accessible?

    12                   MR. FLYNN:    It would certainly -- I mean, we

    13     can say that it's the filing date of the patents,

    14     November 2003.

    15                   THE COURT:    Well, what do you want to say?

    16                   MR. FLYNN:    More likely, let's say it's the

    17     priority date of November of 2002.        That's when they would

    18     have to show that it was publicly accessible to a person of

    19     reasonable skill in the art.

    20                   THE COURT:    All right.

    21                   MR. FLYNN:    Now --

    22                   THE COURT:    Anything else?

    23                   MR. FLYNN:    I'm happy to respond to any

    24     questions or hear what the defendants have to say.

    25                   THE COURT:    All right.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 22 of 213 PageID #: 11557
                                                                           22


     1                   MR. FLYNN:    Thank you, Your Honor.

     2                   MS. SILVERSTEIN:     Good afternoon, Your Honor.

     3     Brianna Silverstein for defendants.

     4                   It's clear that what the plaintiffs are doing

     5     here is trying to conflate two different standards.           The

     6     estoppel standard that we've met is that a reasonable

     7     searcher couldn't have found it in a diligent search when we

     8     were doing the IPR search.       One important distinction there

     9     is that we were searching, our searchers were searching in

    10     English only and the Sato publication wasn't actually

    11     translated into English.

    12                   And the public accessibility standard is

    13     different, and I would like to address your point on what

    14     the burden is.     Under SRI International, that's 511 F3d.

    15     1186, the Federal Circuit said that you just have to make a

    16     satisfactory showing.

    17                   THE COURT:    What does that mean?

    18                   MS. SILVERSTEIN:     We have to show that the

    19     document would have been disseminated or otherwise made

    20     available to persons interested and ordinarily skilled in

    21     the art.

    22                   THE COURT:    But that begs the question, by what

    23     standard.    So what is satisfied?      It seems to me it's kind

    24     of circular or redundant.       Actually, I'm familiar with the

    25     language.    I'm trying to figure out how it's helpful.         What
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 23 of 213 PageID #: 11558
                                                                           23


     1     does it mean to have a satisfied showing?          That's putting

     2     the cart before the horse, isn't it?

     3                   MS. SILVERSTEIN:     You could say that.      I'm just

     4     quoting what the Federal Circuit said.

     5                   THE COURT:    So what's your best guess as to what

     6     the Federal Circuit means when it comes to making a

     7     satisfying showing?

     8                   MS. SILVERSTEIN:     I think in this case, there's

     9     no doubt that we've shown.       I mean, it's a public --

    10                   THE COURT:    Let's see some words.      What words

    11     should I look at?     Preponderance of the evidence?        Clear and

    12     convincing standard?      I mean, Justice Breyer was very

    13     explicit, it should be clear and convincing to show the

    14     existence of the prior art.       Right?

    15                   MS. SILVERSTEIN:     Sure.    Yes.

    16                   THE COURT:    Should I just blow off Justice

    17     Breyer?

    18                   MS. SILVERSTEIN:     No.     As you noted, that was a

    19     concurrent thing.     It wasn't the full Supreme Court.

    20                   THE COURT:    All right.     So give me some language

    21     I can use to help me understand what satisfying means.

    22                   MS. SILVERSTEIN:     I suppose we would argue that

    23     it's closer to a preponderance of the evidence than the

    24     clear and convincing standard, but I think in any case for

    25     this particular document, there's no doubt that we meet both
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 24 of 213 PageID #: 11559
                                                                           24


     1     of those standards.

     2                   THE COURT:    Okay.   So let me ask you this:       Say

     3     the standards are different and I will say I found, it

     4     struck me that if I were writing the law from scratch, it

     5     might make sense to distinguish 315 from 102.          315 seems to

     6     be concerned about process, judicial efficiency.           102 seems

     7     to be concerned about substantive, validity of patents.            I

     8     can see that.

     9                   But my problem having said that is, as I look at

    10     Jazz Pharmaceuticals, Inc. against Amneal Pharmaceuticals

    11     LLC, 895 F.3d, 1347, a Federal Circuit case, it says, "A

    12     reference is considered publicly acceptable upon a showing

    13     that such document has been disseminated or otherwise made

    14     available to the extent that persons interested and

    15     ordinarily skilled in the subject matter or art exercising

    16     reasonable diligence can locate it."         That's exactly what

    17     Mr. Flynn said.     That seems to be the exact same standard

    18     that's at issue with '315.

    19                   MS. SILVERSTEIN:      We agree with you, that's the

    20     standard for whether it's publicly available, but we

    21     disagree that it's the same as the '315.         As a practical

    22     matter, it can't be the same, because then an IPR petitioner

    23     that is unsuccessful in the IPR would be completely

    24     estopped.

    25                   THE COURT:    Okay.   But then you do agree that
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 25 of 213 PageID #: 11560
                                                                           25


     1     what I ought to look to is, could a person interested in the

     2     ordinary field, the subject matter or art exercising

     3     reasonable diligence have located Sato.         Right?   You agree

     4     that's the standard?

     5                   MS. SILVERSTEIN:      Yes.

     6                   THE COURT:    Okay.   So real quick, like

     7     30 seconds.    Given the declaration of your two experts, how

     8     do you possibly win it?

     9                   MS. SILVERSTEIN:      Because their experts were

    10     only searching within the English language and the public

    11     accessibility standard is not limited to English language.

    12                   THE COURT:    Do you know of any case law that

    13     says when I should look at 315 versus 102, one ought to be

    14     English only, one ought to be other languages?

    15                   MS. SILVERSTEIN:      No, Your Honor, I don't, but

    16     you've already ruled on our 315 motion and found that we met

    17     the standard for 315.      So we're just talking, I'm just

    18     talking right now about the 102 standard, and I mean,

    19     clearly, if you look at the Hoag case that we cited, that

    20     was a German thesis that was only available in one library

    21     in Germany, but because it was indexed, it was found to be

    22     publicly accessible.      And I think we would all agree that if

    23     that piece of art wasn't found through a diligent search to

    24     do for an IPR, that you wouldn't -- a petitioner wouldn't be

    25     estopped from using it in the future.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 26 of 213 PageID #: 11561
                                                                           26


     1                    I mean, one of the things that Mr. Flynn didn't

     2     mention in his talk about our evidence is the actual Sato

     3     publication itself.      It says date of publication on it.        And

     4     they have not -- they have not pointed to any evidence of

     5     any kind when a foreign patent publication, especially from

     6     the Japanese Patent Office, was found to not be publicly

     7     accessible.

     8                    THE COURT:   All right.    Okay.    Thank you.

     9                    MR. FLYNN:   Your Honor, do you want to hear

    10     anything further?

    11                    THE COURT:   No.   Thank you.

    12                    All right.   So we're looking then just to

    13     summarize plaintiffs' motion in limine number one to

    14     preclude the use of the Sato reference at trial because it

    15     fails to meet the printed publication requirement, Section

    16     102,              and I agree with the plaintiffs on this.         I

    17     just don't see how the defendants can satisfy the standard

    18     articulated in the Jazz Pharmaceuticals case that I read and

    19     quoted from.     And the standard is that a reference is

    20     considered publicly accessible upon the showing that such

    21     document has been disseminated or otherwise made available

    22     to the extent that persons interested and ordinarily skilled

    23     in the subject matter or art exercising reasonable diligence

    24     can reasonably locate it and the sworn declaration of the

    25     defendant's experts show that exercising reasonable
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 27 of 213 PageID #: 11562
                                                                           27


     1     diligence, you would not be able to locate the Sato

     2     reference, and therefore I think it didn't satisfy the

     3     printed publication requirement.

     4                   Do you have a question?

     5                   MR. CHAMBERS:     Are you ready for number two,

     6     Your Honor?

     7                   MR. FOSTER:    Your Honor, just for the record,

     8     this is the first time that an official publication from a

     9     foreign Patent Office has been declared publicly

    10     inaccessible.

    11                   If you look at the cases of the Patent Office in

    12     Australia that we cited --

    13                   THE COURT:    Thank you very much.      I've read your

    14     papers and you made your argument.

    15                   MR. FOSTER:    Yes, Your Honor.

    16                   THE COURT:    And you submitted two sworn

    17     declarations from patent experts that swore that they had,

    18     and I relied upon it in ruling in your favor in a prior

    19     motion, and your experts detailed the comprehensive and

    20     diligent search that they say their companies executed or

    21     performed to locate the Sato reference and that they said

    22     they were unable to locate it, and they said that a person

    23     of ordinary skill in the art could not locate it or be

    24     expected to locate it with a diligent search.          So you can

    25     take your affidavits up the to Federal Circuit.          All right.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 28 of 213 PageID #: 11563
                                                                           28


     1                   Let's go with motion in limine number 2.

     2                   MR. CHAMBERS:     Thank you, Your Honor.      This is

     3     to exclude entering into evidence of Hamilton Beach's

     4     patents, and it's a bedrock principle of patent law that a

     5     patent gives a right to exclude others, but it doesn't give

     6     a right to use what's described in the patent yourself.            Put

     7     another way, simply because you get a patent, it doesn't

     8     give you a free license to use everybody else's patented

     9     technology.

    10                   If you get a patent for a little fastener clip,

    11     that doesn't give you the right to make all sorts of other

    12     inventions and then say that I have a patent.

    13                   THE COURT:    All right.    I tend to agree with

    14     you.   I think we'll save time if I hear from the defendants

    15     first.

    16                   MR. RAHMEIER:     Good afternoon, Your Honor.

    17                   THE COURT:    Good afternoon.

    18                   MR. RAHMEIER:     Thatcher Rahmeier for the

    19     defendants.

    20                   Just to be clear, I don't know what the motion

    21     was, but we're really just talking about one patent here,

    22     and it's Hamilton Beach's, what we call the '823 patent.

    23                   THE COURT:    Right.

    24                   MR. RAHMEIER:     So --

    25                   THE COURT:    So how about this.      Can you tell me,
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 29 of 213 PageID #: 11564
                                                                           29


     1     I'm looking at page 2 of your motion in limine response.

     2     You say the patent is inextricably linked to Hamilton

     3     Beach's work on the accused product.

     4                   Actually, can I stop you there.         Just so I

     5     understand, because this is going to come up in other

     6     contexts.    There are two defendants.       Right?

     7                   MR. RAHMEIER:     There are two defendants.

     8     There's Hershey and there's Hamilton Beach.

     9                   THE COURT:    Okay.   So on this one, this

    10     particular issue is only relevant to Hamilton Beach.           Is

    11     that right?

    12                   MR. RAHMEIER:     Well, yes.    It's Hamilton Beach's

    13     patent.    It's about their design work and it relates to the

    14     accused products that Hamilton Beach made.          Hershey's is a

    15     customer.

    16                   THE COURT:    All right.    So then going back to

    17     the language in your brief, you say the patent is

    18     inextricably linked to Hamilton Beach's work on the accused

    19     product.    It illustrates the pertinent feature of the

    20     product and it demonstrates the steps.         And let's stop

    21     there.

    22                   I think you have to agree, introducing

    23     unnecessarily a patent to the jury could lead to confusion.

    24     Do you agree with that?

    25                   MR. RAHMEIER:     We agree that a limiting
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 30 of 213 PageID #: 11565
                                                                           30


     1     instruction is appropriate.

     2                    THE COURT:   I get that.     But to answer my

     3     question is, so you do agree, the fact that you were willing

     4     to go with a limiting instruction, it could lead to

     5     confusion?

     6                    MR. RAHMEIER:    It could.

     7                    THE COURT:   Now, it could arguably be corrected

     8     or avoided with a limiting instruction.         But given that, how

     9     does it help the jury, how is it probative to show how the

    10     features of a product were to have a patent?

    11                    MR. RAHMEIER:    So you're asking me just about

    12     the features?

    13                    THE COURT:   I'm going to go through them

    14     individually.     Let's just talk about the features.

    15                    MR. RAHMEIER:    Yes.    This patent is the result

    16     of basically the research and development of these accused

    17     products, not just similar products, but the products at

    18     issue in this case.

    19                    THE COURT:   But I mean, look, if you got the

    20     accused product, you could introduce testimony, somebody who

    21     worked.    You could show plans, designing of the product.

    22     You could show pictures of it.         Why do you need to have a

    23     the patent to explain to the jury what the features are of

    24     the product?     Just help me out with that.

    25                    MR. RAHMEIER:    Sure.    In this case particularly,
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 31 of 213 PageID #: 11566
                                                                           31


     1     the patent itself was used extensively in the depositions of

     2     Hamilton Beach witnesses by the plaintiff, and, in fact,

     3     that testimony --

     4                   THE COURT:    Are they going to introduce that in

     5     their case-in-chief for sure?

     6                   MR. RAHMEIER:     For sure, I can't say.

     7                   THE COURT:    Okay.     All right.   What's your name,

     8     sir?

     9                   MR. CHAMBERS:     No.

    10                   THE COURT:    What's your name, sir?

    11                   MR. CHAMBERS:     Excuse me.      Sorry.

    12                   THE COURT:    No, no.    What is your name?     I just

    13     want to know what your name is.

    14                   MR. CHAMBERS:     Sorry, Your Honor.

    15                   THE COURT:    No, no.

    16                   MR. CHAMBERS:     Guy Chambers.

    17                   THE COURT:    All right.    So, Mr. Chambers, sorry.

    18                   MR. CHAMBERS:     No.

    19                   THE COURT:    Mr. Chambers, do you intend to use

    20     it in your case-in-chief?

    21                   MR. CHAMBERS:     Absolutely not.

    22                   THE COURT:    Okay.     Thanks.   All right.

    23                   So since they are not going to use it, let's get

    24     that off the table.      I think my guess is they designated it

    25     probably just to rebut something in case it came up.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 32 of 213 PageID #: 11567
                                                                           32


     1                   Assuming they are not going to use it, why is it

     2     helpful to introduce the patent to show the features of the

     3     product?

     4                   MR. RAHMEIER:     Just for the features?

     5                   THE COURT:    That's all I'm getting at.

     6                   MR. RAHMEIER:     Okay.   Again, I think, yes, we

     7     may have the machine there.       The machine may go back to the

     8     jury.

     9                   THE COURT:    I assume.

    10                   MR. RAHMEIER:     And, but, again, I think the

    11     design work that was done and that resulted in this patent,

    12     the patent illustrates and shows, you know, different

    13     aspects and things not accused of infringement of the

    14     accused products.

    15                   THE COURT:    Is there something in the patent

    16     that would tell the jury how the product works in a more

    17     probative way than having the product in front of them and

    18     scientists or somebody explaining how it works?

    19                   MR. RAHMEIER:     I can't answer that.

    20                   THE COURT:    All right.    Let's go onto the next

    21     topic then.    Then you say the patent would show the timeline

    22     of the development.      Help me out with that.

    23                   MR. RAHMEIER:     Yes.    So that goes back to one of

    24     my, one of the arguments here, which is, the patent is, in

    25     our view, very important to the story and the background,
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 33 of 213 PageID #: 11568
                                                                           33


     1     the features, the development that went into the development

     2     of the accused product.

     3                   THE COURT:    Flesh that out.

     4                   MR. RAHMEIER:     The timeline would be evidence by

     5     when a patent was filed, when it was issued.          In this case,

     6     the patent actually issued over the plaintiffs' patent.            So

     7     plaintiffs' allegations --

     8                   THE COURT:    So it issued after the plaintiff's

     9     patent?

    10                   MR. RAHMEIER:     It did, but it issued over,

    11     meaning there's something else there, meaning Hamilton Beach

    12     innovated and the Patent Office found innovation and issued

    13     a patent.

    14                   So --

    15                   THE COURT:    Was the plaintiffs' patent part of

    16     the prosecution history of the '823 patent?

    17                   MR. RAHMEIER:     Yes.   Again, the timeline part,

    18     it would show in the timeline of the development and

    19     research and development, when Hamilton Beach decided to go

    20     to the Patent Office and try to --

    21                   THE COURT:    So it was specifically discussed,

    22     the patent-in-suit during the course of the prosecution

    23     history?

    24                   MR. RAHMEIER:     You mean actually argued and

    25     discussed in the prosecution history?
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 34 of 213 PageID #: 11569
                                                                           34


     1                   THE COURT:    Yes.

     2                   MR. RAHMEIER:     It's cited to the face.      I don't

     3     think it was.

     4                   THE COURT:    But it's cited on the face of the

     5     patent?

     6                   MR. RAHMEIER:     That's correct.

     7                   THE COURT:    All right.

     8                   MR. RAHMEIER:     Okay.

     9                   THE COURT:    All right.    And then you say, next,

    10     you say, the '823 patent is so intertwined that the

    11     plaintiffs used the '823 patent to prove its infringement

    12     case.

    13                   Can you show me where that is because I had a

    14     hard time finding it.

    15                   MR. RAHMEIER:     It is the '377 patent, claim 27,

    16     the expert report.      It's cited right there at 79.

    17                   THE COURT:    Yes.    So help me out with that.

    18                   MR. RAHMEIER:     Yes.

    19                   THE COURT:    I was looking at it.      I didn't

    20     really see this.

    21                   MR. RAHMEIER:     Okay.

    22                   THE COURT:    So this is tab 18, paragraph 79,

    23     page 45.    I'm looking at paragraph 79.

    24                   MR. RAHMEIER:     I'm looking at page 79.

    25                   THE COURT:    Okay.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 35 of 213 PageID #: 11570
                                                                           35


     1                   MR. CHAMBERS:     Your Honor, this is Guy Chambers

     2     again.

     3                   Very quickly, that's a typo.       That's the only

     4     page we had that typo in the report.

     5                   THE COURT:    Wait.   This is his motion, but you

     6     know -- sorry.

     7                   MR. CHAMBERS:     I just want to see if I can speed

     8     things along.

     9                   THE COURT:    Okay.

    10                   MR. CHAMBERS:     We did have a typo.     We removed

    11     every other reference we could find to the '823.           We have no

    12     intention of relying on it.       We tried to get them all out on

    13     this one.

    14                   THE COURT:    Okay.   I don't even see '823 in

    15     paragraph 79.

    16                   MR. RAHMEIER:     Your Honor, that's because it's

    17     not paragraph 79.

    18                   THE COURT:    Okay.

    19                   MR. RAHMEIER:     It's page 79.

    20                   THE COURT:    All right.

    21                   MR. RAHMEIER:     Two columns.    On the right

    22     column, the second box from the bottom.

    23                   THE COURT:    Oh, okay.

    24                   MR. RAHMEIER:     So the '823 patent is being

    25     referenced to prove that a cup support mounted in the
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 36 of 213 PageID #: 11571
                                                                           36


     1     housing limitation is met.

     2                   THE COURT:    Okay.   Hold on a second now.

     3                   Mr. Chambers, you're telling me that reference

     4     to the '823 on page 79 of your expert report, you're saying

     5     is a typo?

     6                   MR. CHAMBERS:     Yes.

     7                   THE COURT:    What should it be?

     8                   MR. CHAMBERS:     Excuse me?

     9                   THE COURT:    What should it be?      '823, what

    10     should it be?

    11                   MR. CHAMBERS:     We tried to remove any reference

    12     to the '823 in putting together the expert report because we

    13     don't intend to rely on it.

    14                   THE COURT:    Okay.   So you are not going to rely

    15     on it at trial?

    16                   MR. CHAMBERS:     Exactly.

    17                   THE COURT:    All right.     Thank you.

    18                   All right.    So, all right.     So that dispenses

    19     with that.    Right?

    20                   So let's go with the next one.        You've got the

    21     '823 patent is also relevant to secondary considerations of

    22     obviousness and then namely, that the defendants copied.            So

    23     flesh that out for me.      I didn't really understand that.

    24                   MR. RAHMEIER:     I would be happy to.      I would

    25     also like to start with, this is probably more important now
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 37 of 213 PageID #: 11572
                                                                           37


     1     with willfulness being back in the case.

     2                   Okay.   So I'm sure as Your Honor noticed, the

     3     plaintiffs' papers are rife with allegations that defendants

     4     are unscrupulous copyists I believe is the phrase they used.

     5     And by extension, that we don't innovate, that we ride on

     6     the coattails of others, including the plaintiffs think

     7     that's what we did here with them.

     8                   So that simply is not true, and Hamilton Beach

     9     should be permitted to present the whole picture of their

    10     research and development process and what happened here in

    11     this case.    Again, it's for the accused products.         It's not

    12     just somewhere in the patent here.

    13                   So therefore we should be able to show to rebut

    14     these allegations of us being copyists, and unscrupulous

    15     copyists that is, that we do innovate.

    16                   THE COURT:    Is there anything other than an

    17     unscrupulous copyist?

    18                   MR. RAHMEIER:     That's a good question.

    19                   THE COURT:    All right.

    20                   MR. RAHMEIER:     We think a blanket exclusion of

    21     us being permitted, to basically have this part of our whole

    22     story before the jury would be unfair and, in fact, unfairly

    23     advantage to them.

    24                   THE COURT:    Okay.   All right.     Thank you.

    25                   Mr. Chambers, if you wish to respond, I will
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 38 of 213 PageID #: 11573
                                                                           38


     1     give you a chance.

     2                    MR. CHAMBERS:    Well, I will be very quick, Your

     3     Honor.

     4                    I think Your Honor brought up key points, which

     5     is that there's other technical documents that can prove

     6     the, what the structure of it is, and what they described is

     7     exactly the reason why these things need to be excluded.

     8     They said it was issued over plaintiffs' patent.           There's

     9     bad law out there, which the Federal Circuit in its Atlas

    10     case made sure to get rid of, that says simply because you

    11     get a patent doesn't mean that it's a defense to

    12     noninfringement.     This is highly prejudicial.

    13                    THE COURT:   Let me ask you this:      Especially

    14     since willfulness is in, but even before with copying, but

    15     now it's in.

    16                    So why shouldn't they be allowed to bring this

    17     in to show that they had a legitimate effort to come up with

    18     their mixer, they were not afraid to present it to the PTO,

    19     they even cited your patent in their patent.          They honestly

    20     believed they didn't infringe.

    21                    MR. CHAMBERS:    Well, what they can do, they can

    22     come in and try to show that they designed it in a different

    23     way, that they had their opinion of counsel.          That's all

    24     relevant evidence.

    25                    THE COURT:   Well, why isn't what I just said
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 39 of 213 PageID #: 11574
                                                                           39


     1     relevant?

     2                    MR. CHAMBERS:    What?

     3                    THE COURT:   What about what I just said?

     4                    MR. CHAMBERS:    Okay.    And, but I think that's

     5     very marginal.     I don't think it's really relevant at all.

     6     You would need to get into drawing a connection between

     7     their product and the patent, and then you --

     8                    THE COURT:   Wait.   The standard is for

     9     willfulness.     Right?   It's actually knew or should have

    10     known they were infringing.

    11                    MR. CHAMBERS:    Right.

    12                    THE COURT:   Wouldn't it be inconsistent with

    13     somebody that had knowledge that they were infringing the

    14     patent to cite it in a patent application to the PTO?

    15     You're drawing attention to the fact there's another patent

    16     out there.

    17                    MR. CHAMBERS:    Not at all, and this gets into a

    18     whole complicated explanation you need to give the jury of

    19     pioneering patents versus improvement patents.

    20                    I will be very brief about this, but the example

    21     I give people is Shockley in 1954, Bell Labs came up with a

    22     very crude transistor, solid state transistor, the first one

    23     ever, and that spawned the whole Silicon Valley.           That

    24     spawned transistors, DRAMs, microprocessors, so that it

    25     created a huge industry, but Shockley was the one who
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 40 of 213 PageID #: 11575
                                                                           40


     1     started it all.

     2                         So as long as Shockley has a patent,

     3     everybody has to pay homage to Shockley and cite in the

     4     Patent Office the fact that, you know, Shockley's patents,

     5     so the examiner can consider it.        So they have to pay homage

     6     to Shockley.     The fact that they developed a microprocessor,

     7     you know, 15 years later is completely irrelevant to whether

     8     they're infringing Shockley's patent, and it would be very

     9     prejudicial if Texas Instruments could come in and say, you

    10     know, we have 1500 microprocessor patents.          How could we

    11     possibly be infringing Shockley?

    12                    THE COURT:    Well, I can understand, I mean, and

    13     I think that you would agree, Mr. --

    14                    MR. CHAMBERS:    Chambers.

    15                    MR. RAHMEIER:    Rahmeier.

    16                    THE COURT:    Mr. Rahmeier.    Correct?    I've got

    17     Chambers now.

    18                    Mr. Rahmeier, you'd agree that there has to be a

    19     limiting instruction.       We can't have the jury think that

    20     because you have a patent, that means you don't infringe

    21     their patent?     Correct?

    22                    MR. RAHMEIER:    We do agree with that.      That's

    23     very typical in cases we provided to Your Honor in our

    24     briefing.

    25                    THE COURT:    All right.   I'm going to deny the
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 41 of 213 PageID #: 11576
                                                                           41


     1     motion.    I think it's -- I'm sorry.      You're rolling your

     2     eyes, Mr. Chambers.

     3                   MR. CHAMBERS:     Well, can I ask that we -- let me

     4     let you finish, Your Honor.       Let me let you finish.      I'm

     5     sorry.    I apologize.

     6                   THE COURT:    I'm going to deny the motion.        I

     7     think that, however, I do think it's appropriate to have a

     8     limiting instruction because of the danger of unfair

     9     prejudice to the plaintiff and confusion to the jury that

    10     the fact that there's an existing patent on, and the

    11     defendants say it covers the accused products, is not

    12     probative of whether or not the plaintiffs' patent is

    13     infringed by the accused product, and we need to make that

    14     clear to the jury in an instruction.         But I do think that

    15     the existence of the patent and the fact that it cites the

    16     plaintiffs' patent is relevant to willfulness or lack of

    17     willfulness, and it's relevant to the development, there's

    18     an allegation of copying, and it's relevant to that issue as

    19     to whether there was copying or whether there was an

    20     understanding that, no, this was something different.

    21                   MR. CHAMBERS:     Your Honor, could I mention that

    22     one of the things they are asking in their jury instructions

    23     is design-around, so what they're going to try to tell the

    24     jury, which could be extremely prejudicial, is that we,

    25     we're entitled to design around the patent, we're encouraged
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 42 of 213 PageID #: 11577
                                                                           42


     1     to design around the patent.       And here we've gotten our own

     2     patent, and this is evidence that we successfully designed

     3     around the patent and that it's hugely misleading to the

     4     jury for us, and that we're going to have to get into a

     5     pretty complicated analysis of the fact that what's in that

     6     '823 patent has nothing to do with the patents that are

     7     being enforced, which are, of course, self-cleaning blender

     8     and for reconstituting a frozen milkshake, that '823 patent

     9     is for moving a carriage up and down.

    10                   So it really has nothing to do with what's at

    11     issue here, and that's why everything can get so garbled and

    12     confused for the jury.

    13                   THE COURT:    All right.    So we'll have to make

    14     sure we have a good limiting instruction to make sure the

    15     jury is properly informed under the law.

    16                   MR. CHAMBERS:     Okay.   Would we be entitled to

    17     put on witnesses then to explain to the jury that their

    18     patent has nothing to do with, and you would almost need a

    19     patent attorney to get on the stand and explain why the

    20     claims of their patent have nothing to do with the claims

    21     that are at issue in the patents-in-suit?

    22                   THE COURT:    I think they're going to be

    23     instructed and it is has been stipulated, it sounds like,

    24     they'll be instructed that whether or not the accused

    25     products read on the '823 patent is irrelevant to whether or
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 43 of 213 PageID #: 11578
                                                                           43


     1     not they read on the patent-in-suit.

     2                   MR. CHAMBERS:     Well, first of all, in order

     3     for it to have any relevance, they would -- and I think

     4     this could be best handled, you know, once we get into the

     5     trial.

     6                   They have to show a nexus between their '823

     7     patent and their products even to show --

     8                   THE COURT:    I'm denying the motion in limine.

     9     There may be objections during the trial that a proffer

    10     they make with respect to the '823 patent may be completely

    11     irrelevant.    I wouldn't permit inquiry into it.        I'm just

    12     not granting the motion in limine saying they can't bring

    13     it in for those reasons.       For instance, to me, I'm not going

    14     to let them bring in the patent to show what the features

    15     of the accused products are.       That's redundant, it's

    16     wasteful.    That could mislead the jury.       It's not coming in

    17     for that.

    18                   I discussed the limited purposes I could see it

    19     being relevant to.      It was offered for those limited

    20     purposes, and coupled with a limiting instruction, I'm

    21     denying the motion in limine.

    22                   MR. CHAMBERS:     All right.    Thank you, Your

    23     Honor.    That helps.

    24                   THE COURT:    All right.    Next.    Oh, and by the

    25     way, to make it really clear to the Federal Circuit, so I
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 44 of 213 PageID #: 11579
                                                                           44


     1     based my analysis on that last ruling under Rule 403, and I

     2     think that the probative value of the existence of the '823

     3     patent is, with respect to the limited issues I discussed,

     4     namely, willfulness, copying, and the development of the

     5     products, is sufficiently probative that I'm not going to

     6     preclude it from being put before the jury.          That said, I do

     7     think that the potential of misleading the jury, causing

     8     confusion among the jury, would outweigh substantially the

     9     probative value of that evidence with respect to what are

    10     the features of the accused product, and certainly whether

    11     the accused product infringes the patent-in-suit.

    12                   So we're denying the motion in limine with the

    13     understanding that the evidence could be proffered for a

    14     limited bases and that we'll address whether the relevance

    15     of it as it comes up.

    16                   Next?

    17                   MR. FLYNN:    Your Honor, our third motion in

    18     limine is related to some evidence and testimony regarding

    19     defendants' positions that were not timely disclosed during

    20     the fact discovery period.

    21                   THE COURT:    Okay.

    22                   MR. FLYNN:    And we address a couple.       Let me

    23     focus on sort of the two big ones, and they relate to their

    24     noninfringement contentions and their invalidity positions.

    25                   THE COURT:    All right.    Actually, here's my
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 45 of 213 PageID #: 11580
                                                                           45


     1     problem, Mr. Flynn, and I do want you to really spend time,

     2     but as far as I'm concerned, I think the only one of the

     3     five that you address was beyond sales.         Did you discuss any

     4     of the others in your motion?

     5                   MR. FLYNN:    We do talk about the noninfringement

     6     positions.

     7                   THE COURT:    Okay.

     8                   MR. FLYNN:    Your Honor, I mean, sort of the

     9     overarching thing, and I think this is addressed in some of

    10     their motions as well, is that defendants have just failed

    11     to provide disclosures during the course of fact discovery.

    12     I mean, through the end -- fact discovery closed in July of

    13     2018 in a case that was originally filed in 2014.           There was

    14     plenty of time here.

    15                   THE COURT:    So, look.    I want you to walk me

    16     through this slowly, because I have to say from just my

    17     reading of the document, I came away with a similar

    18     conclusion.

    19                   MR. FLYNN:    Sure.

    20                   THE COURT:    So I wanted you to go through the

    21     timeline.

    22                   MR. FLYNN:    Sure.

    23                   THE COURT:    And then I will let them go through

    24     the timeline.

    25                   MR. FLYNN:    So let's start with noninfringement.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 46 of 213 PageID #: 11581
                                                                           46


     1     So we served contention interrogatories in 2015.

     2                    THE COURT:   So January of 2015.      Right?

     3                    MR. FLYNN:   I think that's right, Your Honor.

     4     I want to make sure I have the date right.          I believe that

     5     was our first -- I belive that was our first set of

     6     interrogatories.

     7                    THE COURT:   All right.

     8                    MR. FLYNN:   I don't have them with me.

     9                    They responded to those as often happens kind of

    10     punting the ball.     The only substantive responses we got

    11     back to our contention interrogatories on their

    12     noninfringement positions and their invalidity positions

    13     were in their supplemental interrogatory responses that they

    14     served on January 5th, 2016, more than two-and-a-half years

    15     before fact discovery closed.       And even in those responses,

    16     for noninfringement they pointed to a handful of documents

    17     and reference a collection of documents from, that they cite

    18     in another interrogatory response.        And for their invalidity

    19     position, that was our Interrogatory No. 8, they just

    20     incorporate by reference their May 22, 2015, invalidity

    21     contentions.

    22                    That's it.   That's the only responses they gave

    23     us on their defense, for example, on the on-sale bar or

    24     public use.    The May 15th responses that they sent us say,

    25     at this time, Hamilton Beach does not have any disclosures
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 47 of 213 PageID #: 11582
                                                                           47


     1     under U.S., 35 U.S.C., Sections 102(a) or 102(b) with

     2     respect to items for sale or publicly known.          That is the

     3     last update they gave to our interrogatory which would have

     4     gone to their on sale or public use defenses.

     5                   THE COURT:    All right.    So I want these exhibits

     6     just to make sure I got it right.

     7                   MR. FLYNN:    Hopefully, we tabbed this one, Your

     8     Honor.

     9                   THE COURT:    Okay.   I'm sorry, it wasn't tabbed.

    10     The only thing that was tabbed was Exhibit 15, which is the

    11     motion.    So let's go through it.

    12                   You got attached to it as Exhibit A, it looks

    13     like the responses to the interrogatories.

    14                   MR. FLYNN:    Correct.

    15                   THE COURT:    And they are dated, as you said,

    16     January 16th, so I'm seeing then at page 14, and the

    17     supplemental response to Interrogatory No. Eight is on 15.

    18     All right.

    19                   MR. FLYNN:    Correct.

    20                   THE COURT:    And they reference the invalidity

    21     contention are served on May 22nd, 2015.

    22                   MR. FLYNN:    Correct.

    23                   THE COURT:    Where are they?     They're in here,

    24     too.   Correct?    They appear to be Exhibit B.

    25                   MR. FLYNN:    They are Exhibit B, Your Honor.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 48 of 213 PageID #: 11583
                                                                           48


     1                   THE COURT:    All right.

     2                   MR. FLYNN:    If you look at page 11.

     3                   THE COURT:    Okay.   Hold up.    Yes.

     4                   MR. FLYNN:    Under the chart, under heading C.

     5     The first sentence makes clear, they have no disclosures

     6     about items for sale were publicly known.

     7                   THE COURT:    All right.    I've got you there.

     8                   MR. FLYNN:    Okay.

     9                   THE COURT:    Yes.

    10                   MR. FLYNN:    They do update those?

    11                   THE COURT:    Take me there.

    12                   MR. FLYNN:    These are the final contentions that

    13     are Exhibit E.

    14                   THE COURT:    Okay.

    15                   MR. FLYNN:    These were served February 12th,

    16     2018.

    17                   THE COURT:    All right.    I'm looking at page 13

    18     and 14.    Is that right?

    19                   MR. FLYNN:    12 and 13, Your Honor.      I believe 12

    20     has the chart and then begins with items offered for sale or

    21     publicly known.

    22                   THE COURT:    Okay.   Hold up then.      Okay.   I see

    23     12 and 13, but just help me out before I get there.            Let's

    24     go back.    What's Exhibit D?

    25                   MR. FLYNN:    Exhibit D, Your Honor, was an
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 49 of 213 PageID #: 11584
                                                                           49


     1     opinion from Judge Robinson on a similar issue.

     2                    THE COURT:   Okay.   I see it.    Sorry.

     3                    All right.   So just so I've got them all right

     4     here, I've got Exhibit A are the responses from Hamilton

     5     Beach.    Now, this is just Hamilton Beach, so help me out.

     6                    MR. FLYNN:   Correct.

     7                    THE COURT:   Help me out with this.      What's the

     8     analysis with respect to Hershey?        Why weren't they served,

     9     and if they were, what was their response?

    10                    MR. FLYNN:   So Hershey never served separate

    11     invalidity responses, invalidity contentions, Your Honor, so

    12     they just presumably adopted what Hamilton Beach --

    13                    THE COURT:   You say presumably, so that -- did

    14     they or did they not?

    15                    MR. FLYNN:   They definitely did not serve their

    16     own.   I don't know that they joined in --

    17                    THE COURT:   Did you serve discovery on them?

    18                    MR. FLYNN:   We did serve discovery on them.

    19                    THE COURT:   Did you serve the identical

    20     discovery on them?

    21                    MR. CHAMBERS:    Your Honor, the defendants can

    22     verify that.     Hershey was handling the trademark part of the

    23     case, and Hamilton Beach was handling the patent part of the

    24     case, so they divided it up, so all the stuff that was on

    25     patents came from Hamilton Beach and all the stuff that was
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 50 of 213 PageID #: 11585
                                                                           50


     1     on trademark came from Hershey.

     2                    THE COURT:   All right.    See, I'm reading these

     3     papers and, you know, what I'm stuck on is, as I mentioned

     4     at the beginning, and I will hear it from the defendants,

     5     but I think there's a pretty -- you know, plaintiffs have

     6     understandably frustrated feelings when it comes to Hamilton

     7     Beach's discovery responses, but I've got a motion in limine

     8     that is directed at both defendants, and I don't see any

     9     discovery with respect to Hershey.        And so before I do -- do

    10     I have to even decide this, because isn't Hershey going to

    11     say, we get to bring it all in?

    12                    MR. FLYNN:   Your Honor, I don't believe that

    13     Hershey has a defense or counterclaim that's related to an

    14     on-sale bar.     That was asserted in Hamilton Beach's answer

    15     and counterclaims.

    16                    THE COURT:   But you've got five things.       The

    17     on-sale bar is just one of five things.

    18                    MR. FLYNN:   Right.

    19                    THE COURT:   What about all the other things?

    20                    MR. FLYNN:   Your Honor, at some point

    21     defendants, Hamilton Beach and Hershey, were basically --

    22     actually, through the whole case with respect to the patent

    23     case, they're being, Hamilton Beach's attorneys have been

    24     handling that side of the case for both defendants.

    25                    I believe, and I can be happy to supplement if
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 51 of 213 PageID #: 11586
                                                                           51


     1     Your Honor would like, but I believe that Hershey's

     2     responses are similarly deficient in that, if anything, they

     3     only pointed to the same invalidity contentions, for

     4     example, that were served on Hamilton Beach and they never

     5     provided separate noninfringement contentions.

     6                   THE COURT:    And do you know for sure you served

     7     the identical discovery on Hershey?

     8                   MR. FLYNN:    I don't know for sure, Your Honor.

     9     I know that to the extent there is anything in the record

    10     about noninfringement contentions or invalidity contentions,

    11     Hershey was adopting what Hamilton Beach was providing

    12     because Hamilton Beach makes the products.          Hershey doesn't

    13     know about the way the products operate.

    14                   THE COURT:    Okay.   Well, maybe we'll just put

    15     that on the back burner.

    16                   So we've got Exhibit A, the defendant Hamilton

    17     Beach Brands' first supplemental responses.          Right?

    18                   MR. FLYNN:    That's correct.

    19                   THE COURT:    All right.    And you point me there

    20     to pages 14 and 15.

    21                   MR. FLYNN:    Correct.

    22                   THE COURT:    And Exhibit B is defendant Hamilton

    23     Beach Brands' initial invalidity contentions, and you point

    24     me there to page 11.

    25                   MR. FLYNN:    Correct.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 52 of 213 PageID #: 11587
                                                                           52


     1                    THE COURT:   All right.    And let's see.     You

     2     point me to paragraph C, which is offer for sale.

     3                    MR. FLYNN:   Right.

     4                    THE COURT:   And you point me to paragraph --

     5     what else?    Anything else there?

     6                    MR. FLYNN:   No, Your Honor.

     7                    THE COURT:   All right.

     8                    MR. FLYNN:   Not specifically.

     9                    THE COURT:   Just on-sale?

    10                    MR. FLYNN:   Just on-sale.

    11                    THE COURT:   Okay.

    12                    MR. FLYNN:   I will say, Your Honor, that one of

    13     our frustrations is that to this day we don't know exactly

    14     which issues they're raising as defenses.         For example,

    15     you'll see that they have a derivation defense in these

    16     contentions.     We don't know whether that's in the case or

    17     not.

    18                    They've raised a public use defense in their

    19     later contentions.      We don't know -- they didn't oppose our

    20     summary judgment motion on it, so we don't know whether

    21     that's still in the case or not.        They accused Mr. Cramer of

    22     being a co-inventor, but I think they've dropped that, too,

    23     but we don't know.      And this is part of the problem, is that

    24     we can't vet these things in discovery when they don't tell

    25     us what they are.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 53 of 213 PageID #: 11588
                                                                           53


     1                    And so, you know, the on-sale bar we're pretty

     2     sure is still in the case, but the only disclosure they've

     3     ever given us, even in their final invalidity contentions,

     4     is go back and look at our answer and counterclaims we filed

     5     at the very beginning of this case.

     6                    THE COURT:   Well, wait.     The on-sale bar,

     7     don't they point that out in their final invalidity

     8     contentions?

     9                    MR. FLYNN:   So that's Exhibit E, Your Honor.

    10                    THE COURT:   Right.

    11                    MR. FLYNN:   And if you look at page 12 --

    12                    THE COURT:   Yes.   Page 13.    Mr. Farrell offered

    13     to sell blenders to certain gas station changes such as

    14     QuikTrip.

    15                    MR. FLYNN:   At the NACS show.

    16                    THE COURT:   Yes.

    17                    MR. FLYNN:   And what do they cite?      They cite

    18     their answer and counterclaims as support for that.

    19                    THE COURT:   But I mean, they put you on notice.

    20     I mean, they could have them come in and they've got -- I

    21     mean, what else do you need?

    22                    MR. FLYNN:   Well, Your Honor, this company they

    23     reference here isn't the one that they're claiming is, there

    24     was an offer for sale for now.        This Kwik Trip with a "K" is

    25     a completely different company than the QuikTrip that
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 54 of 213 PageID #: 11589
                                                                           54


     1     they're asserting now.      They're no longer asserting, I don't

     2     believe, that the sale was made at the NACS show in October

     3     of 2002, which is what they plead in their answer and

     4     counterclaims.

     5                    But the point is that they had the benefit of

     6     fact discovery and they never supplemented it.          They never

     7     put us on notice that, okay.         We've been through discovery.

     8     We've deposed Mr. Farrell.       We've deposed Mr. Geford.      We've

     9     looked at everything.       Here's what our contentions are now

    10     in July of 2018, before we move into expert discovery.

    11                    THE COURT:    All right.    So this is the on-sale

    12     bar.   What else?    Let's talk about the other four things

    13     that your --

    14                    MR. FLYNN:    Sure.

    15                    THE COURT:    That your motion covers.

    16                    MR. FLYNN:    So two of these, Your Honor --

    17                    THE COURT:    Hold on.    Let me go back to your

    18     motion.

    19                    MR. FLYNN:    Sure.    And I think I can go through

    20     these pretty quickly, because I think they --

    21                    THE COURT:    All right.    So the number one is the

    22     new on-sale defense.

    23                    MR. FLYNN:    Right.

    24                    THE COURT:    And that's because apparently -- how

    25     do you know what their new on-sale defense is?
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 55 of 213 PageID #: 11590
                                                                           55


     1                   MR. FLYNN:    Well, Your Honor, when we moved for

     2     summary judgment, we kind of had to guess because we didn't

     3     know exactly what their contentions were on this.           The same

     4     with their public use defense, that I'm still not sure

     5     whether they're still asserting it or not.

     6                   But --

     7                   THE COURT:    But I mean, you know, here's the

     8     thing.    It's just from your summary judgment brief.

     9                   So incidentally, on your summary judgment -- so

    10     let's go to page 3 of your motion.        Right?    Plainly,

    11     defendants failed to identify their new on-sale invalidity

    12     defense in response to plaintiffs' interrogatories.

    13     Defendants concocted their new on-sale defense late in the

    14     case, after it was unequivocally proven that defendants'

    15     public use allegation never happened.         And then you say see

    16     DI 169, and that's your motion.        Right?

    17                   MR. FLYNN:    I believe that's correct.

    18                   THE COURT:    This is a typo.     Really, I think you

    19     were referring to your brief, which is DI 170, 37 to 40.

    20     I'm assuming that, because isn't it your argument that you

    21     made such a powerful summary judgment argument, that they

    22     had to abandon their initial defenses and switch gears.

    23     Right?

    24                   MR. FLYNN:    The public use and switch.

    25                   THE COURT:    But here's the problem.       So I go to
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 56 of 213 PageID #: 11591
                                                                           56


     1     page 37 of your brief.      Defendants have also asserted that

     2     the '150, '658 and 662 patents are invalid or unenforceable

     3     because Mr. Farrell publicly disclosed or offered to sell

     4     a blender containing the invention.        It sounds like you're

     5     on notice.    I mean, you're prepping for it.        You're on

     6     notice.

     7                   MR. FLYNN:    Your Honor, we're on notice, but

     8     that's not the standard after all of the discovery has

     9     closed.    The only thing we knew was what they had alleged in

    10     their answer and counterclaims four years ago.          Right?    And

    11     that was based on a display of a video that Mr. Farrell

    12     allegedly made at a trade show that they've now admitted

    13     never happened.

    14                   So when we're briefing the summary judgment, I

    15     mean, I don't even know what we could have briefed because

    16     they never told us, here's our contentions.          They never

    17     supplemented and said, we've deposed Mr. Farrell, here's all

    18     the evidence about what he allegedly said that makes us

    19     still believe that we have an affirmative defense based on

    20     an on-sale bar.

    21                   So all we're left with is the exact same one

    22     line they had on information and belief in their answer and

    23     counterclaims that they carried through to their invalidity

    24     contentions that we had to somehow sort of discern what

    25     their case may be on this when we don't think there's any
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 57 of 213 PageID #: 11592
                                                                           57


     1     evidence.

     2                    There's not a shred of documents that evidence

     3     any on sale.     There's not an invoice, there's not an e-mail,

     4     there's no correspondence.       There's nothing that supports

     5     their on-sale defense, but their own theory that he must

     6     have offered it for sale before November of 2002 because

     7     QuikTrip made a purchase of them in July of 2003 and it

     8     couldn't possibly have happened otherwise.          They don't have

     9     a single piece of evidence to support this.

    10                    THE COURT:   Let's go onto the next one.

    11                    MR. FLYNN:   Sure.

    12                    THE COURT:   So where are you on that?       The next

    13     one is they have to provide visual evidence of grinding,

    14     shaving, of the f'real patent.

    15                    MR. FLYNN:   Sure.   To kind of lump these

    16     together, because these are all part of their

    17     noninfringement positions, is that because we didn't know

    18     what their noninfringement contentions were even though we

    19     had served initial and final infringement contentions, they

    20     never came back and said, this is missing in your

    21     infringement contentions.

    22                    THE COURT:   Let me ask this:     If I let in the

    23     January 2019 testing by your expert, do you need this motion

    24     in limine?

    25                    MR. FLYNN:   We don't need it on the technical
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 58 of 213 PageID #: 11593
                                                                           58


     1     issue related to the grinding and shaving.

     2                   THE COURT:    Okay.

     3                   MR. FLYNN:    I think that Mr. Maynes had to do

     4     that extra testing to rebut what Mr. Slocum had in his

     5     rebuttal report to which we did not get a reply.

     6                   THE COURT:    All right.    How about number three,

     7     the unrestrained splash shield for sufficient mass.

     8                   MR. FLYNN:    So, Your Honor, again, because we

     9     didn't know what their noninfringement positions were with

    10     respect to those, we get them in Dr. Slocum's rebuttal

    11     report where he says it doesn't meet this limitation and now

    12     they are using indefiniteness issues as well.

    13                   THE COURT:    But is there --

    14                   MR. FLYNN:    But there's no prior disclosure to

    15     us.   They never said in response to our contention asking,

    16     tell us why you don't infringe based on our infringement

    17     contentions, they never said, here's why, here's why.           It's

    18     because we don't need this unrestrained limitation.

    19                   THE COURT:    How about divided infringement?

    20     They point to a 2017 oral argument where somebody on your

    21     side made a pitch to Judge Sleet about the divided

    22     infringement argument.

    23                   MR. FLYNN:    Your Honor, we raised it because we

    24     were concerned the claim construction could push that

    25     argument one way or the other.        What we argue in claim
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 59 of 213 PageID #: 11594
                                                                           59


     1     construction has nothing to do with what they're asserting

     2     as their position.

     3                   THE COURT:    And I think they say that though you

     4     guys never revealed at some late date, I can't remember what

     5     the date was, that, in fact, you were going to say that more

     6     than one person.

     7                   MR. FLYNN:    Your Honor, from the beginning of

     8     the case, we've had inducement arguments, which makes it

     9     clear that there's a third party doing the infringement.            So

    10     I'm not sure exactly what they are referring to, but we've

    11     always said that the consumers and the retailers have to

    12     commit direct infringement for an inducement claim.           That's

    13     not surprising to them.      The issue is whether there's true

    14     divided infringement where they are providing a piece of

    15     equipment and somebody else is completing the steps, and I

    16     think we've briefed this separately in terms of, you know,

    17     the Federal Circuit's limelight decisions.

    18                   THE COURT:    Okay.   All right.     Anything else?

    19                   MR. FLYNN:    No, Your Honor.     I think that covers

    20     it.

    21                   THE COURT:    All right.    Who is going to argue?

    22                   MR. FOSTER:    Your Honor, it's Bill Foster on

    23     behalf of the defendants.

    24                   THE COURT:    All right.

    25                   MR. FOSTER:    Your Honor, first of all, just to
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 60 of 213 PageID #: 11595
                                                                           60


     1     kind of get this out of the way.        The rule that they cite is

     2     a requirement to supplement the additional or corrected

     3     information has not otherwise been made known to the other

     4     parties during the discovery process.

     5                    There has been many times in this case where

     6     different arguments or different positions were made known

     7     to them, the raising of the interrogatory responses above

     8     all.

     9                    So, for example, in the opening part, they don't

    10     even mention the final invalidity contentions where we talk

    11     about Kwik Trip.     Granted, there's a typo, it's K instead of

    12     Q, but we have always had the same position that there was

    13     some sort of prior sale to QuikTrip.         We can go through that

    14     documentation later.      In fact, in the IPR, they talk about

    15     negotiations with QuikTrip starting in 2001, and we weren't

    16     able to depose Mr. Vogus, who made those statements until

    17     after the final infringement contentions.

    18                    This is all their evidence.      I mean, we weren't

    19     in control of any of it.       The same thing with talking to

    20     Mr. Farrell.     We didn't get to depose him until a few months

    21     after that.    One thing that's a little weird in this case.

    22     They talk about four years ago.        This case was filed.     There

    23     was discovery they didn't actually own the patents and it

    24     was kind of restarted.

    25                    So when that happened, based on some of the
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 61 of 213 PageID #: 11596
                                                                           61


     1     discovery that was done before, that's when the prior sale

     2     or public use was put into the document.         We weren't sure

     3     where the evidence was going to lead us because we didn't

     4     have it, we didn't talk to anyone about it yet.

     5                   Over the course of discovery, we have always

     6     said it was a sale to QuikTrip.        They put it in the

     7     declaration to support their IPR position.          They said

     8     themselves, negotiations started in 2001.         We have the

     9     video.    We know they had it at the NACS show.        We know he

    10     was trying to show it based on his deposition.          Again, that

    11     is all of their evidence, so we're not sure how they didn't

    12     have notice of the public use given it was pled.           It was

    13     mentioned in the final invalidity contentions, and then the

    14     evidence was further developed during discovery.

    15                   And, again, there's many times in this case,

    16     like just to get it out of the way real quick, the divided

    17     infringement issue.      Your Honor, we had discussions about

    18     what the claim construction should be, and during those

    19     discussions we had a whole discussion about the claim

    20     construction of providing a mixing machine.          We had a meet

    21     and confer.    We had to talk about those things.        They knew

    22     full well that we were going to bring up this trickster

    23     stuff type of argument.      They knew we were going to raise a

    24     divided infringement argument.        And they've said inducement

    25     has always been part of this case.        That's a different
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 62 of 213 PageID #: 11597
                                                                           62


     1     issue.    And remember, the divided infringement argument

     2     isn't directed to all the machines.        It's only directed to

     3     specific machines that are operated in Hershey Express Shake

     4     Shop Express program.

     5                   So we're saying something about if Hamilton

     6     Beach sells a machine and Dairy Queen uses it, for example.

     7     That's not really an issue.       And if you look at their final

     8     infringement contentions, they never say who performs the

     9     different method steps.      That's not in their infringement

    10     contentions whatsoever.      Until we got Dr. Maynes' report, we

    11     didn't know who was performing the different method steps,

    12     and that's brought up in our summary judgment motion later

    13     today.

    14                   So they were on full notice that we -- they were

    15     on full notice of the divided infringement potential as

    16     demonstrated by the statement in the Markman hearing a long

    17     time ago.    Again, when they fully put forth who was

    18     performing which of the steps, it's only, like I said, a

    19     subset, a subset of the total infringement that we're saying

    20     is governed by the divided infringement.

    21                   Real quick, there's many issues they didn't

    22     actually address in their papers.        I think the prior sale

    23     one we just talked about a little bit, but they don't get

    24     into the meat of a lot of these things.         But they had

    25     opportunities to talk about all of these issues.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 63 of 213 PageID #: 11598
                                                                           63


     1                    If you look at our, if you look at our responses

     2     to our interrogatories, we say straight up, all the products

     3     are missing at least one.       Many of your interrogatories are

     4     really calling for expert testimony.         And the people that

     5     have the most knowledge are Brian Williams and Ted Branson.

     6     Go talk to them.     And over the course of the discovery, they

     7     learned a lot of these things.

     8                    Looking at Exhibit P to the summary judgment

     9     brief, in many different questions about Brian Williams, the

    10     splash shield.     He talks about it.     He goes, all right.

    11     This is Exhibit P of the summary judgment motion.           All

    12     right.

    13                    So there was consideration for instead of the

    14     guidewire weight, putting kind of a big screen to make sure

    15     that the top of the cup shield was pressed down and held on

    16     top of the cup.     Right?

    17                    And the Answer:    To perform the same function as

    18     the weights.

    19                    The weight was most cost-effective.        Brian

    20     Williams testified about the sufficiency of the weight.

    21     Brian Williams also testified about whether or not the blade

    22     ground.    This was brought up.     There's another thing that's

    23     also mentioned in the summary judgment briefing about Ben

    24     Branson.    They tried to ask him whether or not shaves, or

    25     shaves chocolate chips.      Ben Branson simply denied, it
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 64 of 213 PageID #: 11599
                                                                           64


     1     doesn't shave anything.

     2                   THE COURT:    Can you point to, attached to your

     3     motion in limine response Exhibit D, you cite for the

     4     proposition that there was a disclosure about unrestrained.

     5                   MR. FOSTER:    Yes Your Honor.

     6                   THE COURT:    Page 121, 25.

     7                   MR. FOSTER:    Your Honor, Exhibit F.       Exhibit F

     8     is the strongest.

     9                   THE COURT:    Wait.   Let's go through Exhibit D.

    10                   MR. FOSTER:    All right.

    11                   THE COURT:    Exhibit D, page 121, starting at

    12     line 25.    Tell me, where is the unrestrained stuff here?

    13                   MR. FOSTER:    Your Honor, which page?

    14                   THE COURT:    Well, according to yours, I'm on

    15     page 2 of your response to the motion in limine.           On page 2

    16     under unrestrained splash, you cite Exhibit D as 121:25

    17     through 122:19.     Help me out.    Where is this discussion

    18     about unrestrained there?

    19                   MR. FOSTER:    Your Honor, this is a discussion

    20     about the lid weight that's part of the splash field

    21     assembly in the product.       He asked about the specific weight

    22     of it.

    23                   THE COURT:    Has that got something to do with

    24     being unrestrained?      You cite it for the proposition, it has

    25     a parenthetical, unrestrained.        I am trying to find out
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 65 of 213 PageID #: 11600
                                                                           65


     1     where there's something about unrestrained.

     2                    MR. FOSTER:   Well, Your Honor, the witness says

     3     the addition of the weight makes this entire assembly

     4     heavier, and that extra weight is something that would

     5     further restrain the lid.

     6                    THE COURT:    You're telling me that goes to

     7     unrestrained?

     8                    MR. FOSTER:   Your Honor, that's not directly on

     9     point.

    10                    THE COURT:    Well, you cited it, so you help me.

    11                    MR. FOSTER:   Right, Your Honor.      Your Honor,

    12     right now, the claim limitation is the splash shield is

    13     unrestrained.     That specifically says that the weight is

    14     further applying restraint to the flash shield.

    15                    THE COURT:    All right.    You're saying it's

    16     probative under unrestrained.       All right.

    17                    MR. FOSTER:   Well, Your Honor, there's two

    18     things that are in these depositions that we talked about

    19     that provide the restraint that's in their noninfringement

    20     contentions.     There's two things.      One, a separate lid

    21     weight, and, two, there's mechanical contact at the spindle

    22     seal and the bushings that provide friction, that mechanical

    23     contact.    Those are the two things and they're discussed in

    24     the portions of the deposition that we cite.

    25                    THE COURT:    So I'm trying to understand it.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 66 of 213 PageID #: 11601
                                                                           66


     1                   MR. FOSTER:    Yes, Your Honor.

     2                   THE COURT:    All right.    I haven't bean dealing

     3     with this case for four-and-a-half years.         A pretty simple

     4     question:    So you're telling me the weight is relevant or

     5     probative of whether it's unrestrained.         That's all I'm

     6     trying to figure out.

     7                   MR. FOSTER:    Yes.

     8                   THE COURT:    It sounds like the answer is yes.

     9                   MR. FOSTER:    Yes, Your Honor.

    10                   THE COURT:    All right.    So I saw friction in the

    11     next one.    Line 20, you say this goes to sufficient mass.

    12     Now we're back to discussing the cast iron weight.

    13                   MR. FOSTER:    And, Your Honor, page 150.

    14                   THE COURT:    Okay.   At the end you say, any small

    15     amount of weight will help, but it's not sufficient, so it

    16     goes to sufficiency.

    17                   MR. FOSTER:    Yes, Your Honor.

    18                   THE COURT:    All right.    Got it.

    19                   MR. FOSTER:    Your Honor, I think more clear,

    20     again, the rule allows us to provide any sort of update in

    21     writing, and I think the letter, the letter of January 30th,

    22     2017, we wrote them and we told them what our

    23     noninfringement position is for all of these patents.           We

    24     talk about the rinse chamber in the '150.         We talk about the

    25     splash shield that's restrained by a separate weight.           We
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 67 of 213 PageID #: 11602
                                                                           67


     1     talk about the -- the way it would read on any, it would

     2     read on any rinsing blender.

     3                    So, Your Honor, we were communicating.        We were

     4     telling them our positions.

     5                    THE COURT:    All right.

     6                    MR. FOSTER:   And, most importantly, Your Honor,

     7     I'm still not sure what type of discovery that they were

     8     denied of.

     9                    THE COURT:    Look, here's the thing.      You know

    10     what, there's a technical reading of the rule, and I think

    11     you are correct.     The rule refers to otherwise disclosed in

    12     discovery process or in writing, but in my mind, it's not

    13     the right way to practice civil litigation.          That the rules,

    14     they contemplate that you will be more forthcoming in

    15     responding to discovery, and I don't think you guys were.

    16                    Now, you technically meet it, that at least the

    17     second half of the rule, so, Mr. Flynn, I'm going to deny

    18     your motion.     I'm going to make sure that plaintiffs aren't

    19     prejudiced and they get to present the evidence, and an

    20     example would be, just off the top of my head, the

    21     January 2019 testing.

    22                    So you, you know, you're going to win your

    23     battle in this particular motion.         Do I think it's a way to

    24     practice civil litigation?       I don't, and I think it's

    25     unfortunate that lawyers do it, because they require parties
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 68 of 213 PageID #: 11603
                                                                           68


     1     to expend resources unnecessarily, and they require courts

     2     to have to expend, for instance, just in preparing for this,

     3     to dive into the details I had to when if people would have

     4     been just more, frankly, cooperative and candid we wouldn't

     5     be here.    So we're done on this motion.       Let's go to the

     6     next motion.

     7                    Mr. Flynn, do you understand the basis of my

     8     ruling?    You're okay with it?

     9                    MR. FLYNN:   I do, Your Honor.      I just -- to

    10     close the loop on it, we served the same interrogatories on

    11     Hershey.    They basically pointed to Hamilton Beach's

    12     invalidity contentions and they just said we don't infringe.

    13                    THE COURT:   Basically, I'm very sympathetic

    14     where plaintiffs are coming from on this, but the bottom

    15     line is the way you read the rule, it has the otherwise

    16     language at the end.      I think there are enough disclosures

    17     in the written communications.

    18                    It sounds like on the divided infringement,

    19     there must have been some kind of disclosure or

    20     understanding, and as I say, what it ends up doing, we're

    21     going to allow more evidence in and I may have to extend the

    22     time limitations because of that.

    23                    MR. FLYNN:   I understand, Your Honor.       Thank

    24     you.

    25                    THE COURT:   All right.    Let's go to the next
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 69 of 213 PageID #: 11604
                                                                           69


     1     motion.    I think we're on the defense number one.

     2                   MR. FOSTER:    Your Honor, I don't think there's

     3     any real dispute about the admissibility of the IPRs.            I

     4     think the defendants, sorry, the plaintiffs have agreed that

     5     it's more prejudicial than probative, so I think we're only

     6     going to talk about a couple of issues.         The use of certain

     7     testimony as a -- for cross-examination purposes, and then

     8     whether or not certain prior art was considered by the PTO

     9     during the IPRs.

    10                   THE COURT:    All right.    So let's talk about the

    11     latter first, because I think it can probably be done

    12     quickly.    I mean, you want to preclude them -- I mean,

    13     in cross-examination, if they're cross-examining somebody

    14     let's say maybe before the PTAB, can't they just call it

    15     another matter and that resolves the problem of

    16     cross-examination?

    17                   MR. FOSTER:    If it's truly an inconsistent

    18     statement.    As we note in our briefing, it's a different

    19     standard.    It may not be the same combination.

    20                   THE COURT:    How is that relevant?      It's only for

    21     purposes of showing an inconsistent statement.          Right?

    22                   MR. FOSTER:    Yes, Your Honor.

    23                   THE COURT:    So the plaintiffs, who is going to

    24     argue this for the plaintiffs?

    25                   MR. FLYNN:    Mr. Chambers.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 70 of 213 PageID #: 11605
                                                                           70


     1                    THE COURT:    Mr. Chambers, are you okay with that

     2     cross-examination?

     3                    MR. CHAMBERS:    Yes.

     4                    THE COURT:    So let's make it clear then.      They

     5     cannot, if they want to cross-examine a witness based on a

     6     declaration, statement made before the PTAB for impeachment

     7     purposes only and it's a prior inconsistent statement, it

     8     clearly has to meet that threshold, they can do it, but they

     9     cannot make any reference to what the specific matter was or

    10     before whom the statement was made.        They can just say, did

    11     you swear under oath in another matter, blank.

    12                    MR. FOSTER:   Your Honor, I think we agreed to

    13     that.

    14                    THE COURT:    That's what I'm getting at.

    15                    MR. FOSTER:   Yes.

    16                    THE COURT:    I think we've got agreement on the

    17     second part.

    18                    MR. FOSTER:   The only part, we were going to ask

    19     for a review of the document before it started.

    20                    THE COURT:    So, I mean, you know, how does that

    21     work mechanically?

    22                    MR. FOSTER:   Your Honor, I'm not sure.       I'm not

    23     sure what documents they're going to use.         For example, they

    24     talk about the Miller combination from prior art.           Again,

    25     the '662, I don't have an invalidity defense now because
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 71 of 213 PageID #: 11606
                                                                           71


     1     you said that Sato wasn't -- isn't prior art, so I don't

     2     know --

     3                   THE COURT:    I said it's not publicly accessible.

     4     I mean, if I were writing the law, I would let you have it.

     5     They say publicly accessible is determined by reasonable

     6     diligence.    We don't have to revisit that.

     7                   MR. FOSTER:    But, yes, that's not an issue in

     8     the trial anymore, so that shouldn't come in.          The other

     9     thing was an indefiniteness issue.        Again, that's a

    10     different proceedings.      112 can't be challenged at the PTAB

    11     and that's for the Court anyway.

    12                   I don't know what documents they plan to use.

    13     That's why we have that caveat.        But we agreed generally.

    14     Of course, they can cross-examine.        And the courts are

    15     pretty consistent in terms of not letting it in because it's

    16     too prejudicial, but at the same time trying to work with

    17     the evidence that was created this those cases.

    18                   THE COURT:    All right.    So I'm not going to

    19     require -- you know, if they're going to use it properly

    20     under the ruse to impeach a prior inconsistent statement,

    21     they're going to have to establish first that they got a

    22     statement, that it isn't consistent.

    23                   I have to say at the last patent trial I had, I

    24     had a patent attorney literally try to impeach a witness

    25     with a prior consistent statement, and that was news to me,
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 72 of 213 PageID #: 11607
                                                                           72


     1     but I don't think I will ever see that again, hopefully, and

     2     it certainly wasn't in the lawyer's interest.          So I think

     3     we're good.

     4                   Mr. Chambers, you understand, it has to be a

     5     prior inconsistent statement.       Right?

     6                   MR. CHAMBERS:     I do, Your Honor.

     7                   THE COURT:    All right.

     8                   MR. CHAMBERS:     I understand what you are saying.

     9                   THE COURT:    All right.    That dispenses with

    10     that.

    11                   MR. FOSTER:    Yes, Your Honor.

    12                   THE COURT:    So let's turn to the other one.

    13     This one I'm going to need some education on.

    14                   MR. FOSTER:    Yes, Your Honor.      And we've agreed

    15     to a jury instruction.      I think jury instruction 5, 4, it

    16     doesn't matter.     The point is, there is a principle of law,

    17     if a reference was considered during prosecution of the

    18     patent, there's a suggestion, it's harder to overcome the

    19     clear and convincing, the clear and convincing standard.

    20                   And so what the plaintiffs want to say is that

    21     references that were before the PTAB should get that same

    22     benefit.    We say that it would be highly prejudicial because

    23     they weren't in front of the examiner during prosecution.

    24                   And just to cut this short, in our reply brief

    25     of March 29th, the Federal Circuit actually commented on
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 73 of 213 PageID #: 11608
                                                                           73


     1     this issue.    Footnote 1 of the Tech Global case, which

     2     doesn't have a publication number yet, but the Westlaw

     3     number is 2019 WL1412538.       And in that decision, the

     4     footnote said, we do know, however, that caution is

     5     advisable for purposes of retrial.        The District Court

     6     appears to allow Tech to present evidence to the jury

     7     concerning a noninfringement.       Institution decision by the

     8     PTAB solely because SSI informed the jury that the examiner

     9     did not have access to a particular prior art reference when

    10     he allowed the asserted patent.

    11                    The jury here was certainly allowed to consider

    12     evidence that the PTO had no opportunity to evaluate before

    13     granting to the patent.      Proper limits to the contention the

    14     of pre-issuance examination does not by itself necessarily

    15     suggest, warrant or invite introduction of evidence

    16     concerning a related noninfringement institution decision.

    17                    So the Federal Circuit has spoken on this issue.

    18     I mean, we can't say it wasn't before the PTO.          We would

    19     just have to say that this combination wasn't before the

    20     examiner during the original prosecution, and that's all

    21     there is to say on that.

    22                    THE COURT:   Okay.   So I'm on the same page you

    23     are.   Okay.

    24                    Who is going to argue this?      Mr. Chambers?

    25                    So, Mr. Chambers, you quote on page 2 from the
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 74 of 213 PageID #: 11609
                                                                           74


     1     Supreme Court's decision in Microsoft, and we're dealing, I

     2     think, now with the first prong.         I mean, isn't the Supreme

     3     Court talking there about a situation where the prior art

     4     was presented to the examiner during the prosecution of the

     5     patent?

     6                    MR. CHAMBERS:    I think in that limited factual

     7     situation.    What really bothers me about this whole thing,

     8     Your Honor, is that the parties have put a tremendous amount

     9     of energy and money, and this case has been delayed for over

    10     a year because of challenges to all four of the patents.

    11     They made --

    12                    THE COURT:   I know it bothers you.      It would

    13     bother me, too.

    14                    MR. CHAMBERS:    Right.

    15                    THE COURT:   Why is it relevant?

    16                    MR. CHAMBERS:    Your Honor, these are very good

    17     judges.    I think we submitted the opinions to you, but

    18     they --

    19                    THE COURT:   So why is it relevant?

    20                    MR. CHAMBERS:    Because the patent, the Patent

    21     Office did take a look at these references and did evaluate

    22     them.

    23                    THE COURT:   But are you saying -- I mean, you

    24     are not making an estoppel argument, are you?

    25                    MR. CHAMBERS:    I'm making, tying into the
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 75 of 213 PageID #: 11610
                                                                           75


     1     Supreme Court i4i point, which is that, you know, counsel

     2     was correct, that if the Patent Office has already looked at

     3     the references and found that they're not invalidating, then

     4     it is harder to sustain the clear and convincing, and in

     5     this case you have the top level judges at the Patent

     6     Office, the very cream of the Patent Office take a look at

     7     these references.

     8                   You know, this is --

     9                   THE COURT:    That sounds to me just exactly why

    10     it shouldn't come in, I mean, because what you are doing is,

    11     you're trying to suggest that some judge opined on an issue

    12     that the jury is supposed to determine.         Therefore, you

    13     ought to give it special weight.        I mean, that seems to me

    14     to be exactly why it should be precluded from being brought

    15     in.

    16                   MR. CHAMBERS:     All right.

    17                   THE COURT:    Wait.

    18                   MR. CHAMBERS:     Go ahead, Your Honor.

    19                   THE COURT:    I mean, this quote that you've got

    20     from the Microsoft case is actually a quote that the Supreme

    21     Court is quoting Judge Rich, and who knows what context they

    22     are quoting him in.      Do you know it's from the America Hoist

    23     decision?    I mean, again, if I go back to -- does this have

    24     anything to do with patents other than, sorry, anything to

    25     do with anything before the PTO accepts in the context of a
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 76 of 213 PageID #: 11611
                                                                           76


     1     prosecution of the patent.       Right?

     2                    MR. CHAMBERS:    This was unquestionably before

     3     the PTO.

     4                    THE COURT:    In the context of a patent

     5     prosecution.     Right?

     6                    MR. CHAMBERS:    Well, this is all part of the

     7     Patent Office record.       That's for sure, Your Honor.

     8                    THE COURT:    That's the only question.

     9                    MR. CHAMBERS:    All right.    If you are going to

    10     say original, it wasn't part of the original patent

    11     prosecution.

    12                    This is the point I would make to try to get to

    13     the heart of this.      If they opened the door and they suggest

    14     that the Patent Office never looked at these references,

    15     that is hugely misleading to the jury, and we ought to be

    16     able to impeach them.

    17                    THE COURT:    Well, wait.    It's only relevant if

    18     they, if it was looked at during the prosecution of the

    19     patent.

    20                    MR. CHAMBERS:    And this is --

    21                    THE COURT:    And let me just ask.

    22                    MR. CHAMBERS:    I will let you finish.

    23                    THE COURT:    Do you agree with that?

    24                    MR. CHAMBERS:    I really don't, Your Honor.

    25                    THE COURT:    Okay.   Do you agree with that,
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 77 of 213 PageID #: 11612
                                                                           77


     1     Mr. Foster?

     2                   MR. FOSTER:    Your Honor, it is limited to when

     3     the examiner --

     4                   THE COURT:    Why would it be relevant after the

     5     fact?

     6                   MR. CHAMBERS:     Okay.    You know, we do have a

     7     re-examination proceeding involving one of the

     8     patents-in-suit, and defendants agree that that is part

     9     of the prosecution history, the re-examination proceeding --

    10                   THE COURT:    All right.     Stop for a second.     Do

    11     you agree with that?

    12                   MR. FOSTER:    Your Honor, we moved for a motion

    13     in limine on a re-examination because it's different than an

    14     IPR.    It's actually agreed by the examiner.

    15                   THE COURT:    Which is part of the prosecution.

    16                   MR. FOSTER:    Yes, Your Honor.

    17                   THE COURT:    I mean, that seems very reasonable.

    18                   MR. CHAMBERS:     I guess the part I'm struggling

    19     with, Your Honor, is that you have the very best judges in

    20     the Patent Office writing very good opinions and you're

    21     saying those are worth nothing.         Those are completely

    22     worthless, and then you have an entry level examiner doing

    23     the initial evaluation of the application.          Oh, that counts

    24     for a lot.

    25                   So the entry level examiner, you know, counts
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 78 of 213 PageID #: 11613
                                                                           78


     1     for a lot before the jury, and what the top, top cream of

     2     the crop at the Patent Office, the top judges, they count

     3     for nothing.     They're worthless.     That just doesn't make

     4     sense to me.

     5                    THE COURT:    Well, what you are saying makes no

     6     sense to me, I have to say, so I am going to grant the

     7     motion in limine insofar as that there will be no reference

     8     to the IPR or what was presented to the PTO, I should

     9     say, except insofar as what occurred during prosecution of

    10     the patent.

    11                    Does that satisfy the defense?

    12                    MR. FOSTER:   Your Honor, no reference that

    13     whatever prior art we have, if it wasn't before the office

    14     during prosecution.      If it was before the office during

    15     prosecution, of course, it falls under the...

    16                    THE COURT:    So let me just make sure.      You

    17     want -- okay.     Here's what I'm going to do.       I've heard

    18     argument.    I've heard nothing from the plaintiff as to why

    19     it would be relevant or probative for the jury to hear

    20     anything about the decision in connection with the inter

    21     partes review of the '150, '658 and '662 patents or why the

    22     final written decision of the PTAB or the Federal Circuit

    23     opinion for the '662 patent would be relevant under the

    24     rules or probative of anything that is relevant for the

    25     jury.   The only thing I understand plaintiff is making is
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 79 of 213 PageID #: 11614
                                                                           79


     1     that the specialized knowledge and expertise of the PTAB

     2     folks and those that sit on the Federal Circuit somehow

     3     would be, ought to influence the jury, and it seems to me

     4     that the Rules of Evidence call for exactly the opposite to

     5     occur, that they should not be so influenced that it would

     6     be misleading.     It would be very unfair and prejudicial to

     7     the defense, and so therefore I don't think it should come

     8     into evidence.

     9                   So I'm going to grant the defendants' motion to

    10     preclude from offering any testimony, evidence, argument or

    11     reference related to any inter partes reviews of the

    12     asserted patents.     There is one caveat.      That to the extent

    13     that there are -- that the plaintiffs wish to cross-examine

    14     somebody who testified or offered a declaration before the

    15     PTAB, the plaintiffs will be permitted to use that

    16     declaration to impeach the prior inconsistent statement

    17     statements.    However, there should be absolutely no

    18     reference made to the IPR, to the PTAB or to the agency, or

    19     the nature of the proceeding, and instead any reference to

    20     the prior declaration should make clear that it was in the

    21     context of "another matter."       All right?

    22                   MR. CHAMBERS:     Your Honor, I would also ask that

    23     you consider if they open the door and they tell the jury

    24     that the Patent Office did not look at this reference and

    25     then try to persuade the jury that it's easier to carry the
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 80 of 213 PageID #: 11615
                                                                           80


     1     burden of proof because the Patent Office did not look at

     2     it, I would ask Your Honor to keep an open mind at that

     3     point about whether that opens the door, because that's a

     4     false or misleading statement in my opinion.

     5                    THE COURT:    I guess we'll have to visit that if

     6     it comes up at trial.       I mean --

     7                    MR. CHAMBERS:    That's what I'm asking.

     8                    THE COURT:    On the other hand, if the defense

     9     points out that a piece of prior art was not put before

    10     the Patent Examiner, that I think would be relevant

    11     potentially.

    12                    MR. CHAMBERS:    Your Honor, I think we should

    13     visit this at trial, but I would consider it highly

    14     misleading because the Patent Office did look at these

    15     references.

    16                    THE COURT:    Mr. Foster, do you have anything on

    17     that?

    18                    MR. FOSTER:    Your Honor, just point to the

    19     footnote in Global Tech.       They distinguish between before

    20     the office and non-instituted PTAB decisions.          That's not

    21     really an issue.

    22                    THE COURT:    That's a demarcation I'm going to be

    23     drawing.    So it would be, I have no problem with the defense

    24     putting before a jury what was given during the prosecution

    25     of the patent.     That's a separate, very distinct thing.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 81 of 213 PageID #: 11616
                                                                           81


     1                   MR. CHAMBERS:     But I think it's appropriate to

     2     draw the line of not representing to the jury that the

     3     Patent Office has never seen these things before, because

     4     that's not true.      They have seen the things before.

     5                   THE COURT:    All I have to add then is the words

     6     during the prosecution.      Right?

     7                   MR. CHAMBERS:     Well, in my opinion, that's

     8     misleading.

     9                   THE COURT:    All right.    Well, I'm going to allow

    10     it.   So Mr. Foster, if you could just make it a point, just

    11     add the word during prosecution, I think we'll have no

    12     problem.

    13                   MR. FOSTER:    Yes, Your Honor.

    14                   THE COURT:    Thanks.    All right.

    15                   Next.    Motion in limine number two, plaintiff

    16     should be precluded from providing any testimony, arguments

    17     regarding defendants' alleged infringement under the

    18     doctrine of equivalents.

    19                   MR. RAHMEIER:     Yes, Your Honor.     Thatcher

    20     Rahmeier for defendants.       I will be discussing this one.

    21     And this is the first one that gets into our slides, so I'd

    22     like to hand up some slides.       And how many copies do you

    23     require?

    24                   THE COURT:    Two would be great to have.

    25                   MR. RAHMEIER:     Two?   There are a couple loose
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 82 of 213 PageID #: 11617
                                                                           82


     1     slides in the front where they're corrected.          There was

     2     something that couldn't be seen after we bound them.

     3                    THE COURT:   All right.    Thank you.

     4                    MR. CHAMBERS:    Do you have a copy for us?

     5                    MR. RAHMEIER:    Yes.

     6                    So the way we're doing the presentation today,

     7     Your Honor, we act actually had a DOE discussion planned for

     8     when we're talking about noninfringement of the '658 patent,

     9     so with your permission, I will handle kind of the

    10     background of the other three patents and Mr. DiGiovanni

    11     will address the '658.

    12                    THE COURT:   Sure.

    13                    MR. RAHMEIER:    Okay.   So this is, as you know,

    14     Exhibit 17 in the pretrial order, and there are two parts to

    15     this motion in limine from the defendants.          One, that

    16     there's an inadequate expert analysis and disclosure by the

    17     plaintiffs' expert for infringement, Dr. Maynes, and, two,

    18     that the doctrine of equivalents, a patent doctrine, is

    19     actually legally unavailable for specific limitations of the

    20     four patents-in-suit based on what happened during

    21     prosecution.     Namely, what's called prosecution history

    22     estoppel.

    23                    So the first part is about Dr. Maynes, and that

    24     his burden report for infringement included only conclusory

    25     opinions at the end of each section on each patent for
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 83 of 213 PageID #: 11618
                                                                           83


     1     infringement, which cannot sustain their burden to prove

     2     infringement of specific limitations under the doctrine of

     3     equivalents.     So we cited a case that clearly supports this

     4     from Delaware.     I think it is enlightening enough, which is

     5     the MKS Instruments case.

     6                    So if you look at his report that we attached,

     7     it's clear that Dr. Maynes, he doesn't analyze and apply the

     8     doctrine of equivalents on an element-by-element basis and

     9     merely concludes at the end that it's met.          And that's

    10     insufficient for him to come to trial and then present

    11     testimony supporting application of the doctrine of

    12     equivalents before the jury.       Therefore, we ask that he be

    13     precluded from providing any testimony regarding

    14     infringement under that doctrine.

    15                    Just a couple points.     Plaintiffs try to fault I

    16     think defendants in their briefing and the fact is that

    17     plaintiffs knew all along that it was their burden to prove

    18     infringement.     They pled infringement using the doctrine of

    19     equivalents, so they had to include the analysis in their

    20     expert report if they wanted their expert to support it, and

    21     they failed here.

    22                    The second part of the motion, Your Honor, is

    23     that for certain limitations of the asserted claims of the

    24     asserted patent, as a matter of law for your determination,

    25     Your Honor, the doctrine of equivalents is just not
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 84 of 213 PageID #: 11619
                                                                           84


     1     available to be invoked or to prove infringement beyond the

     2     literal scope of those limitations at issue, which I will

     3     discuss.

     4                   So here on slide 99, it's the seminal Supreme

     5     Court case Festo from around 2002, and in a nutshell, the

     6     Court laid out a framework that the Courts are to apply

     7     regarding prosecution history estoppel, and basically, once

     8     a patentee amends his claims for purposes of patentability,

     9     then they presumptively have surrendered all scope beyond

    10     the literal language of the claim.        It's a rebuttable

    11     presumption, Your Honor, but after the, after it has been

    12     shown that they've made amendments and it can actually be

    13     argued, but in this case it's actually written amendments to

    14     the claim language, giving up scope, narrowing an amendment

    15     for the purposes of patentability, then it is presumed that

    16     they have surrendered all scope beyond the literal language

    17     of the claims, and therefore the doctrine of equivalents

    18     cannot be met.

    19                   And that's a determination, as I said, for Your

    20     Honor, and I think it's important that when we're addressing

    21     this now, because it will affect the trial presentation, it

    22     will affect the verdict form, it will affect the jury

    23     instructions, and, in fact, the presentation to the jury of

    24     what must be shown to prove infringement in this case.            So

    25     it's very important it's done pretrial.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 85 of 213 PageID #: 11620
                                                                           85


     1                   So I will just go through the three patents that

     2     I mentioned and Mr. DiGiovanni will address the last one.

     3     The first here is the '150 patent.        I said I'm going to walk

     4     through kind of specific amendments that occurred during

     5     prosecution that's relevant to our motion and show why

     6     estoppel presumptively applies and it has not been rebutted

     7     by the plaintiffs.

     8                   So, first, the '150 patent, and so the rinse

     9     chamber limitation.      This is a specific limitation in the

    10     asserted claims of the '150 patent, and as can be shown here

    11     on the left, the rinse chamber was added during prosecution,

    12     which narrows the claim, and it was argued on the right that

    13     it was claim 10 as amended was therefore patentable over

    14     Nielson in view of Levine.

    15                   So it was amended, narrowed, and argued that it

    16     is now patentable based on that amendment.          That is what

    17     gives rise to prosecution history estoppel.          So therefore,

    18     there's a presumption that the scope of all equivalence

    19     has been surrendered beyond the literal language of the

    20     claim.

    21                   THE COURT:    All right.    Let's just stop for a

    22     second.

    23                   Who is going to argue this?       Mr. Chambers, are

    24     you going to argue doctrine of equivalents with respect to

    25     rinse chamber?
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 86 of 213 PageID #: 11621
                                                                           86


     1                    MR. CHAMBERS:    Your Honor, I don't think we need

     2     to.   As --

     3                    THE COURT:   I just want to know if you are.

     4                    MR. CHAMBERS:    Well, we're reserving the right

     5     to.   Yes, Your Honor.

     6                    THE COURT:   All right.

     7                    MR. CHAMBERS:    Do you want to hear anything else

     8     from me?

     9                    THE COURT:   No.

    10                    MR. RAHMEIER:    And just to clarify why this

    11     matters, it's because we do have a disputed instruction in

    12     the jury, I'm sorry, in the final instructions that would

    13     instruct the jury when they cannot apply the doctrine of

    14     equivalents.     So it would apply to certain limitations.

    15                    THE COURT:   All right.

    16                    MR. RAHMEIER:    In this case.

    17                    THE COURT:   And your point is that they narrowed

    18     the scope of the patent to avoid -- so that this limitation

    19     could go forward?

    20                    MR. RAHMEIER:    Yes.   Narrowed the scope of the

    21     highlighted language on the left.

    22                    THE COURT:   Mr. Chambers, sorry.      Do you agree

    23     that -- well, why aren't you estopped from arguing doctrine

    24     of equivalents with respect to rinse chamber?

    25                    MR. CHAMBERS:    So counsel has omitted one part
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 87 of 213 PageID #: 11622
                                                                           87


     1     of the analysis, which is first you look and determine

     2     whether there has been a claim amendment.         We concede there

     3     has been a claim amendment here, Your Honor.

     4                   Then you look at the purpose of the claim

     5     amendment.    Well, in this case, the purpose of the claim

     6     amendment is you had open prior art, Levine in particular,

     7     that didn't have any sort of enclosure whatsoever.           It

     8     was just open.     It was unsuitable for rinsing.       The rinse

     9     water would just be spraying all over the place, so the

    10     amendment was to say we have an enclosure.          All right.    So

    11     that's the second part of the analysis, why was the

    12     amendment made.

    13                   The third part of the analysis is you look at

    14     the accused product and are you trying to recapture the same

    15     thing with the accused product that you gave up, which is

    16     not permitted.

    17                   So the accused product, and this is the summary

    18     judgment and why it was mentioned earlier, the summary

    19     judgment might go first.       All right.    But the accused

    20     product has an enclosure.       It looks -- it has exactly the

    21     enclosure that is specified in the claim.         That's why we

    22     believe there is literal infringement, but there is an

    23     enclosure, and so what the claim amendment has and what it

    24     was distinguishing has nothing to do with the issue with the

    25     accused product because the accused product has an enclosure
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 88 of 213 PageID #: 11623
                                                                           88


     1     also.

     2                   The issue with the accused product, which we'll

     3     get to on summary judgment, is they are saying that, okay.

     4     We're going to add an extra piece in here which is a

     5     partition inside and so we avoid infringement because we

     6     have a partition inside, and so that's a completely

     7     different issue than this amendment was submitted to

     8     address.    And as we'll get to on summary judgment, the law

     9     says that adding an extra element doesn't avoid

    10     infringement.

    11                   So it's the third part of the analysis is what

    12     is a distinction over the accused device which is missing

    13     here, and on that basis, there would be equivalents.

    14                   THE COURT:    Okay.   All right.

    15                   MR. RAHMEIER:     Your Honor, if I could.

    16                   THE COURT:    You're welcome to rebut that.

    17                   MR. RAHMEIER:     Yes.

    18                   THE COURT:    We're going to come back to summary

    19     judgment.

    20                   MR. RAHMEIER:     That's not how this doctrine

    21     works at all.     In fact, you don't look at the accused

    22     product.    You look at the claim language and you look at

    23     what happened during prosecution.

    24                   It would make no sense to look ten years later

    25     at the accused product.      He's talking about an infringement
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 89 of 213 PageID #: 11624
                                                                           89


     1     analysis.    I'm talking about the legal determination that

     2     infringements are not available for this limitation that was

     3     added for the purposes of patentability.         They have not

     4     rebutted that.     And, Your Honor, I was looking at this just

     5     the other day.     In fact, there's a good quote from a

     6     Delaware case I can cite.

     7                   THE COURT:    Yes, please do.

     8                   MR. RAHMEIER:     There is no principle of patent

     9     law that the scope of a surrender of subject matter during

    10     prosecution is limited to what is absolutely necessary to

    11     avoid a prior art reference that was the basis for the

    12     examiner's rejection, which is what we just tried to assert

    13     today, that they narrowed it for a certain reason about

    14     Levine or Nielson or whatever it was.

    15                   First of all, there's no evidence of that.

    16     There's only what we see here, and the public is entitled to

    17     rely on the public record here.        And that case cite, Your

    18     Honor --

    19                   THE COURT:    Yes, please.

    20                   MR. RAHMEIER:     Innovative Patents LLC versus

    21     Brain-Pad, Inc., 719 F. Supp 2d., 379 at pages 34 to 86, and

    22     that's the District of Delaware from 2010.

    23                   THE COURT:    Who was the judge?

    24                   MR. RAHMEIER:     Judge Thynge issued that opinion.

    25                   THE COURT:    All right.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 90 of 213 PageID #: 11625
                                                                           90


     1                   MR. RAHMEIER:     So I think that addresses what is

     2     a misstatement of the law here.

     3                   So, again, there is a rebuttable presumption.

     4     It is a very hard presumption to rebut and they have not

     5     even come close.

     6                   THE COURT:    Okay.

     7                   MR. RAHMEIER:     Okay.   I m going to continue on

     8     here.

     9                   MR. CHAMBERS:     Your Honor, do you want me to

    10     respond to that point?

    11                   THE COURT:    No.

    12                   MR. RAHMEIER:     The '662 patent, Your Honor.

    13     Here, reporting on the left is one of the relevant, but the

    14     main one, limitation that's added during prosecution.           In

    15     fact, this was actually added to a parent of the '662, which

    16     is the '150 patent.

    17                   So the '150 had a continuation patent that

    18     flowed from it, which became the '662.         And the limitation

    19     on the left, you're seeing the limit of adding the temporal

    20     limitation while was added during prosecution, and then it

    21     was argued that that led to the patentability and therefore

    22     it should issue.

    23                   So this is -- again, it triggers the presumption

    24     that all of the claim scope past the literal language of the

    25     claim everybody surrendered and the doctrine of equivalents
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 91 of 213 PageID #: 11626
                                                                           91


     1     for an infringement analysis is simply not available as a

     2     legal matter for the while limitation.         Again, if you look

     3     to the right, it says they argued around the Nielson and

     4     Levine reference, again, that we heard about.          So this is an

     5     unmistakable surrender that disclaims the equivalents as a

     6     matter of law.

     7                    Again, plaintiffs have failed to rebut the

     8     presumption.     They do argue that it was -- that the claims

     9     at issue were originally presented.        I think what they mean

    10     there is it was originally presented in a continuation.            The

    11     law is clear that you look at the claims issuing from your

    12     continuation to the original claims in the originally filed

    13     patent and they're clearly narrowed.         They clearly have the

    14     while language.

    15                    THE COURT:   All right.

    16                    MR. RAHMEIER:    It's kind of misleading to talk

    17     about the originally filed limitation because you have to

    18     look at the '105 parent.

    19                    THE COURT:   Got you.    Mr. Chambers?

    20                    MR. CHAMBERS:    Your Honor, I think this is a

    21     particularly egregious example of why this motion lacks

    22     merit, particularly in the context of a motion in limine.

    23     This is a claim of another patent, and it's not even the

    24     same wording as the claim of the '662.

    25                    If you look on the left, it says, while
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 92 of 213 PageID #: 11627
                                                                           92


     1     shielding the access location from the rinsing fluid.           The

     2     claim language is about shielding the vessel from the

     3     rinsing fluid.     This is a completely different patent,

     4     completely different claim limitation.         It just has nothing

     5     to do with the '662 patent, and as a matter of fact, the

     6     claim of the '662 patent that is being asserted was

     7     originally claim 51, and from my review of the '662

     8     prosecution history, that was never amended.

     9                   So we don't even get past the first step here

    10     because there's no amendment.       This has to do with another

    11     patent and a different limitation.

    12                   THE COURT:    All right.    Mr. Rahmeier, let me ask

    13     you this.    I've consulted with the other judges about this

    14     issue of generally, you know, what to do when motions in

    15     limine come up.     It came up in my last patent case.        One

    16     piece of advice I got, it's really just premature.           You

    17     have to see how this unfolds at trial.         What do you say to

    18     that?

    19                   MR. RAHMEIER:     Yes.   I think we wouldn't agree

    20     with that, and the reason is, like claim construction, this

    21     requires a legal analysis of the intrinsic record in detail,

    22     really, which is why I hope this presentation kind of helps

    23     our motion in limine a little bit, to show, show you where,

    24     maybe you didn't get tabs, where this amendment occurred and

    25     what was said to the Patent Office, and these are minutia
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 93 of 213 PageID #: 11628
                                                                           93


     1     that is more akin to claim construction, which does not go

     2     to the jury.

     3                    The jury doesn't need to dig into the record

     4     here and hear arguments about, first of all, it's a pretty

     5     complex legal doctrine.      It's a legal determination, so I

     6     think it streamlines the case for trial if Your Honor would

     7     look at this and apply the Festo framework.          And I think the

     8     Supreme Court purposely made it in a way a simple-to-apply

     9     doctrine where if there's a narrowing amendment during

    10     prosecution for purposes of patentability, and that's very

    11     broad, it could be for 112 purposes, it could be for

    12     narrowing of the claim.      It could even be by argument is my

    13     understanding.     But once that triggers, it's all scope past

    14     literal is surrendered unless it can be rebutted by the

    15     patentee, and it's a very hard thing to rebut.

    16                    There's barely any cases that I know of where it

    17     is successfully rebutted, and I don't think we have any

    18     rebuttal here in the briefing.        It's really just a rehash of

    19     their infringement contentions or even a discussion like you

    20     heard a second ago about the accused products.          But I mean

    21     as a matter of common sense, prosecution history estoppel

    22     can't be about what is going to be accused of infringement

    23     ten years down the rode.       You have to look at the record and

    24     public notice that the prosecution history provides to

    25     apply, and I think it's very valuable to apply it before
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 94 of 213 PageID #: 11629
                                                                           94


     1     trial.    It will frame the questions for the jury.         It will

     2     frame the jury instructions, and it's just not appropriate

     3     for the jury to make the determination anyway.

     4                   THE COURT:    All right.    Keep going.

     5                   MR. RAHMEIER:     Okay.   There's kind of another

     6     flavor of this.     It's called the rule against claim

     7     vitiation.    There's case law that we cited.        In fact, the

     8     Supreme Court discusses it in the Warner-Jenkins decision

     9     there, which you want to be capable about.          If you ever do

    10     apply the doctrine of equivalents, you don't want to

    11     basically allow equivalence that would basically swallow the

    12     literal language of the claim or make it -- vitiate it.            So

    13     our position is while can have, for instance, an equivalent

    14     language because that means solely after, while has to mean

    15     at the same time.     I think we'll get into this more in our

    16     noninfringement.     We'll take it a little bit out of order.

    17     I will keep moving.      It's cited in our papers, as I'm sure

    18     Your Honor saw.

    19                   And, finally, the patent I will be addressing

    20     the last is the '377 patent.       Again, there are three

    21     limitations at issue that we have argued and shown that the

    22     presumption applies that there can be no doctrine of

    23     equivalents, infringement under the doctrine.          And aeration

    24     means a rotatable blade assembly.

    25                   So the first one.     As you'll see here, aeration
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 95 of 213 PageID #: 11630
                                                                           95


     1     means, at the bottom, aeration means language was there.

     2     Two words were there.      But there's an amendment that's

     3     narrowing and clarifying exactly what is meant by aeration

     4     means.    So it's limiting what could meet this limitation of

     5     aeration means.

     6                   So while the words, again, the two words

     7     aeration means may have already been there and

     8     means-plus-function, as Your Honor knows, is kind of a

     9     special way to claim things in patent law, so what is being

    10     clarified here and narrowed is the function, is the means

    11     function.

    12                   So that is a narrowing amendment.        In fact,

    13     Festo, the Supreme Court case, was a 112 case, so Festo does

    14     apply to 112 limitations.       And, again, on the right-hand

    15     side is the argument that shows that it was made for

    16     purposes of patentability.

    17                   The same for the next one.       Rotatable blade is

    18     there, and then there's extensive limitation and detail and

    19     narrowing made to the claims during prosecution, the

    20     underlying portion clarifying what's meant.          And so, in

    21     fact, this one -- I mean, the narrowing is quite extensive.

    22     The rotatable blade now includes shaving element, aeration

    23     element and all the stuff that's underlined.          And, again, on

    24     the right-hand side, they argue, this is all related to

    25     getting the claims allowed.       So the presumption applies.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 96 of 213 PageID #: 11631
                                                                           96


     1                    And, finally, similar.     This limitation is

     2     almost exactly the same as the one we just discussed, but it

     3     was added in a new claim.       But there is case law and we

     4     cited it, I believe we cited it, but I have the cite, if

     5     not, that new claims with basically the same limitation

     6     would also be subject to estoppel.        You can't avoid estoppel

     7     by canceling a claim and then just adding a new one during

     8     prosecution.     That wouldn't avoid estoppel.

     9                    THE COURT:   Okay.

    10                    MR. RAHMEIER:    Okay.   And if there's no

    11     questions, Mr. DiGiovanni.

    12                    THE COURT:   All right.    Thank you.

    13                    MR. DiGIOVANNI:    Your Honor, we split this up

    14     because it was part of the --

    15                    THE COURT:   Summary judgment.      I realize that.

    16     I may have erred in doing it this way.         Very hard to figure

    17     out how to plow through this.       Do what you can, I mean.       I

    18     will allow you to come back to it if we have enough time.

    19                    MR. DiGIOVANNI:    Okay.   I appreciate that, Your

    20     Honor.    So Mr. Rahmeier actually said it set forth the law.

    21     I'm not going to repeat anything regarding the law.

    22                    So for the '658 patent, we have two limitations

    23     that I'm going to talk about that have the preclusion of

    24     doctrine of equivalents, and the first one is unrestrained.

    25     The second one would be sufficient mass limitation.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 97 of 213 PageID #: 11632
                                                                           97


     1                   So for unrestrained, we actually have three

     2     separate doctrines that preclude the doctrine of

     3     equivalents, prosecution history estoppel, claim vitiation,

     4     both of which you've heard about, and there's also

     5     the disclosure-dedication rule, and they're addressed in

     6     both our summary judgment motion and the MIL or perhaps

     7     just one of the doctrines maybe is discussed just in one of

     8     them.

     9                   But let me talk about for unrestrained, starting

    10     with the prosecution history estoppel, skipping over the

    11     law.    This one is straightforward.      It's a classic or

    12     quintessential type of doctrine of equivalents argument

    13     similar to the first one that Mr. Rahmeier addressed.

    14                   So the unrestrained limitation was just

    15     expressly added.     It didn't exist in the claim and it was

    16     added during prosecution, and you can see it here in both of

    17     the asserted claims.      These are during prosecution you have

    18     different claim numbers.

    19                   So 18 ends up becoming claim 1, and 26, Your

    20     Honor, ends up becoming claim 6.        Those are the two

    21     independent claims that are asserted.         So we have them side

    22     by side here.     And you can see, in the prosecution, the

    23     unrestrained was added, underlined, the entire phrase and

    24     being unrestrained against sliding movement on the shaft in

    25     a direction away from the opening.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 98 of 213 PageID #: 11633
                                                                           98


     1                   THE COURT:    And do you agree that I should not

     2     be taking into consideration anything about the accused

     3     products, that this is purely, I can look at the prosecution

     4     history and make this call?

     5                   MR. DiGIOVANNI:     Yes, Your Honor.     As

     6     Mr. Rahmeier said, that's very similar to the claim

     7     construction in that regard.        Claim construction -- think

     8     about what claim construction does.        You're binding the

     9     patent owner to things that they said to the Patent Office,

    10     exactly what we are doing here.

    11                   THE COURT:    Okay.

    12                   MR. DiGIOVANNI:     You're binding them to what

    13     they did in terms of their amendments, their changes that

    14     they did to get the patent admitted.         And also off topic a

    15     bit, you had asked should it be decided, and I understand

    16     you conferred with the judges.        We think absolutely, because

    17     we think from day one we would otherwise be hearing about

    18     doctrine of equivalents, and we think that would be to try

    19     to then determine later that it should be precluded.

    20                   THE COURT:    Well, part of it is in the context

    21     of it was a biological product.        Well, sometimes very

    22     difficult to get an appreciation up front as to what the

    23     difference is.

    24                   MR. DiGIOVANNI:     I understand that.

    25                   THE COURT:    I didn't mean to suggest that my
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 99 of 213 PageID #: 11634
                                                                           99


     1     colleagues think we should never, ever --

     2                    MR. DiGIOVANNI:    No.   I didn't mean to suggest

     3     that either.     And I guess I would say here, these are

     4     mechanical, relatively simple, I think it's understandable.

     5     So anyway, again, sort of quintessential prosecution history

     6     estoppel.

     7                    And the bottom right you can see where they

     8     actually explain why they did it, and it's this Harr

     9     reference that was cited.       Claim 18 through 21 and 21

    10     through 26 have been rejected as anticipated by Harr.           They

    11     say the Harr cover is not unrestrained against movement.

    12     They so explain very expressly why they added the

    13     unrestrained, and under Festo, it's prosecution history

    14     estoppel.

    15                    Moving onto the second doctrine that prevents

    16     DOE for unrestrained, and that would be this rule against

    17     claim vitiation.     I don't even talk about the law, although

    18     the second case is interesting because sort of the classic

    19     claim vitiation is when you have the opposite.

    20                    So Mirror Worlds versus Apple, the Federal

    21     Circuit said, reading the limitation out of the claim

    22     improperly vitiates claim language by allowing the exact

    23     opposite of what is required.       Well, that's what you have

    24     here.   You actually have any kind of doctrine of equivalents

    25     that you're going to have for unrestrained, it's actually
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 100 of 213 PageID #: 11635
                                                                           100


      1     going to make it restrained.       So you can't do that.      The

      2     doctrine of claim differentiation, that's the most express

      3     strain of that, and it tells us you can't do that.

      4                    And the third doctrine is the

      5     disclosure-dedication rule.       I know we cited three different

      6     doctrines not because we're grabbing for straws.          They were

      7     just our three doctrines that apply expressly, and in this

      8     one, what the cases say, and the Johnson and Johnston case

      9     from the Federal Circuit, an en banc case that gets cited

     10     quite a bit.

     11                    They are talking about the patent specification.

     12     Here it is a little different.        We're talking about the

     13     provisional application.      Okay.   So I will tell you that's a

     14     little different than what you typically see in the

     15     disclosure-dedication doctrine, but it's the same concept.

     16     If you disclose something yet you don't claim it, then it's

     17     dedicated.    That's what the cases say and all the cases

     18     following it say that.

     19                    And in this case, here's the disclosure in the

     20     provisional application.      They say -- the provisional

     21     application is very short and we attach it.         This isn't the

     22     entirety of it.     This states when they are talking about how

     23     to hold down that lid on top of the cup when you are making

     24     the milkshake or when you are blending whatever beverages,

     25     they talk about it can be held on by a spring and to secure
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 101 of 213 PageID #: 11636
                                                                           101


      1     the cup in contact with it with the holder holding the cup.

      2     They say another approach to this is to use a heavy weight

      3     to hold the shield and cup in place.

      4                   So the inventor contemplated and disclosed to

      5     the world this other potential way to hold down the shield

      6     on top of the cup as a lid so you don't get the spillage.

      7     He says, let's use a heavy weight to hold it down.

      8                   Well, now, fast-forward to the claim.        They

      9     never claim that.     They claim a lid.     They don't claim a lid

     10     assembly connected to a weight or anything like that.           So

     11     they've disclosed it, and by not claiming it, they've

     12     dedicated it to the public.

     13                   And I did want to point out that this was a

     14     provisional because I couldn't find the case.          I can't say I

     15     looked.   I did look pretty hard, Your Honor, but I don't

     16     know that I looked comprehensively.

     17                   THE COURT:    An exercise of diligence of the

     18     person of skill as an attorney.

     19                   MR. DiGIOVANNI:     I looked for a case where we

     20     had a provisional application and then the doctrine was

     21     supplied.    I didn't see it, but I don't see a difference in

     22     it, especially in view of the fact that the provisional

     23     application is something that the plaintiff, patentee is

     24     relying on for two things.      The earlier date, okay.       So they

     25     want the date from it, and they are allowed to do that, and
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 102 of 213 PageID #: 11637
                                                                           102


      1     it's referenced in the patent's provisional.         And they also

      2     need some of the disclosure in there to try to get that

      3     earlier date.

      4                   So they are relying on the date and they're

      5     relying on what's in there.        I saw no reason why the

      6     disclosure-dedication doctrine would not apply to a

      7     provisional application.

      8                   THE COURT:    Well, if I were in a Markman, that

      9     application would count as intrinsic evidence.          Right?

     10                   MR. DiGIOVANNI:      It would, Your Honor.

     11                   THE COURT:    Yes.

     12                   MR. DiGIOVANNI:      Yes.   So that's the

     13     unrestrained, I believe that's the last slide I have on

     14     unrestrained.

     15                   Now we go to sufficient mass.       A little bit more

     16     complicated, but I will go through this.

     17                   So, again, we're looking at claim 1 and claim 6,

     18     and this is just the claims as issued just to show you the

     19     context because we have not talked about those.

     20                   So the sufficient mass as issued.        Those

     21     limitations in claim 1 and claim 6 say that the mass of the

     22     splash shield, and that has been defined as the lid, just

     23     the lid, that's also relevant to what I was talking about

     24     before when you add a weight and a lid, that's different.

     25                   So the splash shield is just the lid, the lid
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 103 of 213 PageID #: 11638
                                                                           103


      1     for the cup opening.     So the limitations end up being the

      2     splash shield has sufficient mass -- let me read it from the

      3     right.   It's as simple as it gets.       The mass of the splash

      4     shield prevents separation of the holder and the vessel

      5     during translation.

      6                   So what that means is, Your Honor, the holder is

      7     the cup holder in this milkshake machine.         The vessel is the

      8     cup.   The user takes the cup, puts it in the holder.          Okay.

      9     And then the blade comes down.        The spindle, and the blade

     10     comes down with the lid.      Okay.   Now, the lid is on it.      The

     11     mass of the lid has to prevent separation of the holder and

     12     the vessel.    It keeps the cup in place.       Okay.   That's what

     13     the -- the mass has to be sufficient to keep that cup in

     14     place in the holder.     Okay.    That's the claim as issued.

     15     That's just a little background because we hadn't gotten to

     16     that yet.

     17                   So now let me get to the claim, which is the

     18     limitation on DOE.     So start with prosecution history

     19     estoppel.    I need to flip ahead.

     20                   Okay.   So prosecution history estoppel.        Not as

     21     straightforward as the other one because you don't just have

     22     that limitation being added in here.        Okay.   What you have

     23     is, you have the limitation being -- you have language being

     24     amended that's important to that limitation to the point

     25     where that limitation ought to be bound by -- they should
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 104 of 213 PageID #: 11639
                                                                           104


      1     not have a doctrine of equivalents.

      2                    So in this one -- let me just catch up here with

      3     my notes.

      4                    So in this one, in the last -- this is claim 18,

      5     dependent claim 1.     Toward the bottom, the splash -- I'm

      6     sorry.   It says, the splash shield having sufficient mass to

      7     retain the vessel within the holder during the relative

      8     axial movement of the mixing element and vessel from the

      9     first position to the second position.

     10                    So what's happening here is, there was some

     11     prior art cited that apparently had some kind of other type

     12     of movement other than axial movement, so they narrowed the

     13     claim to require that the mass prevent axial movement,

     14     meaning exactly what it ends up being in the as issued

     15     claim, axial movement meaning the up and down with the cup

     16     in the holder.    Prior to that, it was broader than that.           It

     17     allowed any kind -- it precluded any kind of movement, and

     18     now they've limited it to axial movement.

     19                    So that's the type of narrowing limitation that

     20     ought to be, they ought to be precluded from the doctrine of

     21     equivalents.

     22                    THE COURT:   Okay.

     23                    MR. DiGIOVANNI:    It's a bit more complicated

     24     than on --

     25                    THE COURT:   Axial is up and down movement?       I
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 105 of 213 PageID #: 11640
                                                                           105


      1     would have thought it was more like rotating.

      2                   MR. DiGIOVANNI:     No.    They -- I think they

      3     explained it somewhere else, but it is along the axis.

      4     Because the claim is written I won't say from the

      5     perspective of the blade, but the axis.

      6                   THE COURT:    Along the axis?

      7                   MR. DiGIOVANNI:     Yes, yes.

      8                   Claim 6 -- okay.      Yes.   So prosecution claim

      9     26, which ends up being claim 6.         Let me catch up on my

     10     notes.

     11                   So this one is a whole different situation, but

     12     the key here is that prior to this amendment -- so this is

     13     an amendment that happened during prosecution.           If you see

     14     prior to the amendment here --

     15                   THE COURT:    So just help me out.        Mr. Rahmeier,

     16     you had sufficient mass as well.         Right?   No?   Am I getting

     17     confused?

     18                   MR. RAHMEIER:    No.

     19                   THE COURT:    Okay.    I'm getting confused.     All

     20     right.    A long day.   All right.

     21                   MR. DiGIOVANNI:     Yes.     So what happens here is,

     22     there's an amendment -- actually, that's very significant,

     23     this amendment, because prior to this amendment -- and what

     24     they change is, they change the word splash shield to

     25     holder.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 106 of 213 PageID #: 11641
                                                                           106


      1                   So prior to this amendment, the way the claim

      2     read was, the mass of the splash shield prevented separation

      3     of the splash shield, that's the lid and the vessel.           But

      4     here now it's preventing -- which was very different than

      5     what it ends up being in the final claim, and what it ends

      6     up being here is, the mass prevents separation of the cup

      7     holder and the vessel.      So it's keeping the cup in the

      8     holder.   So it's a significant difference in terms of how

      9     sufficient that mass must be.       So it goes directly to the

     10     phrase sufficient mass in this prosecution history.

     11                   THE COURT:    How is this going to come up?       What

     12     do you anticipate?

     13                   MR. DiGIOVANNI:      Okay.

     14                   THE COURT:    Take this particular term.

     15                   MR. DiGIOVANNI:      Okay.

     16                   THE COURT:    How is it going to come up at trial

     17     if I deny the motion?

     18                   MR. DiGIOVANNI:      Can I get a prop, Your Honor --

     19                   THE COURT:    Yes.

     20                   MR. DiGIOVANNI:      -- that I think would be quite

     21     useful?   We have our lid.     Okay.   This is part of the

     22     machine, the accused machine.

     23                   THE COURT:    Okay.

     24                   MR. DiGIOVANNI:      Some of the accused machines.

     25     The other ones are different, but not in a material way for
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 107 of 213 PageID #: 11642
                                                                           107


      1     this point.

      2                   So literally, okay.      The lid -- remember, the

      3     shield has to be as defined as the lid.         Literally, the

      4     shield cannot be restrained.        I will address both of those

      5     points if you don't mind.

      6                   THE COURT:    Okay.

      7                   MR. DiGIOVANNI:     Literally, this cannot be

      8     restrained, the lid can't be restrained.         It has to by

      9     itself be sufficient to -- it can't be restrained at all,

     10     period.   It can't be restrained, and it has to be

     11     sufficient, the lid, to do what it says in the claim

     12     language.    That is, to keep that, keep that cup, the

     13     milkshake cup, into the holder.

     14                   THE COURT:    All right.

     15                   MR. DiGIOVANNI:     So two different limitations.

     16                   They are saying, oh, we have an equivalent.

     17     Okay.   This thing.    There's a doctrine of equivalents that

     18     allows us to use the assembly or a rod and this, and they

     19     are saying, that's an equivalent, and we're saying, no.           If

     20     you didn't have a process for estoppel or vitiation or a

     21     third doctrine, okay.      Maybe you could argue doctrine of

     22     equivalents, but you don't get it here because of what you

     23     did in the prosecution.

     24                   So that's where it comes up is, from the get-go

     25     they're going to be arguing that's an equivalent, and we say
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 108 of 213 PageID #: 11643
                                                                           108


      1     you don't get equivalent.      They still get to argue literal.

      2     Okay.   That's a different story.      We do have a motion for

      3     summary judgment on that, but they, under the law, because

      4     of what they did in the prosecution, and they had to do that

      5     to get around the prior art, or maybe if they didn't have to

      6     do it, they did it.     The law says, even if they didn't have

      7     to do it, they did it.

      8                   THE COURT:    All right.

      9                   MR. DiGIOVANNI:     So they don't get an

     10     equivalent.    All right.    That's process history estoppel for

     11     sufficient mass.

     12                   We also have -- Your Honor, I want to make sure

     13     of something.    We didn't argue vitiation on this.        I have it

     14     in the slide because sufficient and insufficient are

     15     different.    That wasn't in our brief I noticed.        I would say

     16     this.   In a way, it's a strand of these other doctrines, so

     17     I don't know that I had to --

     18                   THE COURT:    If it's not in your brief, let's

     19     move on then.

     20                   MR. DiGIOVANNI:     Okay.   We did argue dedication

     21     disclosure.

     22                   THE COURT:    Right.

     23                   MR. DiGIOVANNI:     The same statement here.

     24     Another approach where they say, another approach is to use

     25     a heavy weight to hold the shield.        We say, okay.    The same
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 109 of 213 PageID #: 11644
                                                                           109


      1     argument.    I don't need to make it again.

      2                    THE COURT:   All right.

      3                    MR. DiGIOVANNI:     I'm sorry.   This is now --

      4     that's my -- that concludes my argument as to why DOE

      5     doesn't apply.

      6                    THE COURT:   All right.

      7                    MR. DiGIOVANNI:     There was one additional point.

      8     One of the pieces of prosecution history was Exhibit T to my

      9     declaration.    My declaration stated the right Bates number,

     10     but the correct Bates number was not attached.          So may I

     11     approach, Your Honor?

     12                    THE COURT:   Yes.

     13                    MR. DiGIOVANNI:     We provided this at the outset

     14     of the day to plaintiffs' counsel (handing documents to the

     15     Court.)

     16                    THE COURT:   So your declaration was --

     17                    MR. DiGIOVANNI:     I have two declarations.     The

     18     one I'm talking about is the one in support of --

     19                    THE COURT:   So do I just replace this Exhibit T

     20     with what's in the pretrial order?

     21                    MR. RAHMEIER:   It's in the summary judgment.

     22                    THE COURT:   Summary judgment?

     23                    MR. RAHMEIER:   We can file a corrected copy.

     24                    THE COURT:   Well, I will leave it to you what

     25     you want to do.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 110 of 213 PageID #: 11645
                                                                           110


      1                   MR. DiGIOVANNI:     I think we'll file a corrected

      2     copy.

      3                   THE COURT:    Please file a corrected copy.

      4                   MR. DiGIOVANNI:     We will do that.

      5                   THE COURT:    Okay.

      6                   MR. DiGIOVANNI:     Yes.

      7                   THE COURT:    All right.

      8                   MR. DiGIOVANNI:     One additional point.

      9     Mr. Rahmeier made the argument about Dr. Maynes.          The DOE

     10     was not in their infringement contentions I'm told.           That

     11     was the first -- that was my argument.

     12                   THE COURT:    All right.    Mr. Chambers?

     13                   MR. CHAMBERS:    I've got a lot of ground to cover

     14     here.

     15                   THE COURT:    I'm sorry.    What?

     16                   MR. CHAMBERS:    I've got a lot of ground to cover

     17     here.

     18                   THE COURT:    No, and I know someone is going to

     19     come back again on the summary judgment issue, so I get

     20     that.

     21                   MR. CHAMBERS:    Well, let me start with

     22     disclosure-dedication.      That's not even mentioned in their

     23     in limine motion, so --

     24                   MR. RAHMEIER:    Yes, it is, Your Honor.

     25                   MR. CHAMBERS:    In your in limine motion?
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 111 of 213 PageID #: 11646
                                                                           111


      1                   MR. RAHMEIER:    Yes.

      2                   MR. CHAMBERS:    Where is that in your in limine?

      3                   THE COURT:    Well, you know what --

      4                   MR. RAHMEIER:    Page 2.

      5                   MR. CHAMBERS:    All right.

      6                   MR. RAHMEIER:    The en banc case is cited.

      7                   MR. CHAMBERS:    I will have to retract that.         I

      8     didn't see a heading for disclosure-dedication.

      9                   So let's talk about disclosure- dedication.

     10     While I mentioned it, they said -- they mentioned it right

     11     here on the slide, the heavy weight.        They said, oh, that

     12     was never claimed, and then they say, oh, sufficient mass.

     13     We're going to limit that.

     14                   Sufficient mass is the heavy weight.        It was

     15     claimed.   That's exactly -- so I don't understand what their

     16     point is on the disclosure-dedication doctrine.          But let me

     17     get to some basic principles so Your Honor can understand

     18     exactly what is at issue here.

     19                   In the prior technology, and this is the Harr

     20     they were talking about, they had a spring to kind of hold

     21     down the splash shield, and the problem with the spring is

     22     if you push it up as your cup is going up to mix, it gets

     23     greater tension and it creates a lot of binding, and then as

     24     you go down, it has lower tension.        So that created all

     25     sorts of headaches from an engineering perspective.           And
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 112 of 213 PageID #: 11647
                                                                           112


      1     they also had motors, which is the Nielson, to raise the

      2     splash shield up and down, and that created lots of

      3     headaches, too.

      4                    So the invention here in the '658 patent, which

      5     is actually very elegant, is to get rid of the springs, get

      6     rid of the motor, and have a heavy weight of a splash

      7     shield, which has sufficient mass, to hold the lid down on

      8     the cup as it's moving up and down, and you want to do that

      9     in an unrestrained or free-floating way.         So that's what the

     10     invention is, a weighted splash shield that moves up and

     11     down in a free-floating way.

     12                    So if they don't mind, I would like to borrow

     13     their prop.

     14                    So this is what they did.     They had a splash

     15     shield, and we talked earlier about their '823 patent, and,

     16     you know, I was mentioning that, you know, somebody needs to

     17     connect it up.    But there was no -- no weight shown in the

     18     '823 patent.

     19                    So it doesn't correspond with their commercial

     20     product, but they decided after being aware of f'real's

     21     invention in the '658 patent and the technology, that they

     22     were having problems of holding down the cup, and so they

     23     decided, okay.    We need to have a weighted splash shield,

     24     and so they put this heavy weight on the splash shield to

     25     hold down, which is exactly Mr. Farrell's invention, and
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 113 of 213 PageID #: 11648
                                                                           113


      1     they have this kind of moving up and down with not binding.

      2     They say in their technical instructions that this needs to

      3     move up and down freely and essentially they say it has to

      4     move up and down unrestrained.       So they have the two

      5     elements of the invention here, which is the weight and

      6     moving up and down in an unrestrained manner.

      7                    THE COURT:   Why do you need doctrine of

      8     equivalents?

      9                    MR. CHAMBERS:   I don't think we need to.

     10                    THE COURT:   So why are we arguing about this?

     11                    MR. CHAMBERS:   I will tell you why.

     12                    THE COURT:   Okay.

     13                    MR. CHAMBERS:   So they are saying that, yes, we

     14     added the weight, but we moved the weight up eight inches.

     15     So your patent only covers when you put the weight down on

     16     the lower cover, so we avoid your patent because we moved

     17     the weight up eight inches.       That's their noninfringement

     18     argument.

     19                    And then their noninfringement argument for

     20     unrestrained is, yes, this moves up and down, and we say in

     21     our technical specifications that it has to be freely

     22     moving, but they say we're hiring an MIT professor as our

     23     expert, and that there's a theoretical possibility that

     24     there could be an incidental de minimis amount of friction

     25     here, so because there theoretically could be from friction
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 114 of 213 PageID #: 11649
                                                                           114


      1     even though it's supposed to be unrestrained, that's our

      2     noninfringement defense.

      3                    So this is what we're dealing with on their

      4     infringement defenses, both of them petty and insubstantial

      5     in our view.

      6                    So let's get back to the prosecution history

      7     estoppel.    As we cite in our opposition, when you make the

      8     amendment, you must look at the scope of the estoppel must

      9     fit the nature of the narrowing amendment.         And we cite

     10     Intervet citing Festo.      There is no reason why a narrowing

     11     amendment should be deemed to relinquish equivalents beyond

     12     a fair interpretation of what was surrendered.

     13                    So what was being -- to the extent there was an

     14     amendment on sufficient mass, for instance, it was to get

     15     around the spring, which is hard, and pushing it up and down

     16     and all the compression.      That's what the amendment was all

     17     about.   It was not taking the invention, which is adding a

     18     heavy weight and raising it up 12 inches.

     19                    So you have to consider, you know, what is the

     20     issue for the doctrine of equivalents.        The issue is not

     21     putting on a spring which is Harr.        That is what was

     22     surrendered.    We're not disputing we surrendered the spring

     23     of Harr, but we're saying if you do the same invention of a

     24     heavy weight but decide to move it up a few inches, that's

     25     different, and that should be an equivalent.         Similarly,
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 115 of 213 PageID #: 11650
                                                                           115


      1     with unrestrained, that was again Harr, and you had the

      2     spring there, which was pushing it down and restraining

      3     it.

      4                   But here, you have it designed to be freely

      5     moving up and down.     That's what their technical

      6     specification says.     It freely moves up and down.       So that's

      7     not what was surrendered.      What was surrendered was the

      8     spring, and their argument is, well, there's a theoretical

      9     possibility of friction.      Completely different issue, so

     10     that's why it's equivalent.

     11                   And then with respect to aeration means, that's

     12     means-plus-function, so you do get equivalents under the

     13     statute.   That's statutorily required.       And then for their

     14     vitiation, what they quote is if it's exactly the opposite

     15     of what the claim is.

     16                   Okay.   Well, is putting a heavy weight so you

     17     can have a weighted splash shield, is that the opposite of a

     18     weighted splash shield?      Well, I think the answer is no.

     19                   THE COURT:    What about restrained?

     20                   MR. CHAMBERS:    What?

     21                   THE COURT:    What about restrained?

     22                   MR. CHAMBERS:    Yes.    What about restrained?     Is

     23     moving this up and down an unrestrained way the opposite of

     24     unrestrained?    I would say no.      So I think that answers that

     25     one.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 116 of 213 PageID #: 11651
                                                                           116


      1                   THE COURT:    All right.

      2                   MR. CHAMBERS:    Thank you, Your Honor.

      3                   THE COURT:    All right.    I'm going to reserve

      4     judgment on this motion in limine.        I mean, you know, in

      5     retrospect, I should have had this pretrial conference weeks

      6     and weeks ahead of time before the trial, just do what I can

      7     to get stuff out to you as fast as I can.

      8                   I think the good news is I don't think that my

      9     determination of this motion really affects the presentation

     10     that much at trial, and I think that you can quickly move,

     11     it sounds like, to address it.

     12                   All right.    I think we have one more motion in

     13     limine.   Is that correct?

     14                   MR. CHAMBERS:    Very quickly, Your Honor.       Could

     15     I ask them to bring that to trial?

     16                   MR. DiGIOVANNI:     It's on our exhibit list, Your

     17     Honor.

     18                   MS. SILVERSTEIN:     Good afternoon.     Brianna

     19     Silverstein again.

     20                   So our motion in limine number three is to

     21     preclude plaintiffs' expert from offering to, and

     22     plaintiffs, sorry, from offering evidence, argument or

     23     reference related to their expert's untimely disclosure and

     24     improper reliance on two different sets of testing.

     25                   And I know Your Honor made reference to some of
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 117 of 213 PageID #: 11652
                                                                           117


      1     this earlier, but I would like to go through each part

      2     that's in the 2019 testing report because I do think some of

      3     it is completely irrelevant to plaintiffs' claims that they

      4     were prejudiced because they weren't put on notice.

      5                    So I want to start with the 2019 testing, and

      6     just as a quick reminder, the fact discovery deadline was

      7     July 2018 and expert discovery ended on November 2nd, 2018.

      8     We filed our motion for summary judgment on December 14th,

      9     and then on January 11th the plaintiffs filed a declaration

     10     from Dr. Maynes that included a new testing report that was

     11     dated January 7th.     And the new testing addressed -- had

     12     five different questions in it.

     13                    So the first one was the weight of the splash

     14     shield assembly.     And in this one, Dr. Maynes weighed what

     15     we were just looking at, that whole thing, and this deals

     16     with claim 5 of the '658 patent, which specifically requires

     17     that the weight of the lid be five pounds.         And in his

     18     original report, Dr. Maynes stated that the weight was

     19     3.74 pounds.    So it's unclear why he needed to revise his

     20     report, to put in a new weight, or how, you know, it was

     21     somehow our, you know, our burden to show that it wasn't

     22     five pounds, or that 3.74 isn't five pounds.         I think that's

     23     what we argued in our summary judgment motion.          So that is

     24     that first question.

     25                    The second one is whether the splash shield
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 118 of 213 PageID #: 11653
                                                                           118


      1     moves freely or is affected by friction, which that's what

      2     Mr. Chambers was just talking about.

      3                   This is, again, about the '658 patent, and in

      4     his original report, Dr. Maynes acknowledged that there was

      5     friction, and the only thing he is doing in this new report

      6     is now coming up with some way of measuring it and trying to

      7     say that it's not a lot of friction, but as Mr. Chambers

      8     acknowledged, the plaintiffs have known that that is one of

      9     our arguments.    In fact, our engineers commented that there

     10     was friction.

     11                   The third one is the MIC2000 cutting blade has a

     12     slim cross-sectional profile.       This deals with the '377

     13     patent and the means, the grinding means, which Judge Sleet

     14     said would include a blade with a thin cross-sectional

     15     profile.

     16                   Now, again, Dr. Maynes, he had addressed this in

     17     his original report.     In that report he looked at the prior

     18     art and just did a visual comparison, and now all of a

     19     sudden in 2019, he comes up with some new equation that he

     20     wants to do to show that it's a thin cross-sectional

     21     profile.   Again, unclear how that was at all affected by

     22     anything that defendants did or did not disclose.

     23                   And then I'm going to skip the next point and go

     24     right to the aeration.      And this kind of actually ties into

     25     the 2015 testing, where basically Dr. Maynes kind of
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 119 of 213 PageID #: 11654
                                                                           119


      1     consulted again with one of the f'real employees who did the

      2     testing, and then he's confirming it.

      3                    THE COURT:   Your first slide, I thought we were

      4     just talking about the testing.       Your motion is to get, you

      5     know, to exclude his January 2019 testing and f'real's

      6     withheld 2015 testing.

      7                    MS. SILVERSTEIN:    Yes.   This was all in the

      8     testing report.     This exhibit was Exhibit A to his new

      9     declaration.    All of these points were in his testing

     10     report.   It wasn't just the new grinding testing.         It

     11     included all of these even though, again, on summary

     12     judgment, that some of these, such as the last point,

     13     aeration, wasn't even related to our summary judgment

     14     motion.   That wasn't even related, but he still put in a new

     15     report about that.

     16                    So unless you have more questions about 2019, I

     17     can go onto the 2015 testing.

     18                    THE COURT:   All right.

     19                    MS. SILVERSTEIN:    Again, during discovery --

     20     this is in our papers.      During discovery defendants

     21     requested any testing that supported f'real's infringement

     22     claims, and there was a specific, a specific interrogatory

     23     related to aeration.

     24                    f'real didn't produce anything during discovery,

     25     and then on August -- in August 2018 in their opening
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 120 of 213 PageID #: 11655
                                                                           120


      1     report, the plaintiffs produced for the first time two sets

      2     of testing that were performed in 2015 by f'real employees.

      3     The first one was testing performed by Curtis Tom and

      4     documents by Jen Voges.      And the second set is a set of

      5     testing that did not have any name associated with it, and

      6     that we found out at Dr. Maynes' deposition in October were

      7     performed by an employee named Mike Partsuf.         His name had

      8     been completely absent from the record in the case.           He was

      9     never mentioned in any deposition, interrogatory request,

     10     was not even mentioned in their document production at all.

     11     And that was the second set.        And that's actually the set

     12     that Dr. Maynes admitted at his deposition that he relied

     13     upon.

     14                   THE COURT:    Okay.    But in December of 2015, in

     15     response to interrogatory number 10, f'real referenced,

     16     right, f'real's experiments indicate that air is initially

     17     removed.   Now, that sounds like aeration testing to me.

     18     Right?

     19                   MS. SILVERSTEIN:      Yes.

     20                   THE COURT:    So they disclosed it to you in

     21     December of 2015.     Did you make a request to follow up on

     22     this interrogatory?     Did you do anything to ask for the test

     23     results?

     24                   MS. SILVERSTEIN:      We had outstanding discovery

     25     that would have asked for the testing results.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 121 of 213 PageID #: 11656
                                                                           121


      1                   THE COURT:    Did you follow up on it?      This is

      2     December of 2015.     When did discovery close?

      3                   MS. SILVERSTEIN:     July of 2018.

      4                   THE COURT:    Did you go to the Court and say, you

      5     know, that we know they've got this testing out there.

      6     They've not turned it over.       They are not hiding it.      They

      7     say it.

      8                   MS. SILVERSTEIN:     No, we did not, Your Honor,

      9     but as they said in their opposition here, that would

     10     have not mattered because they are now claiming there was

     11     some sort of work product privilege over it and that, you

     12     know, that's why they said they didn't produce it to begin

     13     with.

     14                   THE COURT:    Well, they didn't produce it to

     15     begin with because if you are an attorney and you ask

     16     somebody to run something, and I don't know that it has been

     17     tested, but as I understand it, they represented that these

     18     two folks who did this test were directed to do it

     19     by attorneys.    They did it.     They didn't make the decision

     20     to disclose it until a later date, and it sounds like it's

     21     in response to specific allegations of noninfringement

     22     raised by you all.

     23                   MS. SILVERSTEIN:     This was in his opening

     24     report.

     25                   THE COURT:    So this one is not?
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 122 of 213 PageID #: 11657
                                                                           122


      1                   MS. SILVERSTEIN:     Right.   This is in his

      2     infringement analysis.

      3                   THE COURT:    Anyway, so I don't even know what

      4     the harm is here.     You've got it in the initial disclosure

      5     report.   It was referenced in December of 2015 in a response

      6     to an interrogatory.     You did nothing to follow up on it.

      7     I'm trying to understand why there's a problem.

      8                   MS. SILVERSTEIN:     Well, the harm is that at

      9     least as to the second set of testing that was performed by

     10     Mike Partsuf, we had no idea that existed.         We found out

     11     from Mr. Voges at his deposition that he had performed some

     12     testing, and there was no work product privilege objection

     13     made at that time, and we actually don't think that they

     14     have met their burden of showing work product.

     15                   There's nothing on these documents that says

     16     that it was, that the testing was at the request of counsel,

     17     and they didn't put any testimony in from either of the, or

     18     any of the f'real employees saying that they only ran it at

     19     the request of counsel.

     20                   Like I said, at the deposition -- now, we didn't

     21     have the report at the deposition, so we were asking the

     22     question blindly at that point.       But at the deposition --

     23                   THE COURT:    What is it that they didn't respond

     24     to?   They didn't produce these to?

     25                   MS. SILVERSTEIN:     Well, we had a specific
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 123 of 213 PageID #: 11658
                                                                           123


      1     interrogatory.

      2                    THE COURT:   Right.   The number 10, the one I

      3     read to you.    Right?

      4                    MS. SILVERSTEIN:     I'm sorry.   We had a specific

      5     request for production that asked for -- hold on one second.

      6     That asked for, I believe, all documents relating to the

      7     allegations of infringement, something to that effect.

      8                    THE COURT:   So I mean, here's what's cited as

      9     far as I can tell.     It's a request for production number 10

     10     and 43.   Is that right?

     11                    MS. SILVERSTEIN:     Yes.

     12                    THE COURT:   Okay.    So, and number ten is all

     13     documents and things concerning their contention that

     14     Hamilton Beach is infringing any claim of the

     15     patents-in-suit, and they respond to this in February of

     16     2015.   They say, impermissibly seeks attorney/client

     17     privilege and attorney work product.         And then that would

     18     be -- all right.     So then you learn about it when?

     19                    MS. SILVERSTEIN:     So we didn't get the testing

     20     until August, and it's in the second report, the one --

     21                    THE COURT:   And did they supplement this

     22     response?

     23                    MS. SILVERSTEIN:     No.    They never.

     24                    THE COURT:   So they never supplemented the

     25     response?
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 124 of 213 PageID #: 11659
                                                                           124


      1                   MS. SILVERSTEIN:      No.    And the report on the

      2     right, as you can see, which is the one that Dr. Maynes

      3     relies on and that he redid in 2019 again, apparently

      4     because Dr. Slocum responded to it in his rebuttal report,

      5     although that was the first time that Dr. Slocum could have

      6     responded to it, because we didn't have it until August.           It

      7     doesn't have a name, a date, anything on it.

      8                   THE COURT:    All right.

      9                   MS. SILVERSTEIN:      We couldn't learn any of that

     10     until we talked to Dr. Maynes about it.

     11                   THE COURT:    All right.     Now, how are you

     12     prejudiced?

     13                   MS. SILVERSTEIN:      So as to the 2015 testing, we

     14     were specifically prejudiced because we never had a chance,

     15     especially like it says to the second report there that Mike

     16     Partsuf did, we never had a chance to talk to Mr. Partsuf.

     17                   Dr. Maynes did not observe the test and he had

     18     had some conversations, but there were a bunch of things

     19     that he didn't know when we asked him at his deposition

     20     about how the tests were conducted or anything like that.

     21                   THE COURT:    Okay.

     22                   MS. SILVERSTEIN:      And --

     23                   THE COURT:    Now, before we go on --

     24                   MS. SILVERSTEIN:      Yes.

     25                   THE COURT:    Mr. Chambers, who is doing this on
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 125 of 213 PageID #: 11660
                                                                           125


      1     your side?

      2                    MR. CHAMBERS:   I am.

      3                    THE COURT:   Are you trying to introduce the 2015

      4     test in front of the jury?

      5                    MR. CHAMBERS:   What she has up on the screen,

      6     the answer is no.

      7                    THE COURT:   We can agree on it.     I don't have to

      8     rule on it.    It's not coming in.

      9                    MR. CHAMBERS:   One on A.    Now, there is another

     10     test B that we plan to put in as well as the retests which

     11     were done --

     12                    THE COURT:   By May of 2019?

     13                    MR. CHAMBERS:   In 2019.

     14                    THE COURT:   That's not my question.      My question

     15     is 2015.   Let's just deal with 2015.       Are you trying to

     16     bring that in?    And the answer is no.

     17                    MR. CHAMBERS:   Right.    If we get 2019, we don't

     18     need 2015.

     19                    THE COURT:   Okay.   So then let's talk about

     20     that.   So it sounds like 2015 is off the table.

     21                    MS. SILVERSTEIN:     Okay.

     22                    THE COURT:   All right.

     23                    MS. SILVERSTEIN:     So the only reason I had to do

     24     2019, this -- to the aeration point specifically.          The only

     25     reason that they say in their opposition they had to do the
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 126 of 213 PageID #: 11661
                                                                           126


      1     2019 report was because the first time that Dr. Slocum

      2     addressed it was in his rebuttal report.

      3                   THE COURT:    Right.   And he said that there's no

      4     visual, that nobody saw any grinding or -- right?

      5                   MS. SILVERSTEIN:      No.   This is completely

      6     separate from there.

      7                   THE COURT:    All right.

      8                   MS. SILVERSTEIN:      We did not bring summary

      9     judgment on this.     This is not part of the summary judgment.

     10                   THE COURT:    Okay.

     11                   MS. SILVERSTEIN:      This is an aeration issue.       If

     12     you can go back, I can show you.

     13                   THE COURT:    Hold on.

     14                   MS. SILVERSTEIN:      If you look at the 2019

     15     testing, as I said, he does five different tests.          Only one

     16     of those relate to the grinding, which is the visual

     17     evidence of grinding.

     18                   THE COURT:    All right.      Slow down for just a

     19     second.

     20                   MS. SILVERSTEIN:      Sure.

     21                   THE COURT:    Sorry.

     22                   MR. CHAMBERS:    Your Honor, I think I can help

     23     get to the heart of this.

     24                   THE COURT:    Well, just stop for a second.       So

     25     I'm looking at your motion.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 127 of 213 PageID #: 11662
                                                                           127


      1                   MS. SILVERSTEIN:     Yes.

      2                   THE COURT:    And you say, in January of 2019,

      3     long after fact and expert discovery closed, plaintiffs

      4     support their opposition with a declaration of their

      5     technical expert, Dr. Maynes, that included brand-new

      6     grinding and shaving testing.

      7                   MS. SILVERSTEIN:     Yes, but the testing -- I

      8     guess this --

      9                   THE COURT:    So, you know, when I read your

     10     motion, that's what I'm looking at.        And now I'm hearing

     11     about aeration testing.

     12                   I mean, is it mentioned in your motion in

     13     limine?    Can you show me anywhere in your motion in limine

     14     where you mention aeration testing?

     15                   MS. SILVERSTEIN:     Well, we talk about the -- I'm

     16     sorry for the confusion, Your Honor.        In limine -- we had a

     17     separate section on testing and grinding just in the summary

     18     judgment portion.     I understand.

     19                   THE COURT:    Do you mention aeration in here?

     20     You know, we're coming up on three hours on this oral

     21     argument.    You know, we have 500 cases each here in this

     22     Court.    I'm spending time.    I just read all of these

     23     motions.    Where is it about aeration?

     24                   MS. SILVERSTEIN:     I'm sorry, Your Honor.      It

     25     doesn't.    It's not included in here specifically.        This was
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 128 of 213 PageID #: 11663
                                                                           128


      1     supposed to cover his whole test, his whole new testing

      2     report.

      3                   THE COURT:    So you've waived it as far as I'm

      4     concerned.    You had an opportunity.      You waived it.     You

      5     asked to preclude his testing for grinding and shaving, and

      6     now it sounds like --

      7                   MS. SILVERSTEIN:     Oh, I will note that in the

      8     opposition, they do address the aeration testing, so I think

      9     it was --

     10                   THE COURT:    I'm going by what your motion is.

     11     This is the first I'm hearing of aeration as you're talking

     12     about it today, which is why I got confused.

     13                   MS. SILVERSTEIN:     Okay.   I'm sorry, Your Honor.

     14     It was supposed to cover the entire new report.

     15                   THE COURT:    Yes.   Well, I'm sorry, too, but

     16     you waived it.    I'm going to let the grinding and testing

     17     in.

     18                   So I'm going to deny the motion in limine to

     19     preclude the grinding and testing of 2019.         It sounds like I

     20     don't need to deny the 2015 because it's rendered moot

     21     because I understand, and I will have Mr. Chambers confirm,

     22     there will be no attempt to bring in 2015 testing.          Is that

     23     correct?

     24                   MR. CHAMBERS:    Correct, Your Honor.      We'll go

     25     with 2019.    Yes.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 129 of 213 PageID #: 11664
                                                                           129


      1                   THE COURT:    All right.

      2                   MS. SILVERSTEIN:     Oh, I will mention that the

      3     2019 testing refers to the 2015 testing.

      4                   THE COURT:    All right.    I mean, I would imagine

      5     you could excise any references to the 2019 testing.           Sorry.

      6     In the discussion at trial of the 2019, can't you just

      7     excise or redact any reference to the 2015 testing.

      8                   MR. CHAMBERS:    I can, Your Honor.      Let me --

      9                   THE COURT:    You can or you cannot?

     10                   MR. CHAMBERS:    We can do that, definitely.

     11                   THE COURT:    All right.    That takes care of that

     12     then.   It's moot, but I'm going to grant the motion in

     13     limine insofar as it seeks to exclude the 2015 testing.            I'm

     14     going to deny it to the extent it seeks to, as it did,

     15     requested the exclusion of the grinding and testing,

     16     grinding and --

     17                   MR. DiGIOVANNI:     Shaving, Your Honor.

     18                   THE COURT:    Shaving.   Thank you.     Testing done

     19     in 2019.   I think that was a fair response to inadequate

     20     disclosures, and I think it was appropriate, as I mentioned

     21     earlier.   There was no motion in limine to exclude other

     22     parts of the report, and it's too late.         We have to have

     23     rules, and we have to -- so...

     24                   MR. CHAMBERS:    Just so we're clear, Your Honor.

     25     The subject matter in Dr. Maynes' January 2019 summary
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 130 of 213 PageID #: 11665
                                                                           130


      1     judgment responsive declaration, that can be admitted into

      2     evidence?

      3                    THE COURT:   No.   He's going to testify.

      4                    MR. CHAMBERS:   Yes, he's going to testify.

      5                    THE COURT:   So we're not going to admit a

      6     declaration.

      7                    MR. CHAMBERS:   Right.

      8                    THE COURT:   The --

      9                    MR. CHAMBERS:   The subject matter.

     10                    THE COURT:   The subject matter, the answer is

     11     yes.

     12                    Now, are we all clear?     We're all on the same

     13     page?   Mr. DiGiovanni?

     14                    MR. DiGIOVANNI:    I guess the one thing I would

     15     say, I mean, the Federal Rules say if it's not in someone's

     16     expert report, then at trial, we would -- normally, we would

     17     object and maybe have a sidebar and say, hey, this is not in

     18     his expert report.     Does your ruling affect that?       Are we

     19     considering that part of his expert report because that

     20     testing was certainly not in his expert report, not subject

     21     to his deposition.

     22                    THE COURT:   Well, but, you know, this goes back

     23     to what I think are inadequate disclosures.         Now, you've

     24     just pointed out, the other side's disclosures could be

     25     severely criticized it seems to me as well.         But I mean,
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 131 of 213 PageID #: 11666
                                                                           131


      1     you're going to get to argue that -- I guess you can argue,

      2     well, you didn't see any grinding or testing, and then he

      3     comes back and says -- I'm sure what he's going to say is, I

      4     wasn't looking for it.      We've been litigating this case for

      5     a long time.    I didn't think this was an issue.        I didn't

      6     look for it.    You raised it.      I went and I looked for it and

      7     I proved it.    I mean, that seems fair.

      8                    MR. DiGIOVANNI:    Okay.

      9                    THE COURT:   All right.

     10                    MR. DiGIOVANNI:    The one point of unfairness I

     11     would raise --

     12                    THE COURT:   Okay.

     13                    MR. DiGIOVANNI:    -- we now have this whole group

     14     of testing that he put in.

     15                    THE COURT:   Right.    But you didn't move in

     16     limine for it.

     17                    MR. DiGIOVANNI:    No, no.   I mean, technically,

     18     Your Honor, we don't even have to because if it's not in his

     19     original report, if it's not in his original report --

     20                    THE COURT:   What is the purpose of a limine?        I

     21     guess you help me out because the Court has been doing this

     22     for a long time.

     23                    You raised, they got four, you got three.

     24     Actually, I mean, I thought the whole purpose of having

     25     motions in limine was so that you would tee up these
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 132 of 213 PageID #: 11667
                                                                           132


      1     issues.

      2                    MR. DiGIOVANNI:     It is, Your Honor, and we

      3     think it helps the Court, and I sometimes struggle with the

      4     fact that the Courts limit us to do that, because to me it's

      5     helpful to the Court, even if we did 15 of them.          It seems

      6     like that would be helpful.        If we only get three, let's say

      7     we have those other 12, what are we going to do?          We're

      8     going to object at trial and then we'll have to deal with it

      9     then.    That's neither here nor there, Your Honor.        But what

     10     I would say is, anything in anybody's expert report, the

     11     expert has to be bound by their expert report.

     12                    We didn't move on, hey, they shouldn't be able

     13     to talk about issue five that maybe they'll raise, or maybe

     14     they won't.    No.   We're just going to use the expert report

     15     as our motion in limine at trial.         You know, as our

     16     evidentiary.

     17                    THE COURT:   Yes.    That's okay.   That's fair

     18     enough.

     19                    MR. DiGIOVANNI:     Yes.   That was my point, Your

     20     Honor.    I guess I will suggest this, Your Honor.

     21                    THE COURT:   No.    Actually, it's a fair point.

     22     Frankly, I thought about the plaintiff got four motions in

     23     limine, you got three, and I mean, frankly, you could raise

     24     it at trial, and so maybe I ought to decide it now when I

     25     have some time, I suppose, as opposed to on the fly in front
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 133 of 213 PageID #: 11668
                                                                           133


      1     of the jury.    But I mean, on the other hand, if you are

      2     going to file a motion in limine, why not -- all right.

      3                    So then let's deal with this aeration issue.

      4     Mr. Chambers?

      5                    MR. CHAMBERS:    This is how I think I can

      6     shortcut it, Your Honor.       The 2015 aeration was in Dr.

      7     Maynes' opening report, so that addresses that question.

      8                    They came back and they said, oh, this is

      9     unprofessional of you because you were not personally there

     10     to witness the experiment.      You just took the experiment and

     11     looked at it.

     12                    THE COURT:   Right.   I got it.

     13                    MR. CHAMBERS:    Okay.   So as long as we were

     14     doing all the visual stuff, we reran the experiment in

     15     January, and he was personally there and reran the exact

     16     same experiment and got exactly the same results, period.

     17                    THE COURT:   All right.

     18                    MR. CHAMBERS:    That's all there is to it.

     19                    THE COURT:   Now, so let's continue with Mr.

     20     Chambers for a minute if you don't mind.

     21                    When did you disclose the 2015 testing?        The

     22     first time was in the expert report.        Right?

     23                    MR. CHAMBERS:    In his expert report.

     24                    THE COURT:   What took you so long?

     25                    MR. CHAMBERS:    By the way, we did have the bogus
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 134 of 213 PageID #: 11669
                                                                           134


      1     testimony which they refer to and the, I guess it's the

      2     interrogatory response where we alluded to it.          I considered

      3     it attorney work product until I showed it to Dr. Maynes

      4     before his opening report and said, take a look at this.           Do

      5     you think it ought to be included in your opening report,

      6     and it's only when he looked at it and said, yes, I think it

      7     should be included in my opening report.

      8                   And I will mention one other thing, and this is,

      9     you know, here's a letter that they wrote to us, and this is

     10     actually the reason we -- the reason we did the test.           But

     11     they said that their expert, Dr. Slocum, which is 2015, had

     12     done his own aeration test, and that they had found no

     13     aeration.

     14                   I don't think we've ever gotten a copy of those

     15     reports, but we're not making a big stink about that.

     16     Actually, if we can go ahead and put in our evidence, we're

     17     not going to try to do another in limine motion on that

     18     stuff.

     19                   THE COURT:    All right.    So would the defense

     20     prefer -- I mean, look.      You may come up.

     21                   So don't parties all the time make a decision

     22     after they retain the expert, towards the end of discovery,

     23     whether they want to go and rely on certain testing,

     24     and it's at that point they would have to disclose it.

     25     Right?
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 135 of 213 PageID #: 11670
                                                                           135


      1                   MS. SILVERSTEIN:      I would disagree.    I mean, we

      2     just, we had our expert do his own test and we disclosed it.

      3     We didn't have --

      4                   THE COURT:    You disclosed every single test

      5     that you guys -- what is the date of the letter, Mr.

      6     Chambers?

      7                   MR. CHAMBERS:    Yes, Your Honor.     The letter is

      8     from Mr. Schlitz at the Baker Botts firm, June 17, 2015.

      9                   THE COURT:    All right.    There must have been

     10     testing done prior to that.       Has that been disclosed?

     11                   MS. SILVERSTEIN:      No, because we're not relying

     12     on it.

     13                   THE COURT:    Okay.   And that's fair.     And I think

     14     the point was the plaintiffs weren't going to rely on it.

     15     They didn't make the decision to rely on it until they went

     16     forward with their expert report.

     17                   MS. SILVERSTEIN:      I would argue that that is an

     18     improper use of privileged material, a sword and a shield.

     19     I mean, it's just like, for instance, with willfulness.             We

     20     had to make a decision during fact discovery if we were

     21     going to rely on opinions of counsel.

     22                   THE COURT:    You agree that they at least

     23     reference, they asserted the attorney/client privilege and

     24     work product in response to interrogatory number 10.           Is

     25     that correct?
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 136 of 213 PageID #: 11671
                                                                           136


      1                   MS. SILVERSTEIN:      Correct.

      2                   THE COURT:    All right.      Did you file a motion to

      3     compel?

      4                   MS. SILVERSTEIN:      No, we didn't.

      5                   THE COURT:    Did you ask to get a privilege log

      6     for it?

      7                   MS. SILVERSTEIN:      No.

      8                   THE COURT:    Okay.   So under those circumstances,

      9     even where we are and the fact that it's 4:00 o'clock, I

     10     have to make discretionary decisions.          What I'm going to do

     11     is -- would you prefer to have the 2015 test on aeration or

     12     the 2019 test on aeration?

     13                   MR. DiGIOVANNI:     Do we have to make that

     14     decision today, Your Honor?

     15                   THE COURT:    No.

     16                   MR. DiGIOVANNI:     Okay.

     17                   THE COURT:    But then what I'm going to do is,

     18     I'm going to let them choose.       Okay?    They are going to get

     19     to pick -- the 2019 grinding and shaving test comes in

     20     because of inadequate disclosures by the defendants in

     21     response through the course of discovery such that it was

     22     fair, it seems to me, to allow Dr. Maynes to conduct the

     23     January 2019 test.     All right.

     24                   As far as the 2015 test for grinding and shaving

     25     or anything else, it's not admissible.         On aeration, the
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 137 of 213 PageID #: 11672
                                                                           137


      1     defendants will get to choose whether to bring in the 2015

      2     test conducted by the employees, relied upon by Dr. Maynes,

      3     or Dr. Maynes' 2019 test.      Is that fair?

      4                   MS. SILVERSTEIN:     I just want to -- just

      5     clarification.    Did you say everything other than aeration

      6     and the grinding and shaving is out, or --

      7                   MR. CHAMBERS:    No.

      8                   THE COURT:    No, no, no.

      9                   MS. SILVERSTEIN:     Okay.

     10                   THE COURT:    So they get to bring in -- how do

     11     you want to characterize it?       We've got the grinding and

     12     shaving and then we have the aeration.

     13                   MR. CHAMBERS:    I think we described it earlier

     14     is what was in his declaration.       He also responded to Dr.

     15     Slocum, where he said there's no cross-sectional profile for

     16     the first time in the rebuttal and summary judgment.

     17                   THE COURT:    All right.     So I don't remember this

     18     from the papers, but you didn't move --

     19                   MR. CHAMBERS:    Right.

     20                   THE COURT:    Is that true?    Did Slocum raise for

     21     the first time some things he's responding to?

     22                   MS. SILVERSTEIN:     That was Dr. Slocum's first

     23     report, so he wouldn't have had a chance to raise it before

     24     then.

     25                   THE COURT:    I guess Judge Sleet didn't allow a
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 138 of 213 PageID #: 11673
                                                                           138


      1     reply report.    What happened?     Is that what it is?

      2                   MS. SILVERSTEIN:     Yes.    There was an opening

      3     report and a rebuttal report.

      4                   THE COURT:    This is the challenges of inheriting

      5     a case, so --

      6                   MS. SILVERSTEIN:     These three things are

      7     infringement issues that Dr. Maynes did address in his first

      8     report.   I mean, the weight of splash shield, he said the

      9     splash shield assembly is 3.74 pounds in his first report.

     10     Now he does a second report months later and finds that it's

     11     heavier and closer to five pounds.

     12                   THE COURT:    Aren't you going to just decimate

     13     him on cross-examination at that point?

     14                   MS. SILVERSTEIN:     We could, but we would prefer

     15     to get summary judgment of noninfringement.

     16                   THE COURT:    We're talking about a motion in

     17     limine for trial.

     18                   MS. SILVERSTEIN:     Right.   But this is one of our

     19     summary judgment points as well.

     20                   THE COURT:    When we get to summary judgment,

     21     we'll deal with it.

     22                   MS. SILVERSTEIN:     Okay.

     23                   THE COURT:    We're just talking about the motion

     24     in limine right now.

     25                   MS. SILVERSTEIN:     Well, to the second point
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 139 of 213 PageID #: 11674
                                                                           139


      1     about friction, the first time in his report he acknowledges

      2     there's friction, and in 2019, he all of a sudden has some

      3     sort of calculation he's performing to determine the amount

      4     of friction and whether it's negligible or not.          The same

      5     thing on cross-sectional profile.        He references it in his

      6     report because it's part of the infringement report, it has

      7     to be, but in that report, he's just doing a visual

      8     comparison of prior art, and then all of a sudden 2019 comes

      9     around and now he has a self-deletion.

     10                   MR. CHAMBERS:    Your Honor, as counsel has

     11     mentioned a number of times, what Dr. Maynes is doing in

     12     addition to being responsive to new issues raised is

     13     elaborating on positions he has already taken, and to the

     14     extent he mentions infringement, I can get the part in his

     15     expert report, but he says that that's not a basis for

     16     noninfringement.     And then he actually pulled the -- their

     17     prop up and down and then dropped it, and therefore he felt

     18     discernible friction.      This is all consistent with what

     19     they've been on notice of since his opening report.           There's

     20     no surprises, no prejudice.

     21                   MS. SILVERSTEIN:     We weren't able to depose him

     22     about these new calculations he has.        Those were not part of

     23     his first report.

     24                   THE COURT:    Mr. Smith, how did Judge Sleet

     25     handle the situations when new -- because he did not allow
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 140 of 213 PageID #: 11675
                                                                           140


      1     for reply briefs as a general rule.        Is that correct?

      2                   MR. SMITH:    Your Honor, he would typically get

      3     to a question of prejudice and how to best alleviate the

      4     prejudice.    It would come up in front of Judge Robinson as

      5     well.

      6                   One solution here that I would have seen Judge

      7     Robinson handle would be to treat the 2019 declaration as a

      8     supplemental expert report, a reply report, if you will,

      9     however you wanted to think of it in trying to meld the two

     10     scheduling order-type regime and alleviate the prejudice

     11     with a short deposition of Dr. Maynes, if appropriate, and

     12     go forward that way.

     13                   Indeed, at some point Judge Robinson eliminated

     14     all Daubert motions.     You couldn't file a Daubert motion

     15     unless you came and talked to her in part because she

     16     understood that a lot of this was just about prejudice and

     17     about how to alleviate the prejudice, not what to strike and

     18     what not to strike.

     19                   So I think -- I don't know if I've answered your

     20     question, Your Honor, but I think it's a question of

     21     alleviating the prejudice.      They've been on notice now for

     22     three months of this testing.       It has been vetted through

     23     the summary judgment process, and if there's some issue

     24     about not having cross-examined the expert, a short hour or

     25     two deposition in advance of trial may cure whatever
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 141 of 213 PageID #: 11676
                                                                           141


      1     prejudice might remain.

      2                   THE COURT:    Mr. DiGiovanni?

      3                   MR. DiGIOVANNI:      I am not going to dispute

      4     anything that Mr. Smith said except for the fact that we're

      5     18 days from trial.     In the ordinary case, if Dr. Maynes or

      6     plaintiffs had seen something in Dr. Slocum's

      7     noninfringement report or elsewhere at that point, that's

      8     when you move for supplemental -- a meet and confer.           We

      9     want to file a short supplemental expert report or maybe

     10     move if we say no --

     11                   THE COURT:    That didn't happen here.

     12                   MR. DiGIOVANNI:      Didn't happen here.

     13                   THE COURT:    Why?

     14                   MR. DiGIOVANNI:      They didn't ask to have Mr.

     15     Maynes do additional testing.       They didn't do that.      They

     16     didn't do that.

     17                   THE COURT:    Wait.   You found out about it?

     18                   MR. DiGIOVANNI:      Summary judgment.    I'm talking

     19     about the 2019 testing.      So, you know, Dr. Maynes has this

     20     test report that he did really three months ago, or four

     21     months ago, in January -- three months ago, where he says,

     22     it looks like a scientific report.        It says, here are the

     23     experiments I conducted.      Number one, is the weight of

     24     splash shield -- he has five different points that should

     25     have been done during expert discovery.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 142 of 213 PageID #: 11677
                                                                           142


      1                   If their point is, hey, we didn't know Dr.

      2     Slocum was going to raise these things, you asked for a

      3     supplemental expert report at that time, and if we say no,

      4     he moves the Court, or perhaps you would have said you could

      5     do a short one.     Whatever, that would have been the time to

      6     do this, and he could have been deposed on it.

      7                   Now we're 18 days from trial.       We've got these

      8     tests.   Perhaps it would be good cross at trial if we were

      9     prepared for it, but we're now 18 days from trial and this

     10     is what we have.

     11                   THE COURT:    Right.   You have to understand,

     12     right, I came into this hearing reading up on grinding

     13     and shaving, so now the problem is, we've got 18 days and

     14     I'm just being bombarded by all of this information right

     15     now.

     16                   MR. DiGIOVANNI:     Understood.

     17                   THE COURT:    I have no idea how it all fits in.

     18                   MR. CHAMBERS:    Your Honor, I will mention very

     19     quickly, they did submit an expert declaration with their

     20     summary judgment motion.      We have not tried to exclude that,

     21     but what's fair for fish is fair for foul, and it seems

     22     unfair, I will try to put it mildly, for them to say, okay.

     23     We can get to submit a new expert declaration after all the

     24     reports with lots of stuff for our case, but you don't get

     25     to respond to it in your opposition.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 143 of 213 PageID #: 11678
                                                                           143


      1                   MR. DiGIOVANNI:     Your Honor, I would challenge

      2     them to tell me anything in that new expert declaration by

      3     Dr. Slocum that's not in his expert report.

      4                   We did what you are supposed to do.        We confined

      5     his summary judgment declaration to what was in his expert

      6     report, things that he was deposed on.        We did not go beyond

      7     that.

      8                   MR. CHAMBERS:    Why do you need a declaration in

      9     the first place?

     10                   THE COURT:    Okay.   Mr. Chambers --

     11                   MR. CHAMBERS:    Okay.

     12                   THE COURT:    Just direct your comments to me

     13     instead of to other counsel.

     14                   So what is the question that you would like

     15     maybe me to put to counsel or at least to consider?

     16                   MR. CHAMBERS:    Thank you, Your Honor.      I will

     17     try not to belabor this, but they are saying, oh, it was the

     18     same thing in the expert report.       We didn't say anything

     19     further.    That was one sentence where he said, yes, I

     20     reaffirmed my expert report, and then he goes on for another

     21     15 pages.    So the comment doesn't make any sense.

     22                   THE COURT:    Do you know one fact or one opinion

     23     that he puts forth in his declaration that's not within the

     24     scope of his expert report?

     25                   MR. CHAMBERS:    Yes.    Could I have a few minutes
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 144 of 213 PageID #: 11679
                                                                           144


      1     to look through it?

      2                   THE COURT:       Yes.       All right.   We've been doing

      3     this for three hours.      Why don't we take a 15-minute break.

      4     We'll come back at 4:25.        The pretrial was supposed to start

      5     at 4:00.   Correct?

      6                   MR. DiGIOVANNI:         According to the docket, yes.

      7                   THE COURT:       We're short on time.       All right.

      8                   (Short recess taken.)

      9                                -    -     -

     10                   (Proceedings resumed after the short recess.)

     11                   THE COURT:       All right.       Please be seated.

     12                   All right.       Does anyone want to say anything

     13     else about the last motion?

     14                   MR. CHAMBERS:         Your Honor, very quickly.       I

     15     don't have Dr. Slocum's rebuttal report, so I was not able

     16     to do the comparison.

     17                   MR. DiGIOVANNI:         In the event Your Honor is

     18     considering a supplemental deposition as suggested by --

     19                   THE COURT:       Here's what I'm going to do.         I'm

     20     going to -- just whoever has this before the Federal

     21     Circuit, please reference this.             I inherited this case.      It

     22     has been going on for years.              I inherited the scheduling

     23     order.   I inherited the procedures and the parties briefed

     24     this last motion.

     25                   They didn't mention anything in the motion other
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 145 of 213 PageID #: 11680
                                                                           145


      1     than grinding and shaving with respect to the 2019 test, and

      2     so that was the issue before me.       So I've already explained

      3     that I do think -- I think both sides here did not represent

      4     the best in our profession in terms of their disclosures

      5     during discovery, and that's unfortunate, and that I also

      6     inherited that situation.

      7                   And so in light of all of those circumstances,

      8     what I'm going to do is, I'm going to grant the motion --

      9     sorry.   I'm going to deny the motion in limine with respect

     10     to the 2019 testing on grinding and shaving.         That's the

     11     scope of the motion, and as I've explained, I think that

     12     there were inadequate disclosures during the course of

     13     discovery that necessitated from the plaintiffs' perspective

     14     the need to conduct this testing.        I am going to, however,

     15     grant the motion with respect to the 2015 testing, and it

     16     sounds like, to a certain extent, the motion has been

     17     rendered moot anyway on that.

     18                   And then as far as the other aspects of the 2019

     19     report, we'll just take it as it arises at trial.          We'll

     20     have to address it.

     21                   So that's the world I inherit and that's the

     22     world I'm going to give.      All right.

     23                   Now, I guess we should go to summary judgment

     24     then.    Mr. Smith?

     25                   MR. SMITH:    Your Honor, Mr. DiGiovanni and I
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 146 of 213 PageID #: 11681
                                                                           146


      1     spoke at the break.     We're obviously here at your disposal

      2     to present argument on whatever motions you think are most

      3     appropriate or necessary for Your Honor to consider today,

      4     so we leave it to your discretion both as how long you would

      5     like us to present argument and if there are particular

      6     issues on which you would prefer.

      7                   THE COURT:    All right.    Thanks.   I appreciate

      8     that.

      9                   So one of the -- you know, I did not get through

     10     the summary judgment briefing as much as I would otherwise

     11     like, but I think I will point out why.

     12                   You can have a seat, Mr. Smith.

     13                   I know you're one of the first cases, in fact, I

     14     think you are the first that adopted the procedures I put in

     15     place about summary judgment.       The concise statement of

     16     facts in this case was not what I had envisioned, and other

     17     parties actually have briefed these summary judgments along

     18     the way I did, and so let's walk through that.          And the

     19     reason why I say that is because that may influence kind of

     20     how we do the argument.      All right.

     21                   So let's start with the plaintiffs' motion and

     22     let's look at the concise statement of facts.

     23                   The whole point of having this concise statement

     24     of facts was because, the idea was I would get right to the

     25     heart of the dispute and find out whether we had to dive
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 147 of 213 PageID #: 11682
                                                                           147


      1     into the legal issues.

      2                   Now, the plaintiffs' concise statement of facts

      3     is basically just a recitation of the elements of the

      4     patent.   So, you know, for instance, fact number -- well,

      5     let me just pull up the plaintiffs' response and we'll go

      6     through it.    Sorry.    One minute.

      7                   Okay.     So I'm comparing now 171, DI 171, and

      8     then I guess we could just go right to DI 197.

      9                   Mr. DiGiovanni?

     10                   MR. DiGIOVANNI:     We corrected one statement.       We

     11     noticed an error.

     12                   THE COURT:    Okay.

     13                   MR. DiGIOVANNI:     It was our response to

     14     plaintiffs' statement of fact number 18.

     15                   THE COURT:    Okay.   Well, we'll get to that.

     16     Good to know.

     17                   MR. DiGIOVANNI:     All right.

     18                   THE COURT:    All right.    So just then, especially

     19     for those who appear before me in the future and for the

     20     number of people who will a lot, what I envisioned with this

     21     was the facts not, any legal argument.         So, and -- or legal

     22     conclusions, in other words, another way of stating it.

     23                   So fact number one is a fact.       Hamilton Beach

     24     demonstrated the accused and then the four products -- I'm

     25     not even sure what that means.       It demonstrated the accused
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 148 of 213 PageID #: 11683
                                                                           148


      1     products in the United States.       That's right.     So it

      2     demonstrated them.     Okay.   And that's admitted.      That's

      3     good.

      4                   All right.    The next fact.     Hamilton Beach

      5     engineers testified that demonstrations of the accused

      6     products by Hamilton Beach included performing, and then the

      7     following steps are going to follow.        To me, the fact is

      8     that they demonstrated it, not that they testified at trial,

      9     and then you would put in to support it the testimony in the

     10     record.   And then the flip side would be then, the

     11     respondent would put in the record citations facts that

     12     contradicted that if it was disputed.

     13                   So here, I'm not really sure how to read this

     14     box, but -- and then the numbers get off.         If I look at box

     15     number, what's labeled box number two is a method for

     16     rinsing a splash shield.

     17                   Now, how does that line up with what the

     18     plaintiffs have?     In other words, what's going on is the

     19     plaintiffs -- there's an unnumbered box that is in the

     20     plaintiffs' concise statement, but I think that the

     21     defendants, their box number two was responding to that

     22     unnumbered box.     Is that right?

     23                   MR. SMITH:    That's how I would read it, Your

     24     Honor.

     25                   THE COURT:    All right.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 149 of 213 PageID #: 11684
                                                                           149


      1                    MR. FOSTER:    It appears so, Your Honor.

      2                    THE COURT:    All right.   Anyway, that seems okay.

      3     I'm all right with it.

      4                    So then I will go to plaintiffs' box number

      5     three -- sorry, plaintiffs' box number two, which is a

      6     method for rinsing a splash shield on a mixing machine.

      7                    And do I understand correctly that the defendant

      8     admits that?

      9                    MR. FOSTER:    I do see where the numbering is

     10     off, Your Honor, so just give me a second.

     11                    THE COURT:    Yes.    I just want to make sure, so

     12     that's why I'm asking.

     13                    MR. FOSTER:    Right.   Okay.   It appears, Your

     14     Honor, we took their unnumbered boxes, kind of a preamble

     15     that applied to 2, 3, 4, 6 and 7, and then our numbers do

     16     match up.    So our two matches with their number two.         That

     17     un-numbered one we took to apply to all of the --

     18                    THE COURT:    Okay.   So then you just skipped over

     19     their unnumbered box.       So your number two you're saying,

     20     which reads, disputed.       No Hamilton Beach engineers

     21     testified that any accused products perform each and every

     22     step.

     23                    You are saying that's in response to box number

     24     two by plaintiffs, that the engineers testified that the

     25     demonstrations included a method for rinsing a splash shield
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 150 of 213 PageID #: 11685
                                                                           150


      1     on a mixing machine?

      2                   MR. FOSTER:    Yes.    Structurally, that is

      3     correct, Your Honor.

      4                   THE COURT:    Well, how is it responsive to say

      5     it's disputed that no Hamilton engineer testified that each

      6     and every claim, each and every step is even in the -- is

      7     performed?

      8                   MR. FOSTER:    Okay.   I misspoke then, Your Honor.

      9     Our two response is their unnumbered plus two.          So they

     10     didn't number it 1A or 1B, whatever you call it.          We didn't

     11     respond to that except that our box 2 is intended to respond

     12     to their box 2 and what is above it, in 1A.

     13                   THE COURT:    Okay.    All right.   So you admit that

     14     their demonstration included performing or concluded --

     15     included providing a vessel containing material to be mixed,

     16     the vessel having an opening?

     17                   MR. FOSTER:    That's correct.

     18                   THE COURT:    That's admitted?

     19                   MR. FOSTER:    Correct, Your Honor.

     20                   THE COURT:    Okay.    Now I got it.    And then you

     21     admit 4, that it provides a mixing machine having a holder

     22     for receiving the vessel.      You admit that, too.

     23                   MR. FOSTER:    That is correct, Your Honor.         And,

     24     again, this is for the demonstration only, not for

     25     customers.    That's what the preamble box talks about, the
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 151 of 213 PageID #: 11686
                                                                           151


      1     demonstration.

      2                   THE COURT:    Right.   I mean, that's the thing.

      3     And actually, it really is just that their engineers

      4     testified that the demonstrations involved it.

      5                   MR. FOSTER:    That's the way it reads.

      6                   THE COURT:    Yes.   I mean, because it was set up

      7     like this, I don't even know if it's helpful for me to go

      8     through these facts.

      9                   MR. CHAMBERS:    Your Honor, I think we can get

     10     right to the bottom line very quickly.        There's only one

     11     element that is in dispute and defendants can say otherwise

     12     if they want to.

     13                   I think the only issue is the word "while" in

     14     this claim, which, and we'll put up a slide on this if you

     15     would like, which in our view is a claim construction issue.

     16     There's no dispute about what the device does.

     17                   THE COURT:    So this is the problem, you see, and

     18     this is why I want you to know.        That's why I have not

     19     delved into your briefs, because the whole system that I

     20     have instituted is set up that we have these concise

     21     statements of facts, and I'm only getting to the briefs if

     22     there's undisputed facts as demonstrated by the concise

     23     statement of facts.

     24                   Do you get that?

     25                   MR. CHAMBERS:    I do.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 152 of 213 PageID #: 11687
                                                                           152


      1                   THE COURT:    All right.

      2                   MR. CHAMBERS:    I get that.

      3                   THE COURT:    And one thing I could do is, I could

      4     just strike everything and say it didn't comply with the

      5     rules.   I don't want to waste people's time, but you

      6     understand this is what I've been going through, trying to

      7     figure out what all of this means.

      8                   I mean, if what you say is true, your concise

      9     statement of facts should say that BIC2000 has or involves

     10     when it's used a method for rinsing a splash shield, and

     11     then they would tell me whether that's disputed or not and I

     12     would know that.

     13                   MR. CHAMBERS:    I think we didn't format it as

     14     well as we could have, Your Honor, but the issue is a very

     15     simple one.    There's no factual dispute about how it works

     16     and the structural components.       The issue is claim

     17     construction, and that's not an issue that should go to the

     18     jury.

     19                   THE COURT:    Well, I'm going to guess the

     20     defendants don't agree with that, or maybe they do.

     21                   MR. FOSTER:    Most certainly don't agree.       I will

     22     say this, Your Honor.      When we were formulating these, I

     23     don't think -- at least I didn't understand it was kind of a

     24     gateway.   We understood it was important.        Your order said

     25     to focus on it, so we did.      We did go find what we did in
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 153 of 213 PageID #: 11688
                                                                           153


      1     the District of Hawaii to see how they did it.

      2                    THE COURT:   I'm not reading a summary judgment

      3     brief unless I get through the concise statement of facts

      4     which demonstrate there's undisputed facts, because that's

      5     the whole point of it.      And I get, you know.     I didn't give

      6     an exposition when I implemented it, but that is the whole

      7     point of the procedure, and it has worked in other cases

      8     incidentally.    So, you know, I'm not used to having oral

      9     argument when I'm not prepped.       And so to your point,

     10     Mr. Smith, I'm just trying to figure out what's the best

     11     thing to do.

     12                    MR. SMITH:   Your Honor, I don't know how much

     13     time you're interested in devoting.        There may be certain

     14     issues like this while issue that would be discrete.           I'm

     15     not sure that's one we would pick necessarily.

     16                    THE COURT:   Right.

     17                    MR. SMITH:   Pick at least one motion or two

     18     motions that we think you would most benefit from.          I don't

     19     think, but I don't mean to speak for Your Honor, obviously.

     20     I don't know the 12 issues or whatever there are embedded in

     21     the summary judgment motion practice here that's going to

     22     benefit everybody, especially for Your Honor to march motion

     23     by motion.

     24                    THE COURT:   I said I didn't read them, but I did

     25     skim.   It struck me on the plaintiffs' side at least, the
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 154 of 213 PageID #: 11689
                                                                           154


      1     first two are the most potentially fruitful for the

      2     plaintiff if I bought it, if I bought their arguments,

      3     rather, which is basically, as I understand it, those are

      4     the two arguments where the defense is trying to relitigate

      5     claim construction.

      6                   All right.    So why don't we at least deal with

      7     those two issues.     Can you do your argument in about ten

      8     minutes on that?

      9                   MR. CHAMBERS:    I think I can.     I should be able

     10     to do another one in 30 seconds.

     11                   THE COURT:    All right.

     12                   MR. CHAMBERS:    Which is the public use.       They

     13     said that there was a showing of an animation at a trade

     14     show.

     15                   THE COURT:    All right.    Do those quickly.     Let's

     16     go.

     17                   MR. CHAMBERS:    Okay.   Well, is there any dispute

     18     about that anymore that the animation was not shown at the

     19     trade show?    I think the answer is no.

     20                   THE COURT:    Mr. Chambers --

     21                   MR. CHAMBERS:    Sorry, Your Honor.

     22                   THE COURT:    You can ask me and I will ask them.

     23                   MR. CHAMBERS:    Your Honor, I would like to find

     24     out from defendants if there was any dispute about the

     25     public use on the animation.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 155 of 213 PageID #: 11690
                                                                           155


      1                   THE COURT:    Mr. DiGiovanni or Mr. Foster?

      2                   MR. FOSTER:    Yes, Your Honor.     There's a video

      3     that was created.     He testified that he had intended to show

      4     it to customers.     There was a dispute about whether or not

      5     Fed-Ex went to him at the trade show, but our public use

      6     isn't limited to that particular fact.        And Mr. Farrell's

      7     testimony will see where that goes and the jury can balance

      8     his credibility.

      9                   MR. CHAMBERS:    Okay.

     10                   THE COURT:    I don't even understand.      Sorry.

     11     Sorry.

     12                   MR. FOSTER:    Your Honor, Mr. Farrell paid to

     13     have a video created by the design company that helped them

     14     develop the blender.     This video he was creating with an eye

     15     of showing it at a convenience store trade show about a year

     16     and a month before the filing date of the '150 patent

     17     family.

     18                   There's some testimony that shows that a Fed-Ex

     19     package with a video didn't get to Mr. Farrell, but he

     20     admitted he had the video before, before the priority date,

     21     and he was trying to show it to customers.         So that's the

     22     evidence right now.

     23                   So I don't know if it was at the NACS show or

     24     where, and we had evidence that he was in discussions with

     25     QuikTrip, which ultimately led to a sale.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 156 of 213 PageID #: 11691
                                                                           156


      1                    THE COURT:    What is the difference in what Mr.

      2     Chambers is saying?     He's asking whether there was a

      3     demonstration at a trade show?

      4                    MR. FOSTER:   Yes.    He's asking if we're

      5     asserting there was a demonstration specifically at a trade

      6     show in Orlando October 6th, 2002, and I think our

      7     allegation is he was trying to show the video.

      8                    THE COURT:    Not that he actually did show it?

      9                    MR. FOSTER:   It's not clear.

     10                    THE COURT:    Okay.

     11                    MR. FLYNN:    Your Honor, if I may, I mean, this

     12     is one of those where I think there's a fact here.          If you

     13     look at our number 32 on the undisputed facts, we say, an

     14     animated video of a blender created by Kablooe was not shown

     15     to anyone at the NACS show in October 2002.         Their response,

     16     admitted.

     17                    THE COURT:    Yes.

     18                    MR. FLYNN:    That's the entirety of their public

     19     use defense.

     20                    THE COURT:    This is part of the problem.      I

     21     didn't know whether that meant 32 or 33, although I guess 33

     22     is admitted, too.

     23                    MR. FLYNN:    They admitted all of our facts.

     24                    THE COURT:    Okay.

     25                    MR. FLYNN:    They didn't respond.     In the summary
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 157 of 213 PageID #: 11692
                                                                           157


      1     judgment, they offered no opposition on the public use.

      2                   THE COURT:    Well, I will hear brief argument on

      3     it although, Mr. Foster, it sounds like you did admit it in

      4     your paper.

      5                   MR. FOSTER:    Your Honor, specifically we didn't

      6     have the evidence to counter that it was specifically shown

      7     at the NACS show.     I think our papers, we don't talk about

      8     it.

      9                   THE COURT:    All right.    Well, then, if you

     10     didn't talk about it, plaintiffs will win on summary

     11     judgment.

     12                   MR. FOSTER:    At least that particular part of

     13     it.

     14                   THE COURT:    Both sides, let's just cut to the

     15     heart of things.     I should grant summary judgment on that.

     16     Right?

     17                   MR. CHAMBERS:    Bingo.

     18                   MR. FOSTER:    No, Your Honor.     The record shows

     19     Mr. Farrell was in constant discussions with QuikTrip from

     20     2001 on about a self-rinsing blender, and we would argue

     21     even though there was some sort of offer for sale or public

     22     use during discussions, they even had mockups done of the

     23     proposed blenders put in the store in 2002.

     24                   THE COURT:    Is that in your brief?

     25                   MR. FOSTER:    Yes.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 158 of 213 PageID #: 11693
                                                                           158


      1                    THE COURT:    Okay.   Sorry.

      2                    MR. FOSTER:   So it's different than --

      3                    MR. FLYNN:    Your Honor, I didn't see any

      4     opposition to our public use summary judgment in their

      5     opposition.

      6                    THE COURT:    I will look for it.    I will look for

      7     it.

      8                    MR. FLYNN:    Again, this goes back to the

      9     contentions.    The only contention they ever had about public

     10     use, Mr. Farrell showed a video at the NACS conference in

     11     2002.   That's it.    That's all we ever knew.      That comes from

     12     their counterclaims, comes from their invalidity

     13     contentions.    That's all that was explored in discovery even

     14     if we could cobble what we're supposed to understand what

     15     their contentions to be from depositions.         Now we do a

     16     summary judgment on it.      They admit, yes, video never shown,

     17     never arrived.    Mr. Farrell couldn't have shown it to

     18     anybody.   They didn't oppose and now we don't get summary

     19     judgment on their public use defense?

     20                    THE COURT:    Well, look, if it's as you say,

     21     you're going to get it.      I'll go read it.

     22                    MR. FLYNN:    Your Honor, can I hand up copies?

     23                    THE COURT:    Yes, please.

     24                    (Mr. Flynn handed slides to the Court.)

     25                    MR. CHAMBERS:   All right, Your Honor.      Let me go
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 159 of 213 PageID #: 11694
                                                                           159


      1     to infringement, summary judgment, which we submit are both

      2     claim construction issues.

      3                   So one of them is this claim 21 of the '662

      4     patent.   That's the claim that went all the way through the

      5     trial at the PTAB and then all the way to the Federal

      6     Circuit, so that has been thoroughly vetted on validity.

      7                   Here is the claim --

      8                   THE COURT:    You are like a dog with a bone.

      9     Okay.

     10                   MR. CHAMBERS:    Yes.   I enjoy saying that.

     11                   Here's all the elements of the claim, and the --

     12     I think Dr. Slocum on the admissions, Dr. Slocum admitted to

     13     everything.    The only one they address in their opposition

     14     that they're disputing is the last element here, directing

     15     rinsing fluid onto the splash shield using the nozzle while

     16     isolating the vessel from the rinsing fluid.         So this is the

     17     only one that they are disputing that I could see.

     18                   And so how does it work?      There's no factual

     19     dispute about how they operate.       The cup must be removed

     20     from the blender before rinse fluid is directed onto the

     21     splash shield.    So while the cup is isolated from the rinse

     22     fluid, rinse fluid is directed onto the splash shield using

     23     the rinse nozzle.     Dr. Slocum said at his deposition, so I

     24     guess you could call that it's isolated because there's no

     25     way the water is going to get to the cup, because it's in my
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 160 of 213 PageID #: 11695
                                                                           160


      1     hand.

      2                    So it's undisputed that is how it works.          In

      3     other words, everybody agrees, the traffic light is red.              So

      4     what do you do about it with the law?

      5                    Okay.   The only dispute is the reargument of

      6     this word while, and at the Markman hearing, defendants

      7     argued, and they also argued in their Markman briefs that

      8     while precludes physical removal of the cup from the

      9     blender.    They said, the term, again, the term while is

     10     there.   We said, at the same time, shielding the vessel

     11     providing to the mixing machine to rinse from the fluid.

     12     What the plaintiffs are trying to do is trying to read

     13     the claim on to someone making their drink, taking the cup,

     14     walking into their car, and then rinsing occurs.          That is

     15     right.   That's exactly the way the claim reads.         Okay.

     16                    So this was the Markman presentation to Judge

     17     Sleet and this is what they argued in their briefs and at

     18     the hearing.    So this is what Judge Sleet decided.

     19                    He rejected their interpretation and pointed to

     20     the specification and said, the cup may then be removed from

     21     the drink machine in his claim interpretation after blending

     22     as a way of isolating it from the rinsing fluid.

     23                    So he went for the -- our proposed construction,

     24     and cited to this, and said, no.       I reject your while

     25     argument.    Look in the specification.      That supports
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 161 of 213 PageID #: 11696
                                                                           161


      1     taking the cup in your hand and removing it from the drink

      2     machine.   So we have a claim construction dispute that has

      3     been resolved by Judge Sleet and that is all there is to it,

      4     really.    It's pretty simple.

      5                   THE COURT:    All right.     You're done.   That's

      6     good.    Let's hear from the defense.

      7                   MR. DiGIOVANNI:     Looking for the clicker, Your

      8     Honor Your Honor.     Sorry.

      9                   I have a series of slides, Your Honor.         You

     10     know, I will tell you, to be honest, I have 18 slides, 17

     11     slides.    Let me go to the one slide that does address very

     12     directly claim construction.

     13                   So, Your Honor, I need to go to the claim.           So,

     14     first of all, Judge sleet did not reject defendants'

     15     arguments regarding the while.       That didn't happen.      Judge

     16     Sleet ruled that it should be the plain and ordinary meaning

     17     of the phrase direct rinsing fluid onto the splash shield

     18     using the nozzle while isolating the vessel from the rinsing

     19     fluid.

     20                   So for the term while in there, and that's a

     21     necessary term, it's the plain and ordinary meaning of

     22     while, which is at the same time.         Just as, this is a method

     23     claim, every step --

     24                   THE COURT:    So, wait, wait.

     25                   MR. DiGIOVANNI:     Sure.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 162 of 213 PageID #: 11697
                                                                           162


      1                   THE COURT:    Is Sleet's ruling in the appendix?

      2                   MR. DiGIOVANNI:      I have it in the slide.

      3                   THE COURT:    Okay.

      4                   MR. DiGIOVANNI:      The very next slide.    So here's

      5     Judge Sleet's claim construction order.

      6                   THE COURT:    Okay.

      7                   MR. DiGIOVANNI:      The term while isolating the

      8     vessel from the rinsing fluid is construed to have its plain

      9     and ordinary meaning.

     10                   THE COURT:    Right.   What did you guys ask to

     11     have it construed as?

     12                   MR. DiGIOVANNI:      What we asked for was that the

     13     term be given a meaning that required shielding.          Okay.

     14     That required an actual trap door mechanism or something

     15     that actually physically shielded.

     16                   THE COURT:    All right.    Do you have what you

     17     asked for up here?

     18                   MR. DiGIOVANNI:      I don't.

     19                   THE COURT:    Mr. Chambers, was it on your slide?

     20                   MR. CHAMBERS:    Well, you see the footnote there,

     21     Your Honor, number five.

     22                   THE COURT:    Yes.

     23                   MR. CHAMBERS:    That's the other thing you need

     24     to read.

     25                   THE COURT:    Okay.    All right.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 163 of 213 PageID #: 11698
                                                                           163


      1                   MR. DiGIOVANNI:     But the judge does not address

      2     in the claim construction the term while.         He recognizes

      3     that we -- our construction would have had the word, would

      4     have had the word while in it, but he doesn't address it.

      5                   THE COURT:    What is footnote five?      Can you

      6     remind me?

      7                   MR. FLYNN:    If you switch back to plaintiff for

      8     a second.

      9                   MR. DiGIOVANNI:     Sure.

     10                   THE COURT:    All right.

     11                   MR. CHAMBERS:    Here's a pertinent part --

     12                   THE COURT:    Mr. Chambers, you can have a seat.

     13     All right.

     14                   So footnote five.      Do that begin with the Court

     15     is guided by the following specification language?

     16                   MR. DiGIOVANNI:     That's not the entire footnote,

     17     Your Honor.    I can read it, Your Honor.       It's DI 83.    The

     18     Court says, the Court finds no need to define the term while

     19     isolating the vessel from the rinsing fluid because the term

     20     should be given its plain and ordinary meaning.

     21                   THE COURT:    Right.   I'm listening.

     22                   MR. DiGIOVANNI:     Okay.   And then it quotes

     23     Phillips, the Phillips case.       I can skip that, I think.

     24                   And then the Court says, the Court is guided by

     25     the following specification language.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 164 of 213 PageID #: 11699
                                                                           164


      1                   THE COURT:     Right.

      2                   MR. DiGIOVANNI:     That's what we see up here.

      3                   THE COURT:     Okay.

      4                   MR. DiGIOVANNI:     Okay.   And then the Court says

      5     after that, defendants' construction improperly introduces

      6     the word shielding as a negative limitation by arguing that

      7     a barrier or door must shield.        But the Court will not read

      8     those into this term.

      9                   So as I said, the Court did not reject plain and

     10     ordinary meaning.     In fact, adopted the plain and ordinary

     11     meaning, but rejected this affirmative negative limitation

     12     that we did ask for for a barrier or a door.         So we're left

     13     with plain and ordinary meaning.       And what they are doing as

     14     claim construction -- and I have a slide to show that, Your

     15     Honor.   You know, it was No. 16.      16.

     16                   So this is an excerpt of their brief.        So this

     17     is their summary judgment reply brief.        They really -- this

     18     is a real tell here, Your Honor, because here's what they

     19     say.   They say, defendants argue that the word while in the

     20     isolating step requires that the initial action to isolate

     21     the cup take place at the same time as the rinsing.

     22                   Yes, we're arguing plain and ordinary meaning.

     23     We are arguing that the word while has its plain and

     24     ordinary meaning, because that's what the judge told us to

     25     do.    We have to do that.    But here's what they did.       Then
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 165 of 213 PageID #: 11700
                                                                           165


      1     they go into the specification.       They say, oh, no, that's

      2     not right.    Look what the specification says.

      3                   That's claim construction.       They're the ones who

      4     are looking to, instead of import the plain and ordinary

      5     meaning of while, which is at the same time, no one disputes

      6     that that's the plain and ordinary meaning of the word

      7     while.   They are the ones who are saying, oh, no.         You have

      8     to go to the specification to really see what that means.

      9     That's claim construction.      They are doing that.

     10                   We are going with plain and ordinary meaning.

     11     You know, it's true that in Dr. Slocum's expert report, he

     12     does provide some bases on alternative constructions,

     13     because we had a motion for reconsideration pending, but

     14     that's behind us.     He does, Dr. Slocum gives an opinion on

     15     when he uses the plain and ordinary meaning of while, which

     16     is at the same time, and he applies the claim to the accused

     17     product and he says, yes.      It doesn't happen.      It requires

     18     the rinsing step, active step to occur while this active

     19     isolating step occurs.      And Dr. Slocum explains, that just

     20     doesn't happen in our products.

     21                   And this is another tell here, Your Honor.         I

     22     have a number of these that are tells.        Why don't we go back

     23     to slide -- go to slide seven, please.

     24                   So this is from their brief.       You read their

     25     paraphrase -- you read their paraphrase of the claim.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 166 of 213 PageID #: 11701
                                                                           166


      1     Instead of while, they have after.        That's not while.

      2     That's the opposite of while.       So they're reading while out.

      3     They are doing what they can to read while out of it.

      4                    THE COURT:   All right.    You've made a valid

      5     point.    Do you have anything else on it?

      6                    MR. DiGIOVANNI:    I mean, yes.

      7                    THE COURT:   Keep going.    I just want to hear

      8     from the other side on this point, so go ahead.

      9                    MR. DiGIOVANNI:    Your Honor, I don't know if

     10     there's anything I could add other than, to the core point

     11     here except that, you know, another way they sort of -- they

     12     sort of avoid while is they use the phrase isolated, a past

     13     tense thing.    Again, they're missing the point of rinsing or

     14     isolating while rinsing.      Instead they either hide while,

     15     they don't use it.     I don't mean to say that in the bad

     16     sense of hiding it, but they avoid the word while.          They use

     17     the word after, or they use the past tense isolated, and

     18     they -- we are using the plain and ordinary meaning of

     19     while.

     20                    THE COURT:   Hold on.   Okay.

     21                    MR. DiGIOVANNI:    Your Honor, those are the core

     22     points.   Do you have anything else for me, Your Honor?

     23                    THE COURT:   Well, why don't I just follow up.

     24                    MR. DiGIOVANNI:    Sure.

     25                    THE COURT:   So demonstrate to me, how are you --
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 167 of 213 PageID #: 11702
                                                                           167


      1     Judge Sleet rejected, what was your limitation you wanted?

      2                   MR. DiGIOVANNI:     Shielding.

      3                   THE COURT:    Right.

      4                   MR. DiGIOVANNI:     There's another word, but

      5     shield.

      6                   THE COURT:    How do you shield?

      7                   MR. DiGIOVANNI:     I can tell you how the sole

      8     embodiment in their patent does it, right, is it has -- the

      9     milkshake goes up after mixing.       I'm sorry.    The lid goes

     10     up.   The milkshake stays there.

     11                   MS. SILVERSTEIN:     No, no, no.

     12                   MR. FOSTER:    Mixing up there.

     13                   MR. DiGIOVANNI:     There's a chamber up top.

     14     There's an open area on the bottom.        This is their machine.

     15     This is the embodiment, too.       Select your milkshake, put

     16     it in, you put it in the holder, press a button.          It goes

     17     up into this chamber.      Goes through these secret trap doors.

     18     Not secret, but they're trap doors.        Goes up in there.

     19     The blending happens.      You don't see it, there's no window.

     20     It comes down.    There's a milkshake.      Wow, all blended.

     21     Okay.   Then, as soon as it does that, the lid goes back up

     22     into that chamber through the trap doors.

     23                   MS. SILVERSTEIN:     No.

     24                   MR. DiGIOVANNI:     The lid never comes down.      I'm

     25     sorry, Your Honor.     The lid never comes down.       So the
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 168 of 213 PageID #: 11703
                                                                           168


      1     trap -- the door is used for the holder and the cup.           The

      2     cup goes up, gets mixed.

      3                   THE COURT:    Okay.

      4                   MR. DiGIOVANNI:     So the lid stays up in the top

      5     chamber.    The trap doors close and then the rinsing happens.

      6     Okay.   Then the lid is now clean and ready to be used.

      7                   We had asked for a construction that required a

      8     type of shielding door, so based on this whole embodiment.

      9                   THE COURT:    Okay.

     10                   MR. DiGIOVANNI:     The judge rejected that and

     11     said, no.    We're going to use the plain and ordinary meaning

     12     that has the word while in it.       It requires that rinsing

     13     occur while the isolating step occurs.

     14                   THE COURT:    Okay.   Mr. Chambers?

     15                   MR. CHAMBERS:    Your Honor, I think I can be

     16     really brief here.     First of all, I think we've established

     17     that there's only one dispute on infringement of claim 21,

     18     and that's the word while, period, just while.          And our

     19     proposed claim construction was plain and ordinary meaning.

     20     Theirs was that you need the trap door, and it's true in the

     21     specification, the trap door is a preferred embodiment.           And

     22     we said that, no, you don't have to have a trap door.           You

     23     can also isolate it while you're doing the rinsing by

     24     removing the cup from the drink machine.         We said there was

     25     a second way of doing that in the specification.          So that
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 169 of 213 PageID #: 11704
                                                                           169


      1     was our position.     You didn't need a trap door.       You could

      2     satisfy the while by removing the cup from the drink

      3     machine.

      4                   And so Judge Sleet, and they argue, no, you

      5     can't do a while by removing the cup from the -- from the

      6     machine, and you can see what Judge Sleet determined.

      7     That's essentially it.

      8                   THE COURT:    All right.

      9                   MR. DiGIOVANNI:     Can I point to just one more

     10     slide, Your Honor?

     11                   THE COURT:    Sure.

     12                   MR. DiGIOVANNI:     I think it would be helpful.

     13     They said this in their brief and Mr. Chambers said it just

     14     now, that there's this second way to do it in their patent

     15     that doesn't have a hinged door.       It's just not -- it's not

     16     supported by the patent specification.

     17                   The language they cited and that Judge Sleet

     18     quoted is the part in yellow at the bottom where it says,

     19     the cup may then be removed from the drink machine.           The

     20     very next line is, next, the hinged doors are closed and

     21     rinse fluid is directed.      So there's only one embodiment.

     22                   THE COURT:    Why is that relevant to what's

     23     before me though?

     24                   MR. DiGIOVANNI:     It's not directly relevant.

     25                   THE COURT:    Okay.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 170 of 213 PageID #: 11705
                                                                           170


      1                   MR. DiGIOVANNI:     But it certainly corrects what

      2     they said in their brief.

      3                   THE COURT:    All right.

      4                   MR. DiGIOVANNI:     And what they said right here.

      5     And I think it reflects that the cup may then be removed

      6     from the drink machine.      That statement itself, that's not

      7     what isolating is all about.

      8                   THE COURT:    Okay.   Do you want to quickly hit

      9     the next one?

     10                   MR. CHAMBERS:    Yes.   That would be the '150

     11     patent.   And so the '150 patent, this is the one with the

     12     rinse chamber, Your Honor.      And the prior art for that was

     13     open, so if you tried to do rinse, it would splash all over

     14     the place.

     15                   So we're asserting claim 15 of that patent, and

     16     the only disputed claim limitation on this one that I know

     17     of is the rinse chamber in the mixing machine.

     18                   So at the Markman hearing, Judge Sleet adopted

     19     our proposed construction of rinse chamber to mean an

     20     enclosure in which a rinse apparatus is positioned to

     21     provide rinsing.

     22                   So if you look at their machine, the MIC2000,

     23     the BIC3000, they both have an enclosure in which a rinse

     24     apparatus is positioned to provide rinsing, and I put in

     25     arrows on the slide to show what defines enclosure.           You
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 171 of 213 PageID #: 11706
                                                                           171


      1     have the door there.     You have these side panels of the door

      2     assembly.    At the bottom you have the wash chamber and

      3     drain.    That's where the rinse nozzles are located.         They

      4     come up from the bottom and they shoot upward towards the

      5     splash shield, and that's actually a very key invention of

      6     Mr. Farrell, is pre-positioning the rinse nozzle so they hit

      7     the top, or, excuse me, the bottom surface of the splash

      8     shield.

      9                   So the rinse nozzles are on the bottom, and then

     10     on the top you have the splash shield defines enclosure.             So

     11     they have the enclosure that meets the limitations of the

     12     claim, which is that it has an entrance in the door moveable

     13     to a closed position cover in the entrance.

     14                   So they have a structure in all of their accused

     15     blenders that matches Judge Sleet's claim interpretation and

     16     the requirements of the claim.

     17                   So what is their defense here?       Their defense is

     18     that, well, we now added to our rinse chamber this

     19     retractable partition that can go up and down.          We put

     20     something else inside that can move up and down.          And so the

     21     law is actually very clear on this, that if you have all of

     22     the elements of the claim, in this case, the door, the side

     23     panels forming the enclosure, simply by adding more

     24     structure, that does not avoid infringement, and that's the

     25     A.B. Dick case we cite.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 172 of 213 PageID #: 11707
                                                                           172


      1                   So, again, what their argument is during the

      2     claim construction, they argued that the enclosure must be

      3     separate from the splash shield.       The rinse fluid must be

      4     confined in the chamber, and so their argument is, well, we

      5     put in this new retractable partition, and it wouldn't meet

      6     these proposed claim limitations of ours, so -- and Judge

      7     Sleet rejected it.     He said, no.    The claim is does not

      8     require that.      So what they're doing, they are just trying

      9     to reargue the point.

     10                   THE COURT:    Right.    I get it.   Anything else

     11     specific?    No?   All right.

     12                   Defendants?

     13                   MR. DiGIOVANNI:      So, Your Honor, just as the 622

     14     motion, we don't infringe because we don't do the rinsing

     15     while the isolating step occurs.       Here, we do not have a

     16     rinse chamber.

     17                   THE COURT:    You know, go back to the plain and

     18     ordinary meaning.     Let's just go back to claim 21 for a

     19     second.

     20                   MR. DiGIOVANNI:      Sure.

     21                   THE COURT:    The rinsing, when is the rinsing

     22     taking place?

     23                   MR. DiGIOVANNI:      In the accused product?

     24                   THE COURT:    Yes.

     25                   MR. DiGIOVANNI:      In our accused product, the
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 173 of 213 PageID #: 11708
                                                                           173


      1     rinsing -- I actually have a video I could play, but the

      2     rinsing takes place after someone removes the cup from the

      3     machine.

      4                   THE COURT:    Right.

      5                   MR. DiGIOVANNI:      It has to.   It's in the way.

      6     The cup with the milkshake in it that has just been blended,

      7     it's in the way of the whole rinse nozzle and the rinse

      8     container.    You have to move it out of the way.

      9                   THE COURT:    Isolate it.

     10                   MR. DiGIOVANNI:      You have to do that.     You have

     11     to --

     12                   THE COURT:    It's occurring while you're

     13     isolating.

     14                   MR. DiGIOVANNI:      The rinsing?

     15                   THE COURT:    Yes.

     16                   MR. DiGIOVANNI:      No.   We would say no.    We

     17     would say no, Your Honor.      The isolating, and I have a slide

     18     where they -- what they point to is isolating, and they have

     19     a -- they say in this case -- can you go to slide 10?             Thank

     20     you.

     21                   This is in response to our -- we cite case law

     22     that says you have to have an active step and this is in

     23     footnote three of their reply brief.        They say, defendants

     24     argue that isolating must be construed as an active step,

     25     and their response is, well, in this case, the user is
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 174 of 213 PageID #: 11709
                                                                           174


      1     actively removing the cup with their hand from the accused

      2     blenders to isolate it from there.        Well, if the active

      3     removing is isolating, because the word is isolating in

      4     there.    Rinsing isn't happening.     The rinsing is not

      5     happening at that point.      The rinsing does not happen until

      6     after the isolating occurs, not while it's being isolated.

      7     While -- after -- I'm sorry.       The rinsing does not occur in

      8     our product, in our blenders, all the blenders until after

      9     this step of isolating occurs.       It does not happen while it

     10     occurs.

     11                   THE COURT:    Is this in the briefing?      I mean, is

     12     there a trigger mechanism when you remove the cup that

     13     switches on the rinsing, if you know?

     14                   MR. DiGIOVANNI:     I know.   I just wonder if it's

     15     in the briefing.     It's the safety door.      You can see the

     16     handle on the right there.      There's little magnets.       You can

     17     actually see them.     There are two different mechanisms,

     18     safety mechanisms.     Open that door up, those magnets unclick

     19     and now nothing can happen, so someone can reach their hand

     20     in there and you are going to be safe.

     21                   Not only that, but there's a sensor behind where

     22     the milkshake would be to sense if the milkshake is still

     23     there, because if the milkshake gets somehow stuck into the

     24     washer over here, you're going to make a big mess.          There's

     25     a double sensor, double safety mechanism.         You pull that
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 175 of 213 PageID #: 11710
                                                                           175


      1     milkshake out, okay, close the door.            The sensor senses

      2     there's nothing there.          Then, only after that happens, after

      3     that happens, not while, our wash chamber mechanism, the lid

      4     on the wash chamber mechanism comes down over the nozzle and

      5     then you see spraying.          Actually, you see the spraying going

      6     on on the right.        So it's sequential in ours.         The isolating

      7     step is not happening while the rinsing is happening.

      8                     THE COURT:      All right.

      9                     MR. DiGIOVANNI:        Okay.   Back to --

     10                     THE COURT:      Yes.   Go back.

     11                     MR. DiGIOVANNI:        Okay.   And I guess one last

     12     thing, Your Honor, just before I leave the '662.              Remember,

     13     this is all about a method for rinsing a splash shield on a

     14     mixing machine, so if their contention is somehow somebody

     15     takes this away and that counts as part of the isolating, we

     16     disagree.    There needs to be that active step of isolating,

     17     and that's our -- our argument does not hinge on that, but

     18     that's additional reinforcement for that concept.

     19                     THE COURT:      All right.

     20                     MR. DiGIOVANNI:        If we can go back to slide 19.

     21     Let's go to 19.

     22                     Okay.    Yes.    So the accused products don't

     23     infringe because we do not have a rinse chamber having a

     24     door.   Okay.    Judge Sleet did defines rinse chamber and

     25     we're abiding by that and there's no complaint about that
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 176 of 213 PageID #: 11711
                                                                           176


      1     whatsoever.    But the rinse chamber has to have a door.

      2     Okay.

      3                   The plaintiffs construct an ad hoc enclosure

      4     that they point to.     They say, aha, that's your enclosure.

      5     That's your rinse chamber.      But there's a problem with that,

      6     three problems with that.      It's not an enclosure.      Okay.

      7     It's not a rinse chamber having a door, and it's certainly

      8     not suitable for rinsing.

      9                   Now, so just as a summary, the accused products

     10     have a wash chamber without a door, and on the accused

     11     products, the door assembly is immaterial to rinsing.

     12                   So let me get to these points quickly.         Claim

     13     language we've already seen, requires that there be a rinse

     14     chamber having an entrance and a door moveable to a closed

     15     position covering the entrance.       Okay.   And there's no

     16     dispute, whatever it is that's being pointed to as a rinse

     17     chamber has to be, has to have a door.        And then Judge

     18     Sleet's construction is below.       Rinse chamber is construed

     19     to mean an enclosure in which a rinse apparatus is

     20     positioned to provide rinsing.       Okay.

     21                   So that was my video.      I won't play the video to

     22     save time unless Your Honor wants to see it.         Okay.

     23                   Here are stills of the video.       This is a view of

     24     our wash chamber, I will call it, in which rinsing does

     25     occur.   The safety doors are taken off here so you could see
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 177 of 213 PageID #: 11712
                                                                           177


      1     it better.    So is the top sort of -- the control panel, so

      2     you can see what's going on.

      3                   So our wash chamber is that cylinder with the

      4     lid and the cylinder and it comes down and it comes down.

      5     In the left position it's down, and you can see there's

      6     water.   That's rinsing going on.

      7                   That would be the natural thing for them to

      8     accuse, ah, there's your rinse chamber.         The problem is it

      9     doesn't have a door, so they can't accuse that.          So they

     10     don't accuse that as being the rinse chamber.          There's no

     11     door.    That would clearly, absolutely not infringe, so they

     12     don't even bother with that.       Instead they have to

     13     construct, and this is where their expert says, I don't see

     14     a door on that.     So there's no dispute there's no door on

     15     our cylindrical wash chamber.

     16                   So, and, again, here is -- this is just -- this

     17     is their brief talking about -- yes.        I think we can skip

     18     over some of this, Your Honor.       I'm just looking to save

     19     some time here.

     20                   THE COURT:    Yes.   This is repetitive.     You've

     21     got a door.

     22                   MR. DiGIOVANNI:      Yes.   There's no door.

     23                   THE COURT:    I'm sorry.    Right.

     24                   MR. DiGIOVANNI:      That's right.    There is no

     25     door.    That's right.   So what do they do?       They have to find
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 178 of 213 PageID #: 11713
                                                                           178


      1     something in order to accuse us of infringing the door.

      2     There's only one door on that machine and it's that safety

      3     door.

      4                   So they say, okay.     That's your door, and then

      5     once they do that, they have to then figure out, well, what

      6     are we going to now accuse as the rinse chamber?          So they

      7     kind of -- they construct one and this is both their opening

      8     and reply brief and it actually says the same thing on the

      9     slide we just saw from Mr. Chambers.        They say, the

     10     enclosure is defined by the door, the door assembly side

     11     panels, which are these clear panels that kind of look like

     12     a door.    There's no handle and they don't open or close.

     13     And then they say the wash chamber/drain.         Presumably,

     14     that's the bottom of it.      And then the splash shield.       They

     15     say, aha, that's your enclosure and that's your rinse

     16     chamber.   That's what they say.

     17                   So that's their infringement contention.          They

     18     say that, Hamilton Beach, that is your enclosure and that is

     19     your rinse chamber.     But here's what looks like it if you

     20     put it into graphical.      The enclosure is defined by -- the

     21     left may be the most clear, Your Honor.         It's the door and

     22     then you have the left and right clear panels, and then you

     23     have the splash shield, which is defined as the lid, which

     24     moves up and down, and then they say, the wash

     25     chamber/drain, which is depressed a couple inches
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 179 of 213 PageID #: 11714
                                                                           179


      1     underneath.

      2                   How is that an enclosure?      It's not, Your Honor.

      3     That's sort of a mishmash of parts, makeshift, cobbled

      4     together components, but in no way is that an enclosure let

      5     alone a rinse chamber with a door.

      6                   So that is their allegation.       They say, that's

      7     your enclosure, that's your rinse chamber.         We say, no, it's

      8     not even an enclosure, and it's certainly not a rinse

      9     chamber.

     10                   So --

     11                   THE COURT:    Can the mixing occur when the door

     12     is open?

     13                   MR. DiGIOVANNI:      Oh, no, Your Honor.    Safety.

     14                   THE COURT:    Yes.

     15                   MR. DiGIOVANNI:      There's a two safety mechanism

     16     lockout.   That cannot happen.      Once that door is open, I

     17     understand it's an electrical lockout.        Nothing else can

     18     happen.

     19                   But it's important to note sort of to understand

     20     this functionally, and on the right this explains it.           The

     21     safety door doesn't even catch water.        It doesn't get

     22     splashed on and neither do the left and right panels,

     23     because our rinsing is happening -- it's happening all in

     24     that cylinder.    So that would be the natural thing to say,

     25     hey, there's your rinse chamber, because that is our wash
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 180 of 213 PageID #: 11715
                                                                           180


      1     chamber I will call it just to distinguish the two.           There's

      2     no door on it.    So they had to scramble and they come up

      3     with this sort of a makeshift -- makeshift chamber.           That's

      4     not a chamber.    I mean, you have a disk on the left.         I

      5     tried to make a PowerPoint.       That moves up and down.      That's

      6     the top?   That doesn't make any sense.       That's not an

      7     enclosure.

      8                   THE COURT:    Okay.

      9                   MR. DiGIOVANNI:     I think I said that.     This is

     10     just showing you that it's not just me saying that.           Our

     11     expert did the same thing, did the analysis and said, that's

     12     not consistent with the structure and operation of the

     13     accused product.     He points it out.     Comes up with, he says,

     14     you know -- this is a different point.        But I mean, he says

     15     that's not -- what they're accusing he said is not a rinse

     16     chamber.

     17                   THE COURT:    All right.

     18                   MR. DiGIOVANNI:     Okay.   And this is sort of --

     19     one of my final points is, you know, another reason that

     20     last limitation talks about the nozzle being within the

     21     chamber.   I mean, I'm not a hundred percent clear what

     22     they're accusing is the chamber, because what they pointed

     23     to is certainly not a chamber, but these are recessed pretty

     24     significantly below that.      That wouldn't even be part of

     25     some kind of chamber.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 181 of 213 PageID #: 11716
                                                                           181


      1                   And as I stated already, you know, these outer

      2     safety doors and pans, they have nothing to do with rinsing

      3     in any event if we're talking about bigger picture about

      4     what they are actually accusing just to demonstrate that, in

      5     fact, their read is quite a stretch.        This goes to that

      6     point, Your Honor.     Thank you.

      7                   THE COURT:    Thank you.

      8                   MR. CHAMBERS:    Your Honor, I can be real brief

      9     here.    There's only one element in dispute for this claim,

     10     which is the rinse chamber, and if you look at Judge Sleet's

     11     construction, an enclosure in which a rinse apparatus is

     12     positioned to provide rinsing.       It also in the claim

     13     mentions a door moveable in an entrance.

     14                   THE COURT:    Can I ask you --

     15                   MR. CHAMBERS:    Go ahead.

     16                   THE COURT:    The rinse chamber in their product,

     17     is it the cylinder?

     18                   MR. CHAMBERS:    That's added to the enclosure.

     19     Now, remember, in the prior technology you just had it

     20     opened where you didn't have any sort of enclosure

     21     whatsoever, and the water would be splashing all over the

     22     place.   So part of the invention was coming up with the idea

     23     of having an enclosure so you don't have water splashing all

     24     over the place with a door.

     25                   So this meets the literal -- the literal
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 182 of 213 PageID #: 11717
                                                                           182


      1     language of the claim and also the concept, which is having

      2     an enclosure within which to contain the water.

      3                   So let me give you an analogy here, which would

      4     be a shower room.     So a shower room in Judge Sleet's

      5     construction is an enclosure in which a rinse apparatus is

      6     positioned to provide rinsing.       So you could describe a

      7     shower room with that.

      8                   So what they've done is they put in shower

      9     curtains in the shower room and they said, okay.          We no

     10     longer have a shower room because we put a curtain in the

     11     shower room to restrict the water.        Well, it still meets the

     12     definition of shower room because you've still got an

     13     enclosure with a rinse apparatus positioned to provide

     14     rinsing.

     15                   So, again, the structure is not in dispute.         We

     16     only have one claim element.        It really is getting back to a

     17     claim construction dispute, but the Court can make its own

     18     determination about whether they have a door and an

     19     enclosure.

     20                   THE COURT:    Okay.    All right.   There was a third

     21     thing you had real quick?      No.   Mr. Flynn, you were dealing

     22     with that.    Did you already deal with that?

     23                   MR. FLYNN:    Your Honor, the only other one in

     24     addition to the public use which we discussed is we did have

     25     a final summary judgment on no invalidity of the '662 patent
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 183 of 213 PageID #: 11718
                                                                           183


      1     based on any admissible prior art.        The Court has now struck

      2     all of their prior art for the '662 patent, so we would ask

      3     for summary judgment on that.

      4                   THE COURT:    Do you challenge that now that I've

      5     ruled on Sato?

      6                   MR. FOSTER:    As far as prior art goes, that's

      7     right, Your Honor.

      8                   THE COURT:    All right.    Then the defense, do you

      9     want to present argument on your summary judgment motion at

     10     all?

     11                   MR. DiGIOVANNI:     Yes Your Honor.     Thank you.

     12                   So this one, Your Honor, we've talked about a

     13     bit earlier in the context, the '658 patent.         We've talked

     14     about it in the context --

     15                   THE COURT:    Can I ask you incidentally --

     16                   MR. DiGIOVANNI:     Yes.

     17                   THE COURT:    -- how these patents work?       You

     18     know, if one or two patents is taken out of the case, what

     19     is do it really do?     What's the effect?

     20                   MR. DiGIOVANNI:     If one or two are taken out of

     21     the case?

     22                   THE COURT:    Are taken out of the case, yes.

     23                   MR. DiGIOVANNI:     It's all case specific, but in

     24     terms of this case, the '377 --

     25                   THE COURT:    I meant this case.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 184 of 213 PageID #: 11719
                                                                           184


      1                   MR. DiGIOVANNI:     The '377 has expired, so I'm

      2     not sure why it's in it.      I'm not the damages person in this

      3     case, but as I understand it, there's no damages even being

      4     alleged based on '377.

      5                   MS. SILVERSTEIN:      Well, it affects our damages

      6     calculations.    Their expert has said that it has no value to

      7     their damages case.

      8                   THE COURT:    Do you agree with that?

      9                   MR. CHAMBERS:    Do you want to address that?

     10                   MR. FLYNN:    Your Honor, I think both experts

     11     analyzed the '377, but I agree that any damages implications

     12     on the '377 are fairly minimal.

     13                   THE COURT:    Okay.

     14                   MR. DiGIOVANNI:     And it's expired, so there's no

     15     injunction.

     16                   THE COURT:    Right.

     17                   MR. DiGIOVANNI:     So it seems not to have purpose

     18     in this case.

     19                   THE COURT:    All right.

     20                   MR. DiGIOVANNI:     And another thing is, Your

     21     Honor, as we had -- well, anyway, that one stands alone in

     22     that it has a different priority date, a different

     23     specification, and the other three stand, are together as a

     24     group because they're all based on the '150.         So '377 does

     25     stand out.    So I hope that addresses your question in terms
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 185 of 213 PageID #: 11720
                                                                           185


      1     of what you do.

      2                    THE COURT:   Okay.

      3                    MR. DiGIOVANNI:    All right.

      4                    THE COURT:   Go ahead.

      5                    MR. DiGIOVANNI:    So '658, Your Honor.      The '658.

      6     As you'll recall, that's the patent and this is our motion

      7     for summary judgment of noninfringement on the '658.

      8                    Okay.   So we're going to focus on for

      9     noninfringement, but we thought we would focus on the two

     10     limitations that we talked about in terms of no DOE, and

     11     that would be the unrestrained limitations.         I say plural

     12     because there are a couple of claims asserted, so they're

     13     slightly different but not materially that it would affect

     14     this motion.

     15                    Unrestrained limitations and the sufficient mass

     16     limitations.    A quick summary even again.       This all is about

     17     the splash shield.     Okay.   And the splash shield, now that

     18     we're getting familiar with the prop here, the splash

     19     shield, agreed upon definition, is the lid.         Okay.   The

     20     black part.    That's the lid.      We certainly say it's the

     21     black part.    It's all about the splash shield, and it has to

     22     do two things that are independent of each other.           The

     23     splash shield has to be unrestrained against sliding

     24     movement on the shaft away from the opening, so up and

     25     down, axial.    And the splash shield has to have sufficient
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 186 of 213 PageID #: 11721
                                                                           186


      1     mass to retain the cup within the cup holder.          We talked

      2     about that.    I don't need to repeat that.

      3                   THE COURT:    All right.

      4                   MR. DiGIOVANNI:     Unrestrained, we'll go with

      5     unrestrained first.     In both claims, they're precisely the

      6     same because the parties have agreed upon a construction as

      7     to what unrestrained means in both claims, both claims 1 and

      8     6.   Those are the two independent claims.

      9                   Unrestrained means at the bottom without any

     10     other mechanical means of restraining the upward sliding

     11     movement of the splash shield on the shaft apart from the

     12     mass or the weight of the splash shield itself.          Okay.

     13                   That construction is particularly important

     14     because there's an implication within it that, in fact,

     15     weight is a mechanical means.        Okay.   Without any other

     16     mechanical means of restraining the upward sliding on the

     17     shaft apart from the mass or weight of the splash shield

     18     itself.   Okay.

     19                   Now, that comes up a little bit later when we

     20     talk about what we -- this is going to the patent.          This is

     21     the embodiment of the patent.        It's the floating splash

     22     shield by itself.     No weights, no springs, nothing.        No

     23     friction.    There's no bearings it's dealing with.        This is a

     24     floating splash shield.      Okay.

     25                   In the accused product our lid is restrained two
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 187 of 213 PageID #: 11722
                                                                           187


      1     different ways.     One by that additional weight, holding up

      2     this for the record.     Restrained number one by the

      3     additional weight.      And, number two, by the friction force,

      4     friction that results between three different things.

      5     You saw in some of those other videos -- let me just go to

      6     one.

      7                    There are bearings that grasp the two rods that

      8     are above the lid.      Okay.   And there's the -- the blade rod

      9     goes through here, and this is called the spindled seal.

     10     There's friction in all three of those locations resisting,

     11     restraining.    Okay.   So those are the two restraints, means

     12     of restraint, mechanisms of restraint, mechanical means of

     13     restraint.

     14                    THE COURT:   If you go back to the drawing of

     15     the, I'm going to call it the third or an embodiment.

     16                    MR. DiGIOVANNI:    Sure.

     17                    THE COURT:   Right.   How is that lid moving up

     18     and down?    That is supposed to be unrestrained.        Isn't it

     19     hitting friction on the axle or on something?          No?

     20                    MR. DiGIOVANNI:    The only thing that causes it

     21     to move up and down, it has no -- nothing attached to it.

     22     The only thing is the cup that's below it.         When the cup

     23     moves up, the lid moves up.

     24                    THE COURT:   Well, so in rest, point of rest,

     25     just down at the bottom there over the blade?
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 188 of 213 PageID #: 11723
                                                                           188


      1                   MR. DiGIOVANNI:      Exactly.   I think that's

      2     correct.   You see that sort of trapezoidal portion there.

      3                   THE COURT:    Yes.

      4                   MR. DiGIOVANNI:      It gets caught on that.

      5                   THE COURT:    All right.

      6                   MR. DiGIOVANNI:      But when the cup is up there --

      7                   THE COURT:    Right.

      8                   MR. DiGIOVANNI:      When the cup elevator goes up

      9     and it will take it off of that trapezoidal point and lift

     10     it up, you know, the side of the length of a cup.          Never

     11     does the embodiment have anything else -- have anything else

     12     restraining it other than the weight of itself.          It's like a

     13     baseball donut or whatever you would call it that's heavy

     14     enough to force that, the cup down so it's on the --

     15                   THE COURT:    Okay.

     16                   MR. DiGIOVANNI:      So looking at the two different

     17     ways, our, the defendants' lid is restrained, the first one,

     18     number one here.     It's restrained by the additional weight,

     19     attached by rods.     The cast iron weight, you know, the

     20     engineers say it's cast iron.        The addition of the weight

     21     makes it heavier.     Their expert Maynes says to retain the

     22     Hershey cup, that's the cup they use in the machine, in the

     23     MIC2000, that's one of our models, the Hamilton Beach --

     24     Hamilton Beach places a heavy cast iron guide rod weight on

     25     top of its splash shield.      That's what they say.      And in
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 189 of 213 PageID #: 11724
                                                                           189


      1     their opening brief they say, look, this heavy guide rod

      2     weight pushes down on the cup and thermally holds the cup

      3     firmly in the cup holder.      There's no doubt that guide rod

      4     weight, which is elevated as you saw above the lid, and even

      5     if it weren't elevated, the elevation is irrelevant.           It is

      6     not the lid, and the construction makes clear that it needs

      7     to be the lid, okay, that is unrestrained, and the lid that

      8     has sufficient mass.

      9                   THE COURT:    Okay.

     10                   MR. DiGIOVANNI:     The same with unrestrained.

     11     This is from plaintiffs' answering brief to the motion.

     12                   The defense, they're putting in is a DOE

     13     defense -- not defense.      They're the plaintiff.      But the

     14     allegation is not one that, hey, no, no, your lid is heavy

     15     enough.   Your lid is unrestrained.       They are using DOE

     16     language here.    They are saying, well, the guide rod weight,

     17     that's an integrated functional part of it.         That's DOE

     18     language.    They are saying, okay.      You don't have -- you

     19     don't have the lid, but you've got something that kind of

     20     acts like it.    That's DOE language and that's why the DOE is

     21     very important to us.

     22                   THE COURT:    Okay.

     23                   MR. DiGIOVANNI:     And then this is their

     24     answering brief.     Again, DOE language.     They call it a

     25     splash shield assembly as a functional unit.         DOE word.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 190 of 213 PageID #: 11725
                                                                           190


      1     They are not even making the literal infringement argument.

      2     It essentially, it is a DOE argument, and that's why we

      3     argue that.

      4                   Okay.   Now we go to part two, and this is the

      5     friction.    It's really the bushings and the spindle seal as

      6     I pointed out.    Those are the three points where friction is

      7     occurring.    Those are the three mechanical means that are

      8     restraining it.

      9                   Okay.   Our engineer says, yes, there's several

     10     things that would inhibit moving the lid upwards.          The

     11     weight would be one.     You'd also have the friction inside

     12     the bushings, and you'd have the friction inside the

     13     spindle.    This is our engineer.

     14                   Another engineer says, friction?        Yes, there

     15     will be friction.     It would restrict the upward movement.

     16     And then we have their own expert.        He says, there

     17     theoretically could be minor friction on the guide rods, and

     18     he says it's possible that there could be friction in the

     19     spindle.    This is his report.     Then at his deposition he

     20     says, there's friction.      Of course, there's friction there.

     21                   And as a sort of footnote to this slide, you

     22     know, one of Dr. Maynes', in response to the summary

     23     judgment motion, one of his five points of testing in his

     24     new report, he does some kind of technical friction test and

     25     he says, the friction is tiny.       Therefore, you shouldn't
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 191 of 213 PageID #: 11726
                                                                           191


      1     consider it.    I'm paraphrasing it.      I didn't study it to the

      2     point where I know it is.      But, again, we have not had a

      3     chance to depose Dr. Maynes.       It would be unfair to you.

      4     I'm not going to reargue that point, Your Honor.          But at a

      5     deposition he says, yes, there's friction.         Of course,

      6     there's friction there.

      7                    And --

      8                    THE COURT:   So you're going to get to put in

      9     front of a jury his earlier statement.        Right?

     10                    MR. DiGIOVANNI:    Yes.

     11                    THE COURT:   You don't dispute that.      Right, Mr.

     12     Chambers?    They get to put in front of the jury --

     13                    MR. CHAMBERS:   Yes, they get to put in his

     14     deposition testimony.

     15                    THE COURT:   No.   They get to put in his expert

     16     report to the extent he had a prior inconsistent statement.

     17     Right?

     18                    MR. CHAMBERS:   Yes, I would say so.

     19                    THE COURT:   All right.

     20                    MR. DiGIOVANNI:    The problem is he's going to

     21     say, but, yeah, I tested it, and look, it's .0001 Newtons.

     22     I'm not sure what it says exactly.

     23                    THE COURT:   Right.

     24                    MR. DiGIOVANNI:    But he's going to say that is

     25     negligible, and the person -- a person of ordinary skill in
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 192 of 213 PageID #: 11727
                                                                           192


      1     the art would consider that to be no restraint whatsoever.

      2     It's very different than what we had when we had his

      3     deposition in his original report.        All right.    I don't want

      4     to belabor that point.

      5                   So this is something in their answering brief.

      6     Not much to say about it except they say that the friction

      7     argument is analogous to arguing that gravity is an other

      8     mechanical means that restrains the splash field.          Gravity

      9     is part of the weight.      Mass plus gravity is weight, so

     10     actually gravity plus mass is another mechanical means.           We

     11     wouldn't point to gravity, but if there's a mass like there

     12     is, gravity acts on that and that is another mechanical

     13     means.

     14                   More about the friction.      Their own Dr. Maynes

     15     says before that new testing, but he says in his report,

     16     nonetheless, these incidental frictional contacts, so he's

     17     conceding there's frictional contacts.        These incidental

     18     frictional contacts are not the type of mechanical means

     19     that the patent, the patent was designed to avoid.          So he is

     20     the one doing claim construction here once again.

     21                   THE COURT:    Let me just ask you.       I want to ask

     22     Mr. Chambers, and I do not have an opinion on resolution of

     23     this pending dispute, but for argument's sake, if I've got

     24     Hamilton Beach's expert says the -- let me see.          Hamilton

     25     Beach's position is the lid is restrained by friction.           Is
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 193 of 213 PageID #: 11728
                                                                           193


      1     that correct?

      2                   MR. DiGIOVANNI:     As well as --

      3                   THE COURT:    As well as the weight.

      4                   MR. DiGIOVANNI:     As well as the weight, correct.

      5                   THE COURT:    And they've got an expert who

      6     supports that he says.      And then I've got Maynes.      And I

      7     look at Maynes' opening report and it's consistent entirely

      8     with that.    And then I've got -- just hear me for argument's

      9     sake.   I'm not saying I concluded that.        But if I accept his

     10     expert and I say that's right, but then I've got Maynes

     11     takes a subsequent different position, and let's say that

     12     the subsequent position he takes is the only arguably

     13     disputed factual assertion.       Can't I just grant summary

     14     judgment for the defendant at that point because I've got

     15     really undisputed fact that it's too late for him to make it

     16     up?

     17                   MR. CHAMBERS:    Let me just read from his report.

     18                   THE COURT:    Just answer the question.      I'm

     19     asking a hypothetical question.        I will let you argue all

     20     you want.

     21                   MR. CHAMBERS:    Okay.    So the answer is he's now

     22     taking a different position.        It's not the case.

     23                   THE COURT:    Okay.    All right.   Well, actually,

     24     that's helpful.     So your position would be that I need to

     25     interpret his subsequent report consistently with what his
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 194 of 213 PageID #: 11729
                                                                           194


      1     opening report said?

      2                   MR. CHAMBERS:    Yes.    They're both consistent,

      3     I'd agree with that.

      4                   THE COURT:    Okay.

      5                   MR. CHAMBERS:    Yes.

      6                   THE COURT:    All right.

      7                   MR. DiGIOVANNI:     Okay.

      8                   THE COURT:    Mr. DiGiovanni, if that's the case,

      9     then do you really have to worry about his testimony?

     10                   MR. CHAMBERS:    Again --

     11                   THE COURT:    I was asking Mr. DiGiovanni a

     12     question.

     13                   MR. DiGIOVANNI:     Do I have to worry about --

     14                   THE COURT:    In other words, he says he's going

     15     to come in and put up these numbers, but he has an estimate

     16     that's definitive there.

     17                   MR. DiGIOVANNI:     We absolutely have that, but he

     18     is going to come in and say, yeah, since that time I've gone

     19     out of the laboratory and I've done this and that.          Look at

     20     these wires, look at my photos doing that, and I used this

     21     calorimeter, whatever he used.        I mean, he comes up with

     22     this testing protocol that, you know, we certainly don't

     23     agree with.    We haven't had him tested on it.        We didn't

     24     take his deposition.

     25                   THE COURT:    But your point, am I right that
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 195 of 213 PageID #: 11730
                                                                           195


      1     you're saying this excerpt from Maynes' opening report

      2     supports your summary judgment argument?

      3                   MR. DiGIOVANNI:     Yes, it does.

      4                   THE COURT:    All right.

      5                   MR. DiGIOVANNI:     Yes.

      6                   THE COURT:    And so if I find that, I'm being

      7     told by Mr. Chambers that the subsequent report is entirely

      8     consistent with this?

      9                   MR. DiGIOVANNI:     You are being told that and I'm

     10     willing to accept that stipulation, but I'm worried about

     11     him on the stand showing his --

     12                   THE COURT:    But I'm on summary judgment now.

     13                   MR. DiGIOVANNI:     Yes.

     14                   THE COURT:    All right.    Do you have anything

     15     else you want to add?

     16                   MR. DiGIOVANNI:     I think there are a few more

     17     Your Honor.    A few more slides that would be worthwhile.

     18                   So we were talking about friction.        I think we

     19     end friction.    Oh, get to DOE.     I think maybe I don't have

     20     any more, Your Honor.

     21                   THE COURT:    All right.

     22                   MR. DiGIOVANNI:     I'm sorry.    Can I just check

     23     how I concluded that?      I didn't get to sufficient mass, Your

     24     Honor.   I actually did not get to my sufficient mass slide.

     25     I will start at 51, please.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 196 of 213 PageID #: 11731
                                                                           196


      1                   So I can go through this quick.       Just like we

      2     don't have unrestrained, that lid by itself, which is what

      3     the claim construction requires, claim construction calls

      4     the splash shield is a lid, they have no proof, they've put

      5     nothing forth to show that the splash shield is sufficient

      6     to retain the cup into the cup holder.        Completely failed

      7     proof on that.    So there's nothing that they have.

      8                   THE COURT:    Because they have not isolated the

      9     weight you would say?

     10                   MR. DiGIOVANNI:     They have not done that, that's

     11     correct, and they have not even suggested doing that.

     12     Instead they are saying, I think they're still saying you

     13     look at all of this stuff against the DOE argument.

     14                   THE COURT:    All right.

     15                   MR. DiGIOVANNI:     Yes.   They have not isolated it

     16     or done the math.     I don't think he did it any new testing.

     17     No, okay.

     18                   THE COURT:    All right.    That's a pretty quick

     19     argument.

     20                   MR. DiGIOVANNI:     Yes.   See, here they point to

     21     the assembly in sufficient mass.

     22                   THE COURT:    All right.

     23                   MR. DiGIOVANNI:     Then we go to DOE.     I think

     24     that's it, Your Honor.

     25                   THE COURT:    All right.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 197 of 213 PageID #: 11732
                                                                           197


      1                   MR. DiGIOVANNI:     Except there is one last one,

      2     slide 58.    This is five seconds.     There's also this other

      3     claim 5.    I'm not sure whether you are still maintaining

      4     that.   That's about the five pounds.       So I do have a slide

      5     on that if Your Honor wants to see slide 58.         That is,

      6     there's no material -- we can't possibly infringe this

      7     claim that says the splash shield is approximately five

      8     pounds.

      9                   Here is showing somebody weighing the thing and

     10     it's 527 grams.     That's 1.6 pounds.     The Dairy Queen version

     11     on the right is only half that weight.        It's only half a

     12     pound, yet they are still alleging, they are still bringing

     13     this claim against us that says the splash shield has to be

     14     half a pound.    So we would urge --

     15                   THE COURT:    Okay.

     16                   MR. FOSTER:    We would urge noninfringement on

     17     all of the '658 claims, Your Honor, based on sufficient mass

     18     and unrestrained limitations.

     19                   THE COURT:    All right.    Thank you.

     20                   Mr. Chambers?

     21                   MR. CHAMBERS:    So here, let me go back to the

     22     point I made earlier.      Remember, the prior art had springs

     23     to keep the splash shield down or to have the motor to keep

     24     it down.    So Mr. Farrell's invention was the idea of

     25     weighted splash shield with free movement up and down.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 198 of 213 PageID #: 11733
                                                                           198


      1     That's the essence of his invention, and I think that is

      2     shown.   Let's see.    Here we go.

      3                    Yes.   You can see it here.     And to answer Your

      4     Honor's question, yes, there can be friction there also when

      5     that splash shield is moved up and down.         If that gets

      6     misaligned somehow, there is going to be friction against

      7     the spindle.

      8                    So, you know, for one of ordinary skill in the

      9     art, what mechanical means is in the context of this

     10     invention is what was being distinguished when the

     11     prosecution was made in Patent Office, which is, no, we're

     12     not going to do springs, no, we're not going to do motors.

     13     We have a different approach of a weighted splash shield

     14     that moves freely up and down.       So that is the invention.

     15                    So let's go to the sufficient mass first.        So if

     16     they're not going to do sufficient mass, why do you put a

     17     heavy cast iron weight on top here?        That screams out and to

     18     the jury right there, that's the big question for the jury.

     19     If you are not using Mr. Farrell's patented invention, why

     20     do you put this heavy weight on top -- and you can see from

     21     the way I'm holding it, that this is an integrated unit,

     22     that this is an integral structural part of this unit and a

     23     very integral functional part.       That's something that the

     24     jury can look at and they can decide whether this weight has

     25     anything to do with keeping the splash shield down so that
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 199 of 213 PageID #: 11734
                                                                           199


      1     the cup is not spinning around.       And when they say that,

      2     well, they have not shown that it doesn't move around, well,

      3     we actually have.     They showed it in their own videos, and I

      4     think I may have that here also.

      5                   Yes.   Here it is.    In their videos, when they

      6     put the, this cast iron weight on top, it solves the problem

      7     that they were having earlier of the cup spinning around,

      8     and you can see from the videos, and the jury will be able

      9     to see, too, that the cup is not spinning around anymore

     10     when you use Mr. Farrell's invention.

     11                   So, yes.   And then Dr. Maynes, as you can see,

     12     put a gauge on the weight here, this unit that I'm holding,

     13     and you can see it measured 4.5 pounds, which is

     14     approximately five pounds.

     15                   So let's go to unrestrained.       Still, the key

     16     point here is why do you put on this heavy weight if you are

     17     not trying to take the invention?        Okay.   Unrestrained.    And

     18     let's see.

     19                   Yes, we discussed the other mechanical means,

     20     which were the springs and the motors and the nature of

     21     his invention and the fact that there could be friction

     22     there.

     23                   And so what about the Hamilton Beach device?

     24     Let's work in the real world now instead of the theoretical

     25     physics world.    Hamilton Beach technical specifications
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 200 of 213 PageID #: 11735
                                                                           200


      1     said, the shield assembly must move freely up and down with

      2     no binding.    All right.    Move freely.    I can cross-examine

      3     Dr. Slocum on that.     Is moving freely restrained or

      4     unrestrained?

      5                   Two, Hamilton Beach's design engineer,

      6     Mr. Branson, testified that design for that assembly has

      7     always been for it to fall under its own weight.          Free

      8     movement, unrestrained.

      9                   Dr. Maynes, there he is right there in the

     10     picture.   He tested it and moved it up and then dropped it

     11     and he found no discernible friction.        This is the real

     12     world.   It's free moving in the real world.

     13                   And then so incidental friction.        Again, as Dr.

     14     Maynes testified in his declaration, one of skill in the art

     15     would not consider that an other mechanical means.          What was

     16     referred to there is what was the prior art before the

     17     Patent Office that was being distinguished.

     18                   And so let me read what Dr. Maynes said in his

     19     report because we keep referring to it, and this is on page

     20     57 of his opening report.

     21                   He says, although there theoretically could be

     22     minor friction on the guide rods holding Hamilton Beach's

     23     cast iron weight that may inhibit unrestrained upward

     24     movement of Beach's splash shield during mixing, Hamilton

     25     Beach's engineers freely acknowledge that the purpose of the
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 201 of 213 PageID #: 11736
                                                                           201


      1     splash shield design has always been for it to fall under

      2     its own weight, citing Branson and Williams' deposition.            To

      3     accomplish that objective, Hamilton Beach uses lubricious

      4     materials from the seals and bushings coming in contact with

      5     Hamilton Beach's spindle and guide rods.         It's also possible

      6     there could be friction between f'real's rotatable spindle

      7     and f'real's weighted splash shield that could inhibit the

      8     unrestrained upward movement of f'real's waited splash

      9     shield.    Nonetheless, these incidental frictional contacts

     10     are not the type of mechanical means, e.g., springs, gear

     11     assemblies, to hold down the splash shield that the weighted

     12     f'real splash shield was designed to avoid.

     13                   Within the context of the '658 patent disclosure

     14     and the real world, Hamilton Beach has plainly appropriated

     15     f'real's invention of a splash shield having sufficient mass

     16     that is unrestrained as it moves upward during the mixing

     17     process.

     18                   THE COURT:    All right.    Thank you.

     19                   All right.    Those were helpful.      I mean, I've

     20     got to really do a deep dive now into the briefs and I will

     21     just try to move as fast as I can.

     22                   MR. DiGIOVANNI:     We did have one more

     23     noninfringement motion, the '377 patent.         That's the

     24     patent --

     25                   THE COURT:    That expired.    Okay.    Go ahead.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 202 of 213 PageID #: 11737
                                                                           202


      1     Sorry.

      2                   MR. DiGIOVANNI:      I don't have to, Your Honor.      I

      3     guess they withdraw it.      They withdraw their motion.

      4                   THE COURT:    Actually, what's the position on the

      5     '337?

      6                   MR. CHAMBERS:    Yes.   We can put on a

      7     presentation.    We obviously curtailed ours because this has

      8     been going on for five hours now.

      9                   THE COURT:    Yes.   I think I've heard enough.

     10                   So on jury instructions and voir dire, you

     11     submitted the Word versions.       Is that correct?

     12                   MR. FOSTER:    Yes, Your Honor.

     13                   THE COURT:    Both sides?

     14                   MR. FLYNN:    We had, Your Honor.     We submitted

     15     joint instructions.     We're going to perhaps need to modify

     16     those.

     17                   THE COURT:    I expect that.

     18                   MR. FLYNN:    As being part of the case.

     19                   THE COURT:    And, yes.    You know, we'll get to it

     20     as soon as we can.

     21                   So the trial is scheduled to begin a week from

     22     Monday.

     23                   MR. FLYNN:    Two weeks from Monday.

     24                   THE COURT:    Two weeks.    Well, that's good.     All

     25     right.    So we're doing willfulness, so we'll plan on
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 203 of 213 PageID #: 11738
                                                                           203


      1     eleven-and-a-half hours each side.        I think that's

      2     sufficient.    And I've already explained how we'll move --

      3     how we'll time it rather.

      4                    Anything else?

      5                    MR. DiGIOVANNI:      Just on that '377 patent.    Just

      6     to let you know, there are slides in my deck.

      7                    THE COURT:    Oh, that's fair enough.     Frankly, I

      8     will probably look at them.         In fact, Mr. Flynn, were you

      9     going to do the '377 argument?

     10                    MR. FLYNN:    I'm sorry?

     11                    THE COURT:    Were you doing the '377 argument?

     12                    MR. FLYNN:    No.

     13                    MR. CHAMBERS:    No.    I hate to be a hog here,

     14     Your Honor.    I was planning on doing it.       We do have slides

     15     in our deck.

     16                    THE COURT:    Do you want to bring them up?

     17                    MR. FLYNN:    Yes.

     18                    MR. DiGIOVANNI:      Ours are part of our master

     19     deck.   Slide 59 through the very, which is -- that is not

     20     the very end.    Through 69.

     21                    THE COURT:    Okay.    We'll start picking the jury.

     22     They come up at 9:30.       I get here at 9:00 on Monday morning.

     23     I'm going to seat the jury and so far every jury has done

     24     it.   They again at 8:30 and we cruise.

     25                    MR. FLYNN:    Your Honor, if I could just get one
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 204 of 213 PageID #: 11739
                                                                           204


      1     clarification with respect to the Daubert motion with

      2     respect to Dr. Maynes.

      3                   THE COURT:    Yes.

      4                   MR. FLYNN:    I understand that the evidence that

      5     he cites, you want that coming in through a precipient fact

      6     witness regarding commercial success.

      7                   THE COURT:    Yes.   I mean, I wouldn't mind

      8     hearing where you're coming from on that.         I read that

      9     affidavit.    I thought there were gratuitous, you know,

     10     references to how greedy these people are.         I don't know how

     11     anybody thought that would come in.        He's an infringement

     12     guy.   Why is he talking about all of the sales revenue

     13     numbers, and then even in the response brief you all

     14     basically said, yes, he's reciting undisputed facts.           I

     15     mean, it didn't seem necessary to his opinions.

     16                   MR. FLYNN:    Your Honor, I only ask --

     17                   THE COURT:    I'm inviting you if you want even

     18     though I've already ruled to maybe tell me in 30 seconds,

     19     what's the point?

     20                   MR. FLYNN:    Your Honor, it's relevant to the

     21     secondary considerations of nonobviousness where he's

     22     discussing the commercial success of the products.

     23                   THE COURT:    Right.   But he's a mechanical

     24     engineer.    How does he offer opinions about that?        That

     25     seems economic or it seems a factual issue.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 205 of 213 PageID #: 11740
                                                                           205


      1                    MR. FLYNN:   I understand, Your Honor, but he's

      2     also offering opinions about copying, which go to

      3     willfulness, which we didn't really address because we

      4     thought it was out.

      5                    THE COURT:   But I don't have a problem if he

      6     says, I'm looking at this device and I compare this device

      7     to the accused device and they're the same.         I get that.

      8                    MR. FLYNN:   Right.

      9                    THE COURT:   But his paragraphs in question went

     10     to the state of mind and the intent to copy and that seems

     11     to me clearly precluded by the law from coming in.          And so I

     12     did not mean to suggest by the opinion that he can't look

     13     at a device and compare it to another device.          I mean, he

     14     can do that.    I don't think you would reject that.        Would

     15     you?

     16                    MS. SILVERSTEIN:    I want to just note on the

     17     record, he doesn't do that in his report.         We would object

     18     to it on that basis.

     19                    THE COURT:   So if he didn't do it in his report,

     20     then he can't do it.

     21                    MS. SILVERSTEIN:    Yes.   If he had in his report

     22     something where he was comparing our machine to the f'real

     23     machine, we would have no objection.        He has no opinion of

     24     that in his report.     He compares to the claims.       That was

     25     all briefed.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 206 of 213 PageID #: 11741
                                                                           206


      1                    THE COURT:   Right.

      2                    MR. CHAMBERS:   Your Honor, let me mention, with

      3     regard, he does testify on obviousness, which is important

      4     on validity since they are challenging these patents on

      5     obviousness.    And you have the Graham versus John Deere test

      6     for the scope and content of the prior art, level of

      7     ordinary skill in the art, the differences, and then the

      8     fourth factor, which the Federal Circuit has said is often

      9     the most probative, is secondary considerations, such as

     10     commercial success and copying.

     11                    THE COURT:   But what's his specialized

     12     knowledge?    I didn't see anything.      He's a mechanical

     13     engineer.    Commercial success you need an economist or you

     14     need -- and, frankly, you don't even need an expert.           You

     15     can just introduce the sales figure and make a legal

     16     argument.

     17                    MR. FLYNN:   Your Honor, the issue is we need

     18     somebody to tie the f'real patents to the commercial,

     19     f'real's commercial embodiment.       Somebody needs to do that

     20     nexus analysis.     He discusses that in his report, that

     21     they do embody the f'real commercial product, that they

     22     copy, embody the f'real patents.       And you have to have that

     23     nexus.

     24                    THE COURT:   Wait a second.     Go ahead.

     25                    MS. SILVERSTEIN:    I would dispute that.      He
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 207 of 213 PageID #: 11742
                                                                           207


      1     specifically testified that in the deposition he did not

      2     perform an analysis of whether the commercial success goes

      3     to each claim, and that's the nexus that is required for

      4     obviousness and he didn't do that.        He said during the

      5     deposition, I did not look and see what success went to

      6     claim 21 of the '662, what goes to these two.

      7                   THE COURT:    Right.   Here's where I am.      I

      8     invited it.    I'm tired.    It's five of 6:00.     I appreciate

      9     you, Mr. Flynn, making the arguments.        I'm going with my

     10     ruling, but anyway.     So you want clarity?

     11                   MR. FLYNN:    Your Honor, all I wanted clarity was

     12     he won't -- that evidence won't be introduced to him,

     13     through him, but to the extent we have it introduced through

     14     other witnesses, can he still say, I can rely on these

     15     things to demonstrate their copying of the f'real product?

     16                   THE COURT:    I think copying is an intentional

     17     thing.   He can say -- I mean, that to me goes to intent.

     18     Unless you've got a case that tells me copying is something

     19     else, copying is -- I look at this and I go and I make

     20     something to copy this.      That's an intentional act it seems

     21     to me, and if you want to -- unless you've got a case that

     22     says, no, copying is something different, but it seems to me

     23     that's state of mind.

     24                   MR. FLYNN:    But, Your Honor, it's one of the

     25     secondary considerations.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 208 of 213 PageID #: 11743
                                                                           208


      1                   THE COURT:    So you argue it.     It's called legal

      2     argument.    You basically say -- I mean, the way I would do

      3     it is I would have factual evidence that says, the accused

      4     products copy f'real's products, and I've got evidence

      5     through your inventor that says, I came up with this idea

      6     and I made this product, which is one of the embodiments in

      7     this patent, and then I sold it on the market, and either

      8     through this witness or somebody else you say, you know,

      9     within a year, it's astounding, a hundred million dollars in

     10     sales, something like that.       Right?   You put that in there

     11     and that's commercial success.

     12                   MR. FLYNN:    Okay.

     13                   THE COURT:    The lawyer makes the argument that

     14     that is commercial success and that shows you.

     15                   MR. FLYNN:    Understood, Your Honor.      I just

     16     wanted to make sure we weren't going to be required to have

     17     an expert testify about the secondary considerations to the

     18     extent that, you know, we needed to do it to show

     19     nonobviousness.

     20                   THE COURT:    I don't think so.     Does the defense

     21     think you need an expert to do that?

     22                   MS. SILVERSTEIN:      I mean, I would argue that

     23     they need an expert to show nexus, which their expert hasn't

     24     done.

     25                   THE COURT:    To show a nexus?
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 209 of 213 PageID #: 11744
                                                                           209


      1                   MS. SILVERSTEIN:     To show the nexus between the

      2     commercial success and the claims of the patent that's

      3     required under the law, and their expert didn't to that.

      4                   So at this point I would imagine that is

      5     something we would ask for after they rest their case, that

      6     they have not shown that burden, but, no, they don't need an

      7     expert to show commercial success.

      8                   Mr. Farrell or whoever from their company can

      9     get up and say the numbers of commercial success.          That

     10     doesn't require --

     11                   THE COURT:    All right.

     12                   MR. FLYNN:    Understood, Your Honor.

     13                   THE COURT:    Then you're good, I think?

     14                   MR. FLYNN:    Yes.

     15                   THE COURT:    All right.

     16                   MR. DiGIOVANNI:      Just a couple housekeeping

     17     matters.

     18                   THE COURT:    Yes.

     19                   MR. DiGIOVANNI:      When Your Honor made the ruling

     20     on willfulness, witness availability is something we need to

     21     check on and then the pretrial order.

     22                   I would say we'll meet and confer with these

     23     guys about making sure we can get this all done.          If there's

     24     any issues, we'll contact the Court.        That would be my

     25     suggestion.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 210 of 213 PageID #: 11745
                                                                           210


      1                   THE COURT:    I guess.    I mean, we're talking

      2     though I think one witness.        A lawyer, probably?

      3                   MR. DiGIOVANNI:      There might be two.    I know

      4     there would be at least one.       There may be a second witness

      5     as I understand it.

      6                   THE COURT:    I mean, look, the plaintiffs are in

      7     the same shoes.     We've had this trial.     There's a

      8     misunderstanding.     I guess I could be more dictatorial and

      9     say, I thought it was clear as a bell.        I thought it was

     10     clear.   I clearly was wrong because there are reasonable

     11     people here who interpreted it differently than I did.             I

     12     don't think we want to be delaying trial because we can't

     13     get these witnesses.

     14                   MR. DiGIOVANNI:      Understood, Your Honor.     I

     15     wasn't asking for that.

     16                   THE COURT:    All right.

     17                   MR. DiGIOVANNI:      There are some things to do.

     18                   THE COURT:    Yes, there definitely are.       Please

     19     work diligently to see if we can't get them done

     20     cooperatively.

     21                   MR. DiGIOVANNI:      Will do.

     22                   THE COURT:    All right.

     23                   MR. DiGIOVANNI:      Inequitable conduct is off?

     24                   THE COURT:    Yes.    I've never done one of these,

     25     but my understanding is that we'll probably be here like we
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 211 of 213 PageID #: 11746
                                                                           211


      1     are right now.    We'll do the inequitable conduct testimony

      2     in the evenings outside of the province of the jury, so if

      3     you have a witness that is going to testify.         I mean, that's

      4     my understanding how you all have done it in front of some

      5     of the other judges.     No?

      6                   MR. SMITH:    There are many ways to do it.

      7     Occasionally, it's done that way, but I think doing it that

      8     way at this stage is going to create -- compound the

      9     problem.

     10                   THE COURT:    Okay.   What's the alternative?

     11                   MR. SMITH:    It would be to wait and get a

     12     verdict back.    It's a bench issue.

     13                   THE COURT:    Okay.

     14                   MR. SMITH:    Do a separate, maybe a one-day.

     15                   THE COURT:    Yes.    Because of the confusion over

     16     willfulness, I think you are probably right, Mr. Smith.

     17                   What do you think, Mr. DiGiovanni?

     18                   MR. SMITH:    Your Honor, if I might elaborate.        I

     19     think the same issues on witness availability, exhibits,

     20     framing out the pretrial order, all of that would also have

     21     to be done on the inequitable conduct, and just --

     22                   THE COURT:    Do you agree with that?

     23                   MR. DiGIOVANNI:      I would agree.   I think we

     24     assumed it is not going to be done in the evenings.

     25                   THE COURT:    All right.    Lesson learned on my
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 212 of 213 PageID #: 11747
                                                                           212


      1     part.   We'll do inequitable conduct at a date to be

      2     determined.

      3                   MR. CHAMBERS:    Your Honor, let me give you

      4     another answer to that question very briefly.

      5                   THE COURT:    What question?

      6                   MR. CHAMBERS:    I would respectfully request that

      7     Your Honor take a look at our summary judgment brief.           Very

      8     quickly, there were two prongs for their inequitable conduct

      9     argument.    One was the alleged public use of this animation

     10     at the trade show, and we've shown you the slide where

     11     they've admitted that that animation never occurred.           So

     12     scratch out one leg of their inequitable conduct.

     13                   The other leg of their inequitable conduct is

     14     inventorship.

     15                   THE COURT:    Okay.   So I'm going to read the

     16     briefs carefully.

     17                   MR. CHAMBERS:    Okay.   Could I -- 15 seconds?

     18                   THE COURT:    No.   I think we've had a lot of

     19     argument today.

     20                   MR. CHAMBERS:    Okay.

     21                   THE COURT:    Let's just call it a day.      I read

     22     the briefs carefully.      That's why I came in here saying, you

     23     all threw me for a loop.      I think the Delaware counsel can

     24     tell you, I normally come very prepared.         So a little bit

     25     different on the summary judgment today.
Case 1:16-cv-00041-CFC Document 284 Filed 08/06/19 Page 213 of 213 PageID #: 11748
                                                                           213


      1                   All right.       Anything else housekeeping?    No?

      2                   MR. DiGIOVANNI:       We raised earlier about

      3     limiting the claims.

      4                   THE COURT:       That I'm going to leave to you.      You

      5     know what the timing is and I will issue my orders as soon

      6     as I can.    That may influence your decisions.        I don't know

      7     how to, especially in this case, which I inherited.           All

      8     right.   Thank you.

      9                   (Counsel respond, "Thank you, Your Honor.")

     10                   (Hearing concluded at 6:02 p.m.)

     11                                -    -   -

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25
